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                                              IN RE: OPIOID LITIGATION
                                           Civil Action No. 17-md-2804 PHARM
                                       In the Circuit Court of Cobb County, Georgia

                                                   General Expert Report of
                                               Carmen A. Catizone, MS, RPh, DPh

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  Executive Summary

  This report provides the opinions I intend to offer at trial, and the reasons and bases for those
  opinions regarding: (1) the standard of care and the usual and customary practices of pharmacies
  with respect to dispensing of opioids; and (2) the pharmacy practices of Kroger and Publix as
  determined by my review of documents provided to and requested by me. This report refers to
  Kroger and Publix collectively as “Defendants” or the “Chain Pharmacies.” My general opinions
  would also apply to all other Chain Pharmacies.

  The issues examined specifically concern Defendants’ actions with respect to maintaining
  effective policies and practices to guard against the diversion of prescription opioids, their failure
  to maintain and adhere to well-established pharmacy standards of care, and their dispensing of
  opioids despite obvious and significant red flags.

  A summary of my opinions is below:

        The practice of pharmacy is governed by well-defined laws and regulations, both at the
         national and state-wide levels.
        The practice of pharmacy is subject to established and well-known standards of care,
         including requirements for the careful evaluation of prescriptions and efforts to guard
         against the diversion of medications into non-medical or illegitimate use.
        Dispensing drugs for non-medical purposes or under circumstances which a pharmacist
         otherwise knows or should know present a significant risk for diversion falls outside the
         defined practice of pharmacy and standards of care.
        By law, a pharmacist may only dispense controlled substances pursuant to a prescription
         that is valid and that has been issued by a licensed practitioner for a legitimate medical
         purpose in the usual course of his or her professional practice.
        Federal and state controlled substances laws and regulations require Defendants to
         maintain effective controls for a closed system of distribution and dispensing of opioids
         that guards against diversion.
        Corporate oversight includes established practices of pharmacies that should incorporate
         top-down compliance programs using data readily available to the corporation to guard
         against diversion. Oversight also should support, and not impede, pharmacists in
         complying with laws and regulations related to the dispensing of controlled substances.
        Corporate oversight should set patient care and integrity expectations and provide tools for
         pharmacists to exercise practices to adhere to appropriate laws, regulations, and pharmacy
         standards of care in dispensing controlled substances.
        Chain pharmacies exert a great deal of control over, and oversight of, their pharmacies and
         pharmacy employees which directly impacts the dispensing of controlled substances.
        Chain Pharmacies, through the control they exert over their agent pharmacies, pharmacists,
         and pharmacy employees, are responsible for ensuring all dispensing of controlled
         substances is carried out in accordance with applicable laws, regulations and standards of
         care.

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        Defendants failed to timely implement and apply necessary controlled substance diversion
         policies across their pharmacy stores.
        Once controlled substances diversion policies were developed, Defendants failed to
         effectively monitor, audit and enforce the policies across their pharmacy stores.
        Defendants implemented employment evaluation policies and performance metrics that
         impeded their pharmacists’ efforts to comply with laws and regulations and meet standards
         of care.
        Defendants failed to adequately staff their pharmacies to meet the requirements of the
         Controlled Substances Act (CSA) and state law.
        Red flags are not a novel or unknown concept to pharmacists, pharmacies, or Defendants.
         Red flags are common-sense warning signs that have long been an important component
         of controlled substance pharmacy best practices.
        Red flags of diversion are known or should be known to pharmacists in the usual and
         customary practice of pharmacy.
        “Red flags” commonly recognized in pharmacy practice with respect to prescription
         opioids include:
           Patients traveling long distances to their pharmacy or prescriber;
           Patients obtaining multiple opioid prescriptions from different prescribers;
           Patients traveling to multiple pharmacies to fill opioid prescriptions;
           Prescriptions for an opioid and benzodiazepine, with or without an additional muscle-
              relaxer, which, when combined, intensifies the risk of overdose and death;
           Prescription(s) for an excessive quantity of an opioid, or multiple opioids, on the
              same day or within an overlapping period of time;
           “Pattern” prescribing, such as when prescriptions are presented by multiple patients
              for the same medications, same strengths, approximately same quantities, and
              directions for use;
           Early refills, that is, when an opioid prescription is presented for refill more than five
              days before the patient’s previous prescription should have run out;
           Patients prescribed opioids for more than six months;
           Patients who seek to fill two short acting opioid drugs on the same day;
           Patients who pay cash for opioid prescriptions; and
           Patients who behave suspiciously.
         These red flags have all been identified in various DEA enforcement actions and in
         guidance from industry trade groups. Defendants themselves identified similar or other
         “red flags” as indicative of possible diversion.
        As each red flag is a potential indication of diversion, when a prescription is presented with
         multiple red flags the likelihood of diversion increases greatly.
        Many of the red flags identified above are easier to identify through data collected and
         maintained at the corporate level.
        Opioids are extremely addictive and highly subject to abuse. As a result, all red flags are
         concerning.
        Every red flag must be resolved before each prescription for a controlled substance is
         dispensed. The pharmacist must also document how that red flag was resolved. The
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         performance of the red flag analysis required by the pharmacy’s corresponding
         responsibility was especially critical when those in the practice of pharmacy became aware
         that opioid diversion and misuse reached epidemic proportions.
        The guiding elements establishing adequate due diligence are known to Defendants and
         should be included in their policies and CSA recordkeeping requirements. These common
         elements for adequate due diligence include:
                 (a) the pharmacy must accurately identify and document all red flags raised by the
                 prescription, patient, and prescriber;
                 (b) the pharmacy must reasonably collect complete, relevant, and accurate
                 information concerning each red flag;
                 (c) the pharmacy must independently evaluate the collected information to
                 determine whether the evidence is reliable and whether, as a whole, the evidence
                 adequately resolves each red flag; and
                 (d) lastly, the pharmacy must clearly and explicitly document their evaluation of
                 the evidence and their reasoning supporting their judgment to dispense the
                 prescription.
        Defendants possess dispensing data and other information collected from their individual
         pharmacies which could have been used to prevent diversion. Dispensing data should have
         been reviewed by each Defendant to identify patterns of diversion and to create and assess
         policies and procedures and training materials which proactively identified patterns of
         diversion. Defendants should have used the information gleaned from that proactive
         analysis to inform their pharmacy staff of these patterns and to develop policies,
         procedures, and training materials for its pharmacies. Each Defendant should have also
         developed tools and programs to alert its pharmacists of these red flags at the time each
         prescription was presented.
        Corporate performance metrics focused on increasing dispensing of prescriptions,
         increasing sales, and lowering customer wait times can place pharmacists in conflict with
         legal requirements, including performing the pharmacy’s corresponding responsibility. A
         pharmacist pressured to work too quickly could miss dangerous drug interactions and may
         not have sufficient time to perform safety reviews and is then at risk of missing red flags
         of diversion. The high stress and chaotic environment is exacerbated by staffing challenges
         at the Chain Pharmacies. Likewise, a focus on high volume and minimizing customer wait
         times place demands on pharmacists impacting the proper review of prescriptions to ensure
         their appropriateness and validity and to resolve any red flags.
        Documentation and record-keeping are important tools in preventing diversion of
         controlled substances.
        Defendants failed to provide their pharmacists with data, information, and the tools
         necessary to assist their pharmacists in fulfilling their corresponding responsibility duties,
         including but not limited to, utilizing dispensing data to identify patterns, trends, and
         practitioners possibly involved in diversion as well to recognize and resolve red flags. The
         failure to provide such data, information, and tools likely caused diversion of significant
         quantities of controlled substances, particularly opioids, outside of the closed distribution
         and dispensing system for controlled substances.
        Defendants failed to maintain effective controls to guard against diversion.
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  A detailed discussion of the reasons and bases for each of these opinions is set forth below. The
  opinions expressed are based on my experience and expertise in the practice and regulation of
  pharmacy, as well as on the review of numerous documents. A complete list of the materials I
  reviewed is attached hereto as Exhibit B.
  I offer my opinions herein to a reasonable degree of professional certainty. I reserve the right to
  supplement this report if a production is made of additional notes and due diligence materials and
  if any other new information becomes available.

  Introduction

  The opinions presented are based on my experience and expertise in the practice and regulation of
  pharmacy. From 1988 to 2020, I served as the Executive Director and the CEO of the National
  Association of Boards of Pharmacy (“NABP”). NABP was established as an impartial
  organization in 1904. The members of NABP are the state agencies that regulate the practice of
  pharmacy. NABP supports the state boards of pharmacy by developing, implementing, and
  enforcing uniform standards for the purpose of protecting the public health. NABP also helps state
  boards of pharmacy protect public health and safety through its pharmacist license transfer,
  pharmacist competence assessment, and accreditation programs. As Executive Director I oversaw
  the day-to-day operations of the NABP. A significant focus of my work was in the area of
  pharmacy regulations through state boards of pharmacy and other governmental and private
  entities responsible for regulating pharmacists, technicians, pharmacies, wholesale distributors,
  and other entities in the pharmaceutical supply chain.

  I previously served as liaison to the Food and Drug Administration (“FDA”) and the Drug
  Enforcement Agency (“DEA”). I served as a Governor of the Pharmacy Technician Certification
  Board (“PTCB”) and Chair of the PTCB Certification Council. I am also a past President of the
  National Pharmacy Manpower Project and the National Conference of Pharmaceutical
  Organizations (“NCPO”) as well as a past member of the United States Pharmacopeia (“USP”)
  Board of Trustees.

  I have been the recipient of many honors and awards including an Honorary Doctor of Pharmacy
  from the State of Oklahoma, the Certificate of Appreciation from the District of Columbia, two
  FDA Commissioner Special Citations, the University of Illinois Alumnus of the Year, American
  Druggist Magazine Pharmacist of the Year, and the University of Illinois, College of Pharmacy,
  Alumni Association’s Sister Margaret Wright Graduate Award.

  I received a Bachelor of Science degree in pharmacy and a Master of Science degree in pharmacy
  administration from the University of Illinois at Chicago.

  I have been recognized as an expert witness in state and federal district court cases numerous times.
  In the past fifteen years I have testified as an expert witness in the following litigations:


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        Trial: Expert Witness, United States District Court, Northern District of Ohio, In re Nat’l
        Prescription Opiate Litig, Case No 17-md-2804. Subject Standard of Pharmacy Practice.

        Trial: Expert Witness, United States District Court Northern District of California, The
        City and County of San Francisco v. Purdue Pharma, Case No C18-07591 CRB. Subject:
        Standard of Pharmacy Practice.

        Trial: Expert Witness USA Office-Eastern District of Michigan, US v. Abiodun Fabode,
        October 30, 2019. Subject: Distribution of controlled substances.

        Trial: Expert Witness USA Office-Southern District of New York, US v Lena Lasher, May
        8, 2015. Subject: Distribution of prescription drugs over the internet.

        Trial: Expert Witness USA Office-Southern District of New York, US v Lee, et al,
        September 10, 2014. Subject: Distribution of controlled substances.

        Trial: Expert Witness USA Office-Northern District of Ohio, US v Rovedo, et al, October
        10, 2012. Subject: Distribution of controlled substances.

        Trial: Expert Witness USA Office-Northern District of California, San Francisco Division,
        US v Napoli, et al, October 4, 2012. Subject: Distribution of controlled substances.

        Trial: Expert Witness USA Office-Northern District of California, San Francisco Division,
        US v Michael Arnold & Jeffrey Herholz, February 16, 2012.

        Trial: Expert Witness USA Office-District of Massachusetts, Boston Division, US v
        Baldwin Ihenacho, January 18, 2012. Subject: Distribution of prescription drugs over the
        internet.

        Trial: Expert Witness USA Office-Eastern District of Texas, Beaumont Division, US v
        David Vogel, et al, June 30, 2010. Subject: Distribution of prescription drugs over the
        internet.

        Trial: Expert Witness USA Office-Western District of Missouri, Western Division, US v
        Rostie, et al, June 28, 2010. Subject: Distribution of controlled substances.

        Trial: Expert Witness USA Office-Western District of North Carolina, Charlotte Division,
        US v Woody, et al, August 17, 2009. Subject: Distribution of prescription drugs over the
        internet.

        Trial: Expert Witness USA Office-Middle District of Florida, Orlando Division US v Jude
        LaCour, et al, April 14, 2009. Subject: Distribution of prescription drugs over the internet.



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          Trial: Expert Witness USA Office-Twentieth Judicial District of Kansas, Rice County: US
          v Hogan’s Pharmacy, March 12, 2009. Subject: Distribution of prescription drugs over the
          internet.

          Trial: Expert Witness USA Office-Eastern District of New York: US v Wahidullah
          Hossaini, November 12, 2008. Subject: Distribution and possession of oxycodone and
          hydrocodone.

          Trial: Expert Witness USA Office-Eastern District of New York: US v Quinones, et al,
          October 27, 2008. Subject: Distribution of prescription drugs over the internet.

          Trial: Expert Witness USA Office-District of Maryland: US v Steven A Sodipo, et al, July
          7-8, 2008. Subject: Distribution of prescription drugs over the internet.

          Trial: USA Office-Northern District of California: In the Matter of the Accusation Against:
          US v International Pharmaceutical Services Afshin Adibi, Respondent, November 28,
          2007.

          Trial: Expert Witness USA Office-District of Minnesota: US v Christopher Wm. Smith,
          November 15, 2006.Subject: Illegal distribution of prescription drugs.

          Hearing: DEA In The Matter of: United Prescription Services, Inc, April 10, 2007. Subject:
          Illegal distribution of controlled substances.

          Hearing: DEA In The Matter of: Trinity Healthcare Corporation, d/b/a Oviedo Discount
          Pharmacy (No. 06-4), June 1, 2006. Subject: Illegal distribution of controlled substances.

  A copy of my curriculum vitae is attached as Exhibit A.

  I am being compensated for my time at an hourly rate of $300.00. My compensation is not
  dependent on the outcome of this proceeding.

  The Practice of Pharmacy – Standard of Care

  The mission of pharmacy practice is “to serve society as the profession responsible for the
  appropriate use of medications, devices, and services to achieve optimal therapeutic outcomes.” 1
  The path to becoming a pharmacist involves years of specialized training, education, and licensure
  and ongoing continuing education to remain current with new drugs, devices, therapies, and
  standards.




  1
   Vision and Mission for the Pharmacy Profession, American Pharmacists Association, adopted by the APhA House
  of Delegates (March 1991).
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  Standards of care define a competent level of care expected of a pharmacist dispensing medications
  and providing direct patient care. Standards of care direct and seek to maintain safe and clinically
  competent practitioners. Pharmacists are not mere sellers of medications prescribed by doctors.
  They are licensed professionals with independent duties and obligations which have evolved over
  the past century. Those practices and their standard of care are reflected in national and state laws
  and regulations as well as pharmacy practice organizations and industry guidance. Moreover,
  pharmacists and pharmacies are entrusted with a key role in helping ensure that people achieve the
  best results from their medications.

  The practice of pharmacy has developed into a fairly uniform standard of practice across the U.S.
  State and federal regulations setting forth state and national requirements across the states identify
  the responsibilities of the pharmacy and its agents (pharmacists and technicians) and desired
  patient outcomes uniformly, with only limited variances in patient care and regulatory areas. In
  the usual and customary practice of pharmacy, a pharmacist must carefully evaluate every
  prescription presented for dispensing. The evaluation is a multi-component process that examines
  whether the prescription is appropriate and safe for the patient and, if issued for a controlled
  substance, there is an additional responsibility for a heightened evaluation to determine that the
  prescription is valid and issued for a legitimate medical purpose.

  As discussed further below, the evaluation process begins with an assessment of the prescription
  to determine if it is appropriate and safe for the patient. The pharmacist is required to review the
  prescription in the context of patient factors (allergies, weight, etc.), reason for the issuance of the
  prescription (condition, diagnosis, and/or symptoms), medications the patient is currently using
  (to identify any potential adverse effects and adverse drug reactions or interactions, including
  ineffective drug therapy, significant side effects, significant drug interactions, over-utilization of
  a drug, duplicate drug therapy, and abuse, misuse or noncompliance with drug therapy), and
  applicable lifestyle factors (smoking, alcohol or drug use, etc.). This process is commonly referred
  to as Drug Utilization Review (“DUR”). It is also referred to as Drug Utilization Evaluation
  (“DUE”) or Medication Utilization Evaluation (“MUE”).
  It has long been understood that dispensing drugs for non-medical purposes or which a pharmacist
  otherwise knows or should know present a significant risk for diversion falls outside the defined
  practice of pharmacy and standards of care. As part of their assessment, pharmacists must consider
  whether what is presented to them as a “prescription” is in fact valid and issued by a licensed
  professional in the usual course of professional practice. This common-sense requirement is
  codified into laws and regulations including, at the federal level, the Comprehensive Drug Abuse
  Prevention and Control Act of 1970 (“Controlled Substances Act” or “CSA”), 21 U.S.C. §§ 801
  et. seq..) as well as pertinent state laws. Among other requirements, a pharmacy registrant must
  provide effective controls and procedures to guard against theft and diversion of controlled
  substances. 21 C.F.R. 1301.71. For a controlled substance prescription to be valid, a pharmacist
  is obligated to determine whether the prescription was issued for a legitimate medical purpose. 21
  C.F.R. 1306.04(a). A prescription for a controlled substance may only be filled by a pharmacist,
  acting in the usual course of his professional practice and either registered individually or
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  employed in a registered pharmacy, a registered central fill pharmacy, or registered institutional
  practitioner (emphasis added). 21 C.F.R. 1306.06.


  Corporate Oversight

  Pharmacies are permitted or licensed to operate with important responsibilities and duties in the
  practice of pharmacy. In exchange for the privilege of holding a license to distribute and dispense
  controlled substances, Pharmacies have the responsibility of ensuring that their controlled
  substances are not diverted and/or subject to abuse and misuse. Pharmacies have operating
  systems and methods to dispense, store, and retain prescriptions and prescription dispensing data
  and records. The information must be readily retrievable when requested by state authorities and
  utilized to identify patterns of diversion, audit the dispensing of their pharmacists, develop training
  programs and information for their pharmacy and management personnel, investigate suspicious
  prescribers, patients, and pharmacists, and prevent diversion of controlled substances. These
  responsibilities are reflected in the Controlled Substances Act and relevant state law. Those
  responsible include the pharmacist, technician, and the pharmacy. State regulations and the NABP
  Model Act define responsible entities as individuals, partnerships, corporations, associations,
  trusts, or other entities without qualification. Responsibilities extend to the hiring, training, and
  managing of pharmacy personnel as well as the supporting policies, procedures, and systems that
  promote public health and safety and assist in the identification and prevention of the diversion of
  controlled substances. The large Chain Pharmacies operate pharmacies in multiple states and
  employ thousands of pharmacists and pharmacy technicians who support pharmacists, in various
  roles.

  Although Chain Pharmacies market their specific images and offer varying services, the
  infrastructure is quite similar. A chain pharmacy company is defined as one which operates four
  or more pharmacies which include traditional drug store formats as well as pharmacies located in
  supermarkets, mass merchant, and discount stores. Pharmacy chains tend to be much larger than
  independent drug stores and to have centralized operational processes – prescription processing,
  reimbursement submissions, product ordering and distribution, and policies and procedures. 2

  Individual pharmacies are managed by a store manager. The store manager is a salaried position
  with incentives based upon performance metrics established by the chain — typically, store
  performance, inventory, and customer satisfaction. Store managers have operational control of the
  store and all of its departments. The store manager is responsible to a supervisor (sometimes
  referred to as district or regional pharmacy manager or leader) who oversees a number of stores
  within a shared geographic area or common division. The regional or district pharmacy managers
  typically report directly to corporate liaisons.




  2
      NACDS Chain Member Fact Book, 2019-2020.
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  Pharmacy chains exert a great deal of control over, and oversight of, their pharmacies and
  pharmacist employees, which directly impacts the dispensing of controlled substances. Chain
  pharmacy technicians, whose role has evolved over time, assist pharmacists through the
  completion of tasks, including but not limited to, accepting the prescription(s) from patients,
  entering the prescription information into the dispensing system, and assisting in the assessment
  of the validity of prescriptions. As a result, Chain Pharmacies and their agents are responsible
  “Persons” under the CSA. The chain pharmacy corporation is ultimately responsible for ensuring
  all dispensing of controlled substances is carried out in accordance with applicable laws,
  regulations, and standards of care.

  State laws require that every pharmacy be overseen by a pharmacist-in-charge or responsible
  pharmacist. The pharmacist-in-charge is accountable for the operation and management of the
  pharmacy within the required legal context of state and federal laws and regulations and corporate
  management and control. The pharmacist-in-charge is responsible to the store manager and a
  regional or district pharmacy manager. The regional or district pharmacy manager is responsible
  to a corporate liaison.

  Chain Pharmacies have important responsibilities and duties in the practice of pharmacy. Chain
  Pharmacies are subject to a number of legal obligations, including those discussed in this report.
  A top-down compliance program which includes audits to determine whether written policies and
  procedures are being observed is important to ensuring that the pharmacy and its pharmacists are
  satisfying their obligations and meeting the applicable standard of care. Chain Pharmacies must
  maintain systems and methods to store and retain prescription dispensing data and records.
  Documentation related to the dispensing of controlled substances is a critical component of any
  system or program. Documentation identifies critical factors, such as red flags, whether the
  pharmacist resolved the red flag(s), and information alerting to the occurrence or possibility of
  diversion. It also provides proactive direction to other pharmacists in the future. Chain Pharmacies
  must utilize their information to identify patterns of diversion; audit the work of their pharmacists;
  train their pharmacy personnel; investigate suspicious prescribers, patients, and pharmacists; and
  prevent diversion of controlled substances.

  A pharmacy cannot absolve itself of its responsibilities under the CSA, particularly the
  “corresponding responsibility” discussed below, by placing unilateral responsibility on the
  individual pharmacist dispensing the prescription(s). A corporate Chain Pharmacy is also
  responsible for its operations including individual pharmacy stores and employees. Policies and
  procedures must be in place for all areas of operation related to controlled substances and the
  conduct of its pharmacy staff. The corporate entity is responsible for collecting and monitoring
  data related to the individual pharmacies and pharmacists and dispensing of controlled substances
  in order to comply with the CSA requirements outlined above and within state laws and
  regulations. The corporate Chain Pharmacy is also responsible for providing its pharmacy stores
  and employees access to databases, information, training, and tools (utilizing whatever
  infrastructure necessary, such as intranet and internet systems) to assist in determining the validity
  of a prescription, such as whether a prescriber is appropriately licensed and other due diligence
  related to the filling and validity of a controlled substance prescription.

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  Pharmacies must also ensure adequate staffing. This includes ensuring the presence of a licensed
  pharmacist at all times the pharmacy is operating, and appropriate staffing levels to safely and
  effectively evaluate and dispense medications and counsel patients. This standard of practice is
  also a regulatory requirement and encompasses additional requirements of the pharmacist-in-
  charge, including but not limited to, pharmacist coverage at all times the pharmacy is open and the
  ratio of pharmacists to pharmacy technicians.

  Corporate pharmacy chains operate as diverse retail businesses. They place responsibilities on
  their management and requirements and expectations on their staff that are not inherently or
  intuitively part of the practice of pharmacy. These include various business goals such as the pace
  at which prescriptions are filled, including meeting promised wait-time goals and the volume of
  sales or provision of additional promotional services such as immunizations and vaccinations.
  Pharmacy chains also set more directly revenue-related goals. At times, these corporate goals
  obstruct the performance of pharmacists’ professional obligations.3 An example can be found in
  the inherent conflict between performance metrics that require pharmacists to fill certain volume
  of prescriptions or to limit customers’ wait time and the pharmacist’s ability to conduct appropriate
  due diligence on a prescription for controlled substances. In addition, basing pharmacists’
  incentive pay on customer satisfaction and the expected dissatisfaction that is likely to result from
  a pharmacist declining to fill a prescription due to deficiencies in the prescription or suspected
  diversion creates a conflict between the pharmacist’s responsibility to ensure optimal patient
  outcomes and corporate business measures. There is also a duty to ensure compliance with the
  law through a corporate culture that directs and firmly supports pharmacists in exercising their
  professional judgment and discharging their legal responsibility to decline to fill and subsequently
  report prescriptions or other conduct that suggest diversion. Too often, pharmacists report being
  discouraged by management from raising concerns about prescribers or practices or declining
  prescriptions, or facing time and volume pressures or priorities that make compliance an
  impossible or devalued part of their job responsibilities.

  Background Requirements
      A. DUR Process and Prescription Drug Monitoring Programs

  The pharmacist’s historical role has been to serve as the medication therapy expert and assuring
  that the medication prescribed is appropriate for a particular condition or symptom. Ascertaining
  the appropriateness of a patient’s medication therapy includes, for example, verifying that the
  dosage and duration of the treatment is correct for the condition and/or symptoms, does not conflict
  with the patient’s allergies or individual characteristics such as metabolism rate, does not interact
  with other medications the patient is taking, and that the patient is not abusing or misusing the
  medication. These traditional roles and duties were codified for Medicaid beneficiaries with the


  3
   Munger Mark A.; Gordon, Elliot; Hartman, John; Vincent, Kristen; Feehan, Michael, Community pharmacists'
  occupational satisfaction and stress: a profession in jeopardy?, J. Am. Pharm. Assoc., May-Jun 2013; 53(3):282-96.
  DOI:10.1331/JAPhA.2013.12158.
                                                         11




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  passage of the Omnibus Budget reconciliation Act of 1990 (OBRA ‘90) and extended further
  beyond Medicaid beneficiaries by state pharmacy boards.

  OBRA ‘90 added to the federal statutory requirements governing participation in the federal-state
  partnership program officially designated Grants to States for Medical Assistance Programs, and
  known in everyday parlance as the Medicaid program. The federal statute laid out responsibilities
  for pharmacies to ensure that prescriptions were appropriate for, and understood by, Medicaid
  beneficiaries. OBRA ‘90 had several major components: 1) Prospective Drug Use Review, 2)
  Retrospective Drug Use Review, 3) Assessment of Drug Use Data, and 4) Educational Outreach
  Programs.4

  Implementing regulations governing DUR came into effect on January 2, 1993, as an interim final
  rule. HHS’s Health Care Financing Agency (HCFA), which oversees Medicaid, finalized the
  regulation on September 23, 1994. See 59 FR 48811-48825. The final rule requires “review of
  drug therapy before each prescription is filled or delivered to a recipient” for purposes of
  “detect[ing]” issues such as “therapeutic duplication, adverse drug-drug interaction,” and “clinical
  abuse and/or misuse.” The rule also mandates patient “[c]ounseling and maintenance of patient
  profiles by the pharmacist.”

  During the rulemaking process, “[o]ne commenter suggested that instructions for compliance with
  prospective DUR should go to the pharmacist and not the pharmacy.” The government’s response
  stated, “We believe that the instructions for compliance with prospective DUR should be directed
  to the pharmacies,” noting that “[t]he owners or managers of pharmacies, as Medicaid providers,
  are responsible for furnishing their staff with information pertaining to DUR.” See, p 48816, first
  column. States took action to require OBRA 90’s mandates for the states to improve understanding
  of medications to all patients to assure uniformity of care and avoid establishing differing standards
  of care among patients.

  A summary of the requirements is included in the Table below: 5




  4
    Vivian, J.C., & Fink III, Joseph, OBRA ’90 at Sweet Sixteen: A Retrospective Review, U.S. Pharmacist, March 20,
  2008.
  5
    Id.
                                                         12




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                                      Table 1
                           OBRA ' 90 Pharmacy Provisions
               The primary focus of pharmacy activities requi red under OBRA ·90 Include:

             Prospective Drug Utilization Review
             Is the prescription necessary and appropriate? Factors to consider:
             • Over/under utilization
             • Therapeutic duplications
             • Dru -disease interactions
             • Drug-drug interactions
             • Incorrect dosage or duration of reatment
             • Drug-allergy interac ions
             • Clinical abuse and/or misuse
             Patient Counseling Standards
             An offer to have a pharmacist counsel the patien must be made. Items to
             address:
             •   ame of drug (brand name. generic, or other descriptive information)
             • Intended use and expected action
             • Route. dosage form. dosage, and adminis ration schedule
             • Common side effects that may be encoun ered. including their avoidance
                and he action required if they occur
             • Techniques for self-monitoring of drug herapy
             • Proper storage
             • Potential drug-drug or drug-food interactions or other therapeutic
                contraindications
             • Prescription refill informa ion
             • Action to be taken in the even of a missed dose
             Ma inta ining Patient Records
             Keep accurate and up-to-date patient profiles. Information to include:
             • Patient's full name
             • Address and telephone number
             • Date of birth or age
             • Gender
             • Drug profile
             • Pharmacist comments
             • Chronic conditions. allergies. and drug reactions


  The DUR process is a foundational component of the practice of pharmacy and defined further by
  state practice acts and rules. It is also a key tenet of the standards of care for the practice of
  pharmacy.

  The DUR process is especially important for the assessment of the appropriateness of prescribed
  controlled substances, such as opioids, which have a high propensity for abuse and addiction. Such
  an assessment should examine over-utilization, inappropriate duration of treatment, drug
  interactions, and therapeutic duplication in order to provide appropriate care while also identifying
  abuse and misuse of these dangerous drugs. Communities where opioids were readily available


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  and prescribed liberally were the first areas to experience markedly increased prescription opioid
  abuse.
  Realizing that these general DUR provisions were not effectively preventing the escalation of
  opioid over-use and abuse, states revised and expanded practice acts and rules and increased their
  support for, and reliance on, Prescription Drug Monitoring Program (PDMPs).
  A PDMP is an interactive database that facilitates the sharing of health information related to
  controlled substance prescriptions. PDMPs provide clinicians and pharmacists with information
  on a patient’s controlled-substance prescription history and can be a useful tool when considering
  treatment options and screening patients who may at risk for abuse or diversion. Chain
  Pharmacies, along with independents, are the primary sources of the data contained within a PDMP
  and they play a critical role in ensuring that complete and comprehensive data is provided so as to
  contribute to the usefulness of the database.

  The CDC recognizes that:

          PDMPs improve patient safety by allowing clinicians to:

             Identify patients who are obtaining opioids from multiple providers.
             Calculate the total amount of opioids prescribed per day (in MME/day).
             Identify patients who are being prescribed other substances that may increase risk of
              opioids—such as benzodiazepines. 6

  Information in PDMPs is potentially life-saving and allows pharmacists to identify patients who
  may be misusing prescription opioids or at risk for overdose. 7

  The first PDMP program was enacted by New York State in 1918 to monitor prescriptions for
  cocaine, codeine, heroin, morphine, and opium. Pharmacists were required to report copies of
  prescriptions to the New York State Health Department within 24 hours. California initiated its
  prescription monitoring program in 1939. The enactment began the “paper era” of PDMPs. In
  1989, Oklahoma required that prescription monitoring data be communicated electronically. State
  PDMPs continued to grow through the 1990s and early 2000s, with 70% of program
  establishments occurring in the first 15 years of the 21st century. 8




  6
    https://www.cdc.gov/drugoverdose/pdf/pdmp_factsheet-a.pdf
  7
     CDC, Prescription Drug Monitoring Programs (PDMPs): What Healthcare Providers Need to Know,
  https://www.cdc.gov/drugoverdose/pdmp/providers.html.
  8
    Prescription Drug Monitoring Program Training and Technical Assistance Center, History of prescription drug
  monitoring programs, Brandeis University (Mar. 2018),
  pdmpassist.org/pdf/PDMP_admin/TAG_History_PDMPs_final_20180314.pdf (accessed 1/12/2024).
                                                       14




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  The DUR process and state PDMPs are key instruments for pharmacies to identify and prevent
  diversion. Each of the Defendants recognized the important role PDMPs play in identifying and
  analyzing potential signs of diversion.

  As rates of PDMP participation increase, incidents of doctor shopping and prescribing of certain
  controlled substances decline. The data suggest that PDMP utilization helps to promote medically
  warranted prescribing and dispensing, and assists in detecting possible controlled substance misuse
  and diversion.9


      B. Controlled Substances

  Controlled substances are drugs which pose a significant risk to the public. Given the dangerous
  nature of these drugs, pharmacy practice dictates that several controls be put in place to secure
  these drugs and to ensure that they are dispensed only to patients holding a valid prescription,
  issued by a DEA licensed prescriber, and issued for a legitimate medical purpose by a practitioner
  acting within the usual course of the practitioner’s professional practice. Providing prescription
  drugs for non-medical purposes or which present significant risk for diversion is not considered
  part of the practice of pharmacy.

      1. The CSA

  In addition to the above requirements and standards of care, the regulation of the practice of
  pharmacy includes specific provisions for the manufacture, importation, possession, use, and
  distribution of controlled substances. Controlled substances require more stringent requirements
  and regulations than those for non-controlled substances because of the potential for abuse, harm,
  and diversion. The CSA was signed into law on October 27, 1970, effective May 1, 1971, to
  address the need for these more stringent considerations and to regulate all participants in the
  controlled substances’ supply chain. The CSA contains three titles: Title I that addresses
  rehabilitation programs for individuals who abuse controlled substances; Title II that defines and
  outlines the processes for the registration and distribution of controlled substances; and Title III
  that concerns the importation and exportation of controlled substances. All state Pharmacy
  Practice Acts and Regulations incorporate the CSA and include additional state requirements for
  circumstances unique to a state.

  The purpose of the CSA is “to improve the manufacturing, importation and exportation,
  distribution, and dispensing of controlled substances and to prevent the diversion, and the illegal
  misuse, of controlled substances. Entities involved in the manufacture, distribution, and
  dispensing of controlled substances must register with the DEA. Registration of these entities with
  the DEA results in the formation of a closed and comprehensive system for controlled substances



  9
    PDMP Center of Excellence, Mandating PDMP participation by medical providers: current status and experience
  in selected states, Brandeis University (Feb. 2014).
                                                       15




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  distribution. This closed system allows for controlled substances to be traced from initial
  manufacture to final dispensing to the patient.”10 Every entity, registrant, and agent of a registrant
  in the supply chain bears responsibility for preventing the misuse of controlled substances and
  diversion.

  Maintaining a closed system for controlled substances which provide effective controls to guard
  against misuse and diversion is a vital public health concern. Prescription opioid medications are
  recognized as posing a high degree of risk from abuse and diversion. 11 As the last line of defense,
  pharmacies and pharmacists must ensure that prescriptions for controlled substances are issued for
  legitimate medical purposes, within the scope of the prescriber’s practice, and not being abused or
  diverted. Corporate Chain Pharmacies exert tremendous control over policies and procedures at
  their stores and have an obligation to ensure their operation of stores and management of pharmacy
  employees supports their agents in maintaining effective controls to guard against diversion.
  Failure to exercise this responsibility places dangerous drugs outside of the closed system
  mandated by the CSA and state requirements, with the risk of significant harm and death.

       C. Schedules of Controlled Substances

  Under the CSA, drugs, substances, and certain chemicals used to make drugs are classified into
  five (5) distinct categories or schedules depending upon the drug’s accepted medical use and the
  drug’s abuse or dependency potential. The abuse rate is a determinate factor in the scheduling of
  the drug; for example, Schedule I drugs have a high potential for abuse and the potential to create
  severe psychological and/or physical dependence. As the drug schedule changes – Schedule II,
  Schedule III, etc., so does the abuse potential – Schedule V drugs represent the least potential for
  abuse. See 21 C.F.R. Sections 1308.11 through 1308.15.

  Schedule I
  Schedule I drugs, substances, or chemicals are defined as drugs with no currently accepted medical
  use and a high potential for abuse. Some examples of Schedule I drugs are: heroin, lysergic acid
  diethylamide (LSD), marijuana (cannabis), 3,4-methylenedioxymethamphetamine (ecstasy),
  methaqualone, and peyote.

  Schedule II
  Schedule II drugs, substances, or chemicals are defined as drugs with a high potential for abuse,
  with use potentially leading to severe psychological or physical dependence. These drugs are also
  considered dangerous. Some examples of Schedule II drugs are: combination products with less




  10
   See also 21 U.S.C. § 801(2).
  11
   Rachel N. Lipari & Arthur Hughes, How People Obtain the Prescription Pain Relievers They Misuse,
  CBHSQ Report, National Survey on Drug Use and Health (Jan. 12, 2017).
                                                       16




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  than 15 milligrams of hydrocodone per dosage unit (Vicodin 12), cocaine, methamphetamine,
  methadone, hydromorphone (Dilaudid), meperidine (Demerol), oxycodone (OxyContin), fentanyl,
  Dexedrine, Adderall, and Ritalin.

  Schedule III
  Schedule III drugs, substances, or chemicals are defined as drugs with a moderate to low potential
  for physical and psychological dependence. Some examples of Schedule III drugs are: products
  containing less than 90 milligrams of codeine per dosage unit (Tylenol with codeine), ketamine,
  anabolic steroids, testosterone.

  Schedule IV
  Schedule IV drugs, substances, or chemicals are defined as drugs with a low potential for abuse
  and low risk of dependence. Some examples of Schedule IV drugs are: Xanax, Soma, Darvon,
  Darvocet, Valium, Ativan, Talwin, Ambien, Tramadol.

  Schedule V
  Schedule V drugs, substances, or chemicals are defined as drugs with lower potential for abuse
  than Schedule IV and consist of preparations containing limited quantities of certain narcotics.
  Schedule V drugs are generally used for antidiarrheal, antitussive, and analgesic purposes. Some
  examples of Schedule V drugs are: cough preparations with less than 200 milligrams of codeine
  or per 100 milliliters Robitussin AC, Lomotil, Lyrica, Parepectolin. 13

       D. Registrant Requirements

  Federal and state regulations clearly define the requirements for DEA registrants within the closed
  distribution system established by the CSA. A DEA registrant and its agents are wholly
  responsible for requirements of the CSA and state and federal requirements for controlled
  substances. Under the CSA and state regulations, pharmacy registrants are required to “provide
  effective controls and procedures to guard against theft and diversion of controlled substances.” 14



  12
     US Department of Health and Human Services (HHS) on December 16, 2013, submitted to the Administrator of the
  DEA its scientific and medical evaluation entitled, "Basis for the Recommendation to Place Hydrocodone
  Combination Products in Schedule II of the Controlled Substances Act." Pursuant to 21 U.S.C. 811(b), this document
  contained an eight-factor analysis of the abuse potential of HCPs, along with the HHS's recommendation to control
  HCPs in schedule II of the CSA. Effective October 6, 2014, the Administrator of the DEA rescheduled hydrocodone
  combination products from schedule III to schedule II of the Controlled Substances Act. Federal Register Volume 79,
  Number 163 (Friday, August 22, 2014)], [Rules and Regulations], [Pages 49661-49682], From the Federal Register
  Online via the Government Printing Office [www.gpo.gov], [FR Doc No: 2014-19922].
  13
     Id.
  14
     See 21 C.F.R. § 1301.71(a).; Another aspect of the requirement is that “The registrant shall notify the Field
  Division Office of the Administration in his area, in writing, of the theft or significant loss of any controlled
  substances within one business day of discovery of such loss or theft.” 21 C.F.R. § 1301.76(b) and local law




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  The CSA creates a “closed system” of distribution in which distribution may lawfully occur only
  among registered handlers of controlled substances, referred to as “registrants.” 15 Former DEA
  deputy assistant administrator for the DEA office of diversion control diversion Joe Rannazzisi,
  testified that all DEA registrants have an obligation to provide effective controls to guard against
  diversion of controlled substances. 16

  All DEA pharmacy registrants are also required to maintain complete and accurate inventories and
  records of all regulated transactions involving controlled substances and listed chemicals, as well
  as provide adequate security controls to prevent their diversion. The closed system created and
  mandated by the CSA ensures that controlled substances are under the control of a DEA-registered
  Person until they reach the patient or are destroyed, and the CSA’s regulatory requirements “ensure
  that all controlled substances are accounted for from their creation until their dispensing or
  destruction.” See DEA, Definition and Registration of Reverse Distributors, 70 Fed. Reg. 22591
  (May 2, 2005).

  Compliance obligations for DEA registrants, pharmacies and their agents, focus on critical areas
  of practice such as inventory, security, record-keeping, prescription management and fraud
  monitoring, ordering, and dispensing / diversion prevention. Guidance issued by and actions taken
  by the DEA identified the aforementioned critical areas and provided clarification of the design
  and implementation of effective controls and compliance programs.

  Examples include but are not limited to:

         Procedures to identify the common signs associated with the diversion of controlled
          substances;
         Routine and periodic training of all pharmacy employees responsible for dispensing
          controlled substances on the elements of the compliance program and their responsibilities
          under the CSA;
         A System to notify the local DEA office of a refusal to fill a prescription for controlled
          substances where such refusal is based on the pharmacist's determination that the
          prescription was forged, altered, and/or issued for other than a legitimate medical purpose
          by a practitioner acting outside the usual course of professional practice;
         Policies and procedures to ensure that prescriptions for controlled substances are only
          dispensed to authorized individuals pursuant to federal and state law and regulations;




  enforcement; Even those in senior positions, particularly Kroger, have had trouble adhering to this basic
  requirement. See Jun. 14, 2023, Eric Griffin, 30(b)(6), Deposition (hereafter “Griffin Dep.”), 117:10-24, 118:25-
  119:14; Griffin Dep. Ex. 13, WVMLP-3P000002035; Griffin Dep. Ex. 15, OBOP_0036867; Kroger Names Colleen
  Lindholz President of Pharmacy and The Little Clinic, https://ir.kroger.com/CorporateProfile/press-releases/press-
  release/2017/Kroger-Names-Colleen-Lindholz-President-of-Pharmacy-and-The-Little-Clinic/default.aspx.
  15
     See DEA, 75 Fed. Reg. 16235, 16237 (Mar. 31, 2010).
  16
     May 15, 2019, Joe Rannazzisi Deposition (hereafter “Rannazzisi II Dep.”), 410:8-15.
                                                         18




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           Not knowingly dispensing an invalid prescription or a prescription that the pharmacist
            reasonably believes was issued for other than a legitimate medical purpose or by a
            practitioner acting outside the usual course of professional practice;
           A System to provide reports of dispensing upon request;
           A System to assess the data and other information available to the pharmacy and to notify
            dispensing pharmacists of potentially suspicious prescribers and prescriptions;
           A System to identify and prevent early fills of Schedule II controlled substances and to fill
            only Schedules III-V controlled substances that are valid and appropriately authorized.

  Within the usual and customary practice of pharmacy, the CSA provides that a pharmacist must
  carefully evaluate every prescription for a controlled substance presented for dispensing. The
  evaluation requires a determination whether the prescription is valid, and the validity of a
  prescription for a controlled substance must be determined before dispensing. The determination
  requires the pharmacist to ascertain that (i) the prescription was issued by a medical practitioner
  adhering to the usual course of his or her professional practice, (ii) the prescription is for a
  legitimate medical purpose, (iii) any red flag(s) has been identified and resolved, (iv) there is a
  bona-fide relationship between the prescriber and patient, and (v) the possibility of abuse,
  diversion, or fraud has been investigated and addressed.

       E.          Corresponding Responsibility

  A primary tenet of the standard of care in the practice of pharmacy is a pharmacist’s independent
  responsibility to ensure that all prescriptions are issued for a legitimate medical purpose by a
  practitioner authorized by law while acting in the usual course of his professional practice. This
  duty is also set forth in the CSA and state practice acts and rules. The regulations expressly define
  and outline the corresponding responsibility of a pharmacist dispensing controlled substances.

  The CSA (21 C.F.R. § 1306.04), and as confirmed by additional guidance documents issued by
  the DEA, “The practitioner is responsible for the proper prescribing and dispensing of controlled
  substances. The pharmacist also has a corresponding responsibility regarding the dispensing of a
  prescription. An order purporting to be a prescription issued not in the usual course of professional
  treatment or in legitimate and authorized research is an invalid prescription within the meaning
  and intent of the CSA.” Pharmacies are DEA registered corporations and must comply with
  obligations imposed by the CSA.17 One obligation prohibits the issuance of an invalid
  prescription, and any “person knowingly filling such a purported prescription, as well as the person
  issuing it, shall be subject to the penalties provided for violations of the provisions of law relating
  to controlled substances.”18 This applies to pharmacists and pharmacies, because a “person” under
  the CSA “includes any individual, corporation.” 19 “When prescriptions are clearly not issued for
  legitimate medical purposes, a pharmacist may not intentionally close his eyes and thereby avoid



  17
     21 U.S.C. § 822(b), § 823(f).
  18
     21 C.F.R. 1306.04(a).
  19
     See 21 C.F.R. §§ 1300.01, 1306.02.
                                                     19




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  positive knowledge of the real purpose of the prescription.”20 “The corresponding responsibility
  to ensure the dispensing of valid prescriptions extends to the pharmacy itself.” 21

  When dispensing controlled substances, a pharmacist must follow the “usual course of professional
  practice.”22 As the Department of Justice’s recent lawsuit against Walmart alleges, “for a
  pharmacist to comply with the limited dispensing authorization provided in 21 U.S.C. § 829, the
  pharmacist must dispense the controlled substances in the usual ‘course of professional practice.’”
  Amended Complaint, United States of America v. Walmart Inc., 1:20-cv-01744, Doc. No. 75 (D.
  Del. Oct. 7, 2022) at ¶ 67. This statutory limitation was adopted by the CSA under 21 C.F.R. §
  1306.06. The obligations to “identify red flags, to resolve them before filing the prescription, and
  to document any resolution of red flags are recognized procedural responsibilities of pharmacists
  in the professional practice of pharmacy [and] a pharmacist who fails to fulfill them when
  dispensing controlled substances does not adhere to the usual course of his or her professional
  pharmacy practice as required by 21 U.S.C. § 829 and 21 C.F.R. § 1306.06.”.” Id. at ¶ 76. Former
  DEA deputy assistant administrator for the DEA office of diversion control diversion Joe
  Rannazzisi confirmed this in his testimony.23 “[A] pharmacist who fails to fulfill them when
  dispensing controlled substances does not adhere to the usual course of his or her professional
  pharmacy practice as required by 21 U.S.C. § 829 and 21 C.F.R. § 1306.06.” Complaint at ¶ 76.

  The CSA clearly places the duty to prevent diversion of controlled substances upon each person
  and entity involved in the closed system. The CSA and its implementing regulations hold
  accountable the registrant, manufacturer, distributor, pharmacy, and pharmacist who ultimately
  dispensed the prescription. Importantly, the corresponding responsibility is a shared responsibility
  of the pharmacy and pharmacist and not the pharmacist alone.24 Pharmacies have an important
  and crucial role in creating systems and programs to identify and prevent the filling of controlled
  substance prescriptions issued by prescribers for reasons such as not being appropriately licensed,
  and licenses expired or suspended. The pharmacy also has an important duty to create a system to
  identify critical components of the evaluation process, such as the prescriber’s specialty and his
  scope of practice and the prescriber’s prescribing patterns, in order for the prescription to be
  evaluated and determined whether the prescription is valid and written within the usual course of
  the prescriber’s practice and for a legitimate medical purpose. The pharmacy has data that the
  pharmacist does not have access to, which should be used to identify red flags that are indicia of
  potential diversion and to share that information with the pharmacies’ agents and employees. The
  pharmacy has an obligation to provide clear guidance through policies, procedures and training




  20
     Ralph J. Bertolino, d/b/a Ralph J. Bertolino Pharmacy, 55 FR 4729, 4730 (1990).
  21
     Top RX Pharmacy; Decision and Order, 78 FR 26069-01 (2013).
  22
     21 U.S.C. § 829.
  23
     Apr. 25, 2019, Joe Rannazzisi Deposition (hereafter “Rannazzisi I Dep.”), 196:1-16.
  24
     Holiday CVS, LLC, d/b/a/ CVS Pharmacy Nos. 219 and 5195, Decision and Order, Fed Reg. Vol. 77, No. 198, p.
  62316-62346, at 62341 (October 12, 2012) (“Holiday CVS”).
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  relating to corresponding responsibility and to create systems and programs to monitor the
  pharmacy to ensure that the policies, procedures, and training are being followed. 25

  “The corresponding responsibility to ensure the dispensing of valid prescriptions extends to the
  pharmacy itself.”26 The Holiday decision was not the first DEA decision to hold pharmacies
  responsible for failing to fulfill their corresponding responsibility under the CSA; similar opinions
  were issued in Medicine Shoppe-Jonesborough and United Prescription Services, Inc.27 The DEA
  has consistently held the pharmacy corporation, including Defendants in related litigation,
  responsible for failing to exercise its corresponding responsibility under the CSA.

  Corresponding responsibility is also identified and defined in the DEA’s publication—The
  Pharmacist’s Manual An Informational Outline of the Controlled Substances Act and Actions
  (administrative and criminal) - Revised 2010.

          SECTION IX – VALID PRESCRIPTION REQUIREMENTS To dispense
          controlled substances, a pharmacist must know the requirements for a valid
          prescription which are described in this section. A prescription is an order for
          medication which is dispensed to or for an ultimate user.

          Corresponding Responsibility

          A pharmacist also needs to know there is a corresponding responsibility for the
          pharmacist who fills the prescription. An order purporting to be a prescription
          issued not in the usual course of professional treatment or in legitimate and
          authorized research is an invalid prescription within the meaning and intent of the
          CSA (21 U.S.C. § 829). The person knowingly filling such a purported
          prescription, as well as the person issuing it, shall be subject to the penalties
          provided for violations of the provisions of law relating to controlled substances.

          A pharmacist is required to exercise sound professional judgment when making
          a determination about the legitimacy of a controlled substance prescription. Such
          a determination is made before the prescription is dispensed. The law does not
          require a pharmacist to dispense a prescription of doubtful, questionable, or
          suspicious origin. To the contrary, the pharmacist who deliberately ignores a
          questionable prescription when there is reason to believe it was not issued for a
          legitimate medical purpose may be prosecuted along with the issuing practitioner,
          for knowingly and intentionally distributing controlled substances. Such action is
          a felony offense, which may result in the loss of one’s business or professional


  25
     See Rannazzisi II Dep., 436:10-437:25 (Mr. Rannazzisi further explained that pharmacies are a part of the closed
  system and have a “legal obligation to follow the security and recordkeeping requirements” to comply with the CSA
  regulations).
  26
     Holiday CVS; Fed Reg. Vol. 77, No. 198, at 62341.
  27
     73 FR 364, 384 (2008); 72 FR 50397, 50407-08 (2007).
                                                          21




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          license (see United States v. Kershman, 555 F.2d 198 (8th Cir. 1977) (emphasis
          added).

  The CSA and state laws inform the pharmacist that he is not required to dispense a prescription of
  doubtful, questionable, or suspicious origin. To the contrary, the pharmacist who fills a
  prescription when there is reason to believe it was not issued for a legitimate medical purpose may
  be prosecuted along with the issuing practitioner, for knowingly and intentionally distributing
  controlled substances.

  A pharmacist who “filled a prescription notwithstanding her actual knowledge that the prescription
  lacked a legitimate medical purpose” or who “was willfully blind or deliberately ignorant to the
  fact that the prescription lacked a legitimate medical purpose” violates the corresponding
  responsibility requirement. Pharmacy Doctors Enterprises, 83 Fed. Reg. 10,876, 10,896 (DEA
  Mar. 13, 2018).

  A pharmacist was found to have illegally dispensed controlled substances when the pharmacist
  “deliberately closed his eyes to the true nature of the prescription.” United States v. Lawson, 682
  F.2d at 482.

  “Red Flags”

  A pharmacist’s corresponding responsibility and determination of whether a prescription issued
  for a controlled substance is valid and legitimate, requires systems and actions to recognize,
  investigate, and resolve signs of a prescription’s invalidity (red flags) “arising during the
  presentation of a prescription which creates a reasonable suspicion that the prescription is not, on
  its face, legitimate.”28 Red flags are warning signs and can also indicate activities are occurring
  outside the usual and customary scope of pharmacy practice, activities that are more than likely to
  include abuse, diversion, and fraudulent acts. According to Jamie McDermott, Kroger’s Manager
  of Pharmacy Controlled Substance Compliance, red flags are “circumstances surrounding the
  presentation of a controlled substance prescription that does or should raise a reasonable suspicion
  as to the validity of a prescription.”29

  Red flags are not a novel or unknown concept to pharmacists, pharmacies, or Defendants. Red
  flags are common sense warning signs that have long been an important component of controlled
  substance pharmacy best practices. In addition, at least since the 1930s and 1940s there has been




  28
     United States v. City Pharmacy, LLC, No. 3:16-CV-24, 2017 WL 1405164, at *4 (N.D. W.Va. Apr. 19, 2017); see
  also United States v. Lawson, 682 F.2d 480, 483 n.6 (4th Cir. 1982).
  29
     Mar. 28, 2022, Jamie McDermott Deposition (hereafter “McDermott II Dep.”), 152:20-153:15 -22; see also, P-
  KRO-0471 at KrogerMDL00002142, “Controlled Substance Compliance Current Trends & Reminders (September
  2014).
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  guidance given to pharmacies and pharmacists related to the creation of systems and programs to
  guard against diversion and lists of “don’ts” when dispensing narcotics. 30

  Pharmacists have been trained when determining whether to fill a prescription for a controlled
  substance and to be alert for suspicious activities surrounding the prescription. Licensed or
  registered pharmacists in every state are required to complete a formal education program of
  didactic and practical experience.

  Every state requires pharmacists, as part of their formal education, to complete a state law or
  jurisprudence examination to qualify for licensure or transfer an existing license. In 2010 and
  continuing to 2019, 48 states required NABP’s Multistate Jurisprudence Examination (MPJE). A
  validation study of the MPJE conducted in 2010 determined that the application of pharmacy law
  within the practice of pharmacy required increased emphasis on pharmacy jurisprudence as it
  applies to the practice of pharmacy. The emphasis included corresponding responsibility and red
  flags.31

  Red flags of diversion are known or should be known to pharmacies and pharmacists in the usual
  and customary practice of pharmacy. As noted above, red flags are known concepts in pharmacy
  practice and the regulation of pharmacy practice as well as the subject of DEA guidance, guidance
  from State Boards of Pharmacy, negotiated consensus documents published by the NABP, and by
  industry trade groups such as the National Association of Chain Pharmacies. Videos have also
  been created to give guidance to pharmacies and pharmacists on red flags of diversion. 32 Red
  Flags have also been the subject of numerous DEA diversion investigations, registration
  suspensions and revocations, and criminal and civil actions.

  The performance of the red flag analysis required by the pharmacy’s corresponding responsibility
  was especially critical when those in the practice of pharmacy became aware that opioid diversion
  and misuse had reached epidemic proportions.

  Defendants, as distributors of controlled substances, were sent copies of DEA Deputy Assistant
  Administrator Joseph T. Rannazzisi’s 2006 and 2007 letters describing distributors’ obligations
  under the CSA with respect to suspicious order monitoring. In his first letter, dated September 27,
  2006, Rannazzisi wrote,

          The purpose of this letter is to reiterate the responsibilities of controlled substance
          distributors in view of the prescription drug abuse problem our nation currently faces. …




  30
     See Prescribing and Dispensing Narcotics Under the Harrison Narcotic Law, Pamphlet 56, U.S. Treasury Dep’t,
  U.S. Bureau of Narcotics, (July 1938); Treasury Department, U.S. Bureau of Narcotics, late 1940s, “Narcotics
  ‘DON’TS’ for the Pharmacist,” n.d., “Demerol,” FBN Papers (IMG_3801).
  31
     NABP MPJE Competency Statements 2016.
  32
     “Red Flags,” NABP Video produced by the Anti-Diversion Industry Working Group (May 20, 2014).
                                                       23




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          As each of you is undoubtedly aware, the abuse (nonmedical use) of controlled prescription
          drugs is a serious and growing health problem in this country.” 33

  As early as 2011, Publix’s then Vice President of Pharmacy, Fred Ottolino, acknowledged in a
  memo to all pharmacists that “[p]rescription drug abuse is the nation’s fastest growing drug
  problem.”34 Moreover, Publix has historically viewed the opioid epidemic as a “threat”. 35 Kroger
  has been aware of the opioid problem in this country since at least the mid-2000s. In 2005, Kroger
  entered into a settlement with DEA regarding its compliance programs around controlled
  substances. The settlement involved Kroger’s lax handling of controlled substances in its stores in
  Colorado.36 Kroger paid a settlement of $7,000,000 and agreed to “implement a Comprehensive
  Regulatory Compliance Program,” and to train all of its employees pursuant to the Compliance
  Program.37 Kroger also received the letters from Rannazzisi in 2006 and 2007. 38

  In 2011, the CDC reported that:

          In 2007, nearly 100 persons per day died of drug overdoses in the United States. The death
          rate of 11.8 per 100,000 population in 2007 was roughly three times the rate in 1991.
          Prescription drugs have accounted for most of the increase in those death rates since 1999.
          In 2009, 1.2 million emergency department (ED) visits (an increase of 98.4% since 2004)
          were related to misuse or abuse of pharmaceuticals, compared with 1.0 million ED visits
          related to use of illicit drugs such as heroin and cocaine. Prominent among these
          prescription drug-related deaths and ED visits are opioid pain relievers (OPR), also known
          as narcotic or opioid analgesics, a class of drugs that includes oxycodone, methadone, and
          hydrocodone, among others. OPR now account for more overdose deaths than heroin and
          cocaine combined. OPR frequently are diverted for nonmedical use by patients or their
          friends or sold on the street. In 2010, 4.8% of the U.S. population aged ≥12 years used
          OPR nonmedically. Nonmedical use of OPR costs insurance companies up to $72.5 billion
          annually in health-care costs.39

  According to the CDC, as of 2019, nearly 841,000 people have died since 1999 from a drug
  overdose. The number of drug overdose deaths increased by nearly 5% from 2018 to 2019 and
  had quadrupled since 1991. Over 70% of the 70,630 drug-related deaths in 2019 involved an
  opioid.


  33
     CAH_MDL_PRIORPROD_DEA12_0006133 (Rannazzisi Ex. 12), citing National Institute on Drug Abuse
  Research Report: Prescription Drug Abuse and Addiction (revised August 2005): available at
  www.drugabuse.gov/PDF/RRPrescription.pdf. See also US-DEA-00022457 (2/7/2007); PUBLIX-MDLT8-
  00147285, P-PUB-0429 (12/27/2006) (Rannazzisi Ex. 13)
  34
     PUBLIX-MDLT8-00118914 (Chavez Dep. Ex. 11; Ottolino Dep. Ex. 1).
  35
     PUBLIX-MDLT8-00071826.
  36
     US-DEA-00012570, P-32287_00023-54.
  37
     Kroger-MDL00031079.
  38
     KrogerSmithNMAG00003203.
  39
     CDC, Vital Signs: Overdoses of Prescription Opioid Pain Relievers --- United States, 1999-2008, Weekly (Nov. 4,
  2011).
                                                         24




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        Three Waves of the Rise in Opioid Overdose Deaths
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          "5       12                                                                                                                                                    Other Synthetic Opio ids
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           a.                                                                                                                                                            Heroin
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           "'Cl>                                                                                                                                                             (Natural & Semi-Synthetic Opioids
                                                                                                                                                                                      and Methadone)
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                               Wave 1: Rise in
                                                             Wave 2: Rise in Heroin                    Wave 3: Rise in Synthetic
                             Prescription Opioid
                                                                  Overdose Deaths                      Opioid Overdose Deaths
                              Overdose Deaths
                               Started in 1999
                                                                  Started in 2010                          Started in 2013
                                                                                                                                                                 ..
  40




  Thus, Defendants recognized the ongoing and growing prescription opioid epidemic beginning in
  the mid to late 2000s.41 Their policies, procedures, and training materials began to contain lists
  red flags of diversion for controlled substances. However, while Defendants eventually
  recognized red flags in their policies, they were slow to do so, and such recognition occurred long
  after the misuse of opioids was well known and the opioid crisis had become an epidemic.
  Following the DEA investigations into other registrants, in November 2012 Kroger instructed
  pharmacies to educate “all pharmacy staff on known red flags of diversion.” 42 Kroger had some
  warning signs for pharmacists dispensing controlled substances in its 2005 SOP, those warnings
  remained stagnant at Kroger until 2012.43 Kroger did not use the term “red flag” or identify
  additional signs of diversion until the 2012 read and sign that was issued to pharmacists following



  40
     Centers for Disease Control and Prevention, National Center for Injury Prevention and Control. March 2021.
  41
     KrogerWVAG00002342 (noting that “[o]pioid-related deaths began to rise after sharp increase in prescribing” in
  the 1990s). Nov. 8, 2022, Leigh Anne Jacobson Deposition (hereafter “Jacobson Dep.”), 191:1-192:12 (Publix
  pharmacist was aware of opioid crisis since at least 2010); PUBLIX-MDLT8-00118914 (Vice President of Publix
  pharmacy operations, Fred Ottolino issued a 2011 memo to all stores indicating that “[p]rescription drug abuse is the
  nation’s fastest-growing drug problem.”); P-PUB-0471 (Jacobson Exhibit 8) (Cobb County news article indicating
  that over-the-counter drug abuse jumped 15 percent from 2008 until 2009.
  42
     KrogerMDL00001531.
  43
     KrogerSmithNMAG00003033 at 00003090 (2005); KrogerSmithNMAG000348.
                                                                                                  25




                                                                                     P-01353_25
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  DEA investigations.44 Nevertheless, Kroger’s 2016 SOP still contained the same warning signs
  for pharmacists as the 2005 SOP45 There was not consistent guidance through Kroger’s policies.
  Further, Kroger should have updated its policies and procedures as diversion trends continued to
  evolve. Publix recognized the importance of regulations around controls for controlled substance
  prescriptions, but characterized these safeguards as “important for society, but a burden” for the
  retailer and distributer.46 Guidance on red flags was not issued to Publix pharmacists until 2012
  although it is unclear whether or not Publix pharmacists are even aware of such guidance. 47

  Walgreens and Walmart entered into Memoranda of Understanding or Agreement with the DEA
  and DOJ arising from DEA enforcement actions based upon their failure to identify and resolve
  these red flags of diversion in 2009-2011. CVS developed its first guidelines to pharmacists
  regarding warning signs of diversion only after receiving a direct warning from the DEA around
  the same time, later resulting in the Holiday decision and suspension of CVS’s license.

  Evidence that the abuse of opioids was well known and should have been known by the Defendants
  extends beyond the reports issued by the CDC, the DEA, and other credible government sources.
  In the face of the overwhelming evidence concerning the abuse of prescription opioid medications,
  the Defendants failed to address the presence of the opioid prescription epidemic in their
  pharmacies and failed to acknowledge the significance of red flag analysis as a critical component
  to prevent opioid drug diversion.

  In Jones Total Health Care Pharmacy, L.L.C., and SND Health Care, L.L.C.; Decision and
  Order,48 the DEA noted that an administrative law judge had “specifically rejected” the argument
  that a pharmacy owner, whose charged conduct occurred in the 2010-2012 time-frame, “was
  simply naïve or unaware of various indicia (otherwise known as red flags) that the prescriptions
  her pharmacy filled lacked a legitimate medical purpose as well as its contention that during the
  relevant time period,” and credited testimony that, in “2010, Florida pharmacists were generally
  aware of various red flags of abuse and diversion.” The decision also notes that, although an expert
  had “testified that the first reference to the term ‘red flag’ that she could find in DEA’s public
  pronouncements was in the Holiday CVS decision,” that was incorrect, as “the term appears in
  DEA administrative decisions involving practitioners including pharmacies” earlier than that, as
  well as “federal court decisions that predate 2010.” Id. at Note 23 (citing Paul J. Caragine, 63



  44
     KrogerSmithNMAG000348.
  45
     Feb. 22, 2022, Jamie McDermott Deposition (hereafter “McDermott I Dep.”), 303:21-304:2;
  KrogerMDL00000329 at 00000399; KrogerSmithNMAG00003033 at 00003090.
  46
     PUBLIX-MDLT8-00071828 (P-PUB-0324). As late as 2018, Publix viewed the opioid epidemic as a “threat” and
  acknowledged that it needed to respond to the opioid epidemic “with better tools to ensure we are efficiently
  meeting requirements yet taking care of the customer.” Id.
  47
     PUBLIX-MDLT8-00002439 at 00002475. Publix pharmacist Shannon Brice testified that despite working as a
  Publix pharmacist for 25 years and a Cobb County pharmacy manager responsible for overseeing and training other
  pharmacists, she had not previously seen or reviewed the 2012 policy until just weeks before her deposition. See
  Aug. 3, 2023, Shannon Brice Deposition (hereafter “Brice Dep.”).
  48
     Jones Total Health Care Pharmacy, LLC v. Drug Enf't Admin., 881 F.3d 823 (11th Cir. 2018), available at
  https://www.deadiversion.usdoj.gov/fed_regs/actions/2016/fr1110_3.htm.
                                                        26




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  F.R. 51592, 51600 (1998); Medicine Shoppe-Jonesborough, 73 F.R. 364 (2008); United
  Prescription Services, Inc., 72 F.R. 50397 (2007); Medicine Shoppe- Jonesborough v. DEA, 300
  Fed. Appx. 409, 413 (6th Cir. 2008); United States v. Alerre, 430 F.3d 681, 686 (4th Cir. 2005);
  United States v. Chin, 795 F.2d 496, 502 (5th Cir. 1986)).

  The same agency decision notes that “[i]n any event, the term ‘red flag’ has been part of the lexicon
  for more than 200 years, and whether the Agency has used this term, or such terms as ‘warning
  signs’ or ‘suspicious circumstances,’ is of no consequence.” Id. (explaining that “[w]hat matters is
  whether Respondent’s pharmacists either knew or were willfully blind to the fact that the
  controlled substance prescriptions they dispensed lacked a legitimate medical purpose”). As a
  matter of pharmacy practice, it is my opinion that a pharmacy chain could and should have used
  the data available to them, including but not limited to their own dispensing data, to assist their
  pharmacist and pharmacies in detecting and addressing red flags for diversion. See Section D.
  above.

  What follows is a list and description of certain red flags of diversion that were able to be captured
  in the Defendants’ dispensing data produced in this litigation.

  Red flags of diversion can generally be categorized as Prescriber Red Flags, Patient Red Flags,
  Prescription Red Flags and Pharmacy Red flags.

  Defendants produced dispensing data from the pharmacies they operated in Georgia. A number of
  red flags can be identified using the fields produced in the dispensing data. I have requested that
  Craig McCann and SLCG calculate the number of opioid prescriptions triggered by the red flags
  described in this report. I have also reviewed and relied upon Dr. McCann’s expert report and
  appendices submitted in this litigation, which contains analysis of red flag prescriptions. Below is
  a description of these red flags:
      Patients traveling long distances to fill opioid prescriptions

              1. Pharmacy Distance- Patient generally travels over 25 miles to pharmacy.
              2. Prescriber Distance- Patient generally travels over 25 miles to prescriber.

  In the usual and customary practice of pharmacy, patients ordinarily frequent pharmacies that are
  convenient to their lifestyles. That convenience translates into using a pharmacy that is close to
  their residence or place of employment. Exceptions can occur when the individual’s drug coverage
  under their insurance plan mandates certain pharmacies, the pharmacy that they frequent is out of
  a medication, or the patient is being treated by practitioners at a tertiary care facility that is highly
  specialized to provide services such areas as cardiac surgery, cancer treatment and management,
  burn treatment, plastic surgery, neurosurgery and other complicated treatments or procedures.
  Further, according, to the CDC, nearly nine out of ten Americans live within five miles of a




                                                     27




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  community pharmacy.49 An earlier study stated that “more than 90% of Americans live within 2-
  miles to one of these pharmacies.”50 A patient that travels an inordinate distance (greater than 25
  miles) to a particular pharmacy to obtain controlled substances is a recognized red flag that should
  be known to a pharmacist.51 The use of 25 miles as a reference point is based upon standards used
  by states in establishing and permitting telepharmacies. In 2003, the North Dakota Board of
  Pharmacy was the first state to establish permanent rules allowing telepharmacy. North Dakota
  and other states utilized 25 miles or greater as one of the determinants for defining a telepharmacy
  in medically underserved remote rural communities. Based upon my review and considering the
  extensive diversion of opioids in Georgia, I believe 25 miles is an appropriate guideline. The
  distance flags are defined as follows:

                   The incidence of prescriptions for Pharmacy Distance - An opioid was dispensed
                    to a patient who traveled more than 25 miles to visit the pharmacy. The distance
                    here is calculated from the center of the patient’s zip code to the center of the
                    pharmacy’s zip code.

                   The incidence of prescriptions for Prescriber Distance - An opioid was dispensed
                    to a patient who traveled more than 25 miles to visit their prescriber. The distance
                    here is calculated from the center of the patient’s zip code to the center of
                    prescriber’s zip code.
  Chain Pharmacies’ policies and internal documents, albeit promulgated after an unreasonable
  delay in time, recognize that an inappropriate distance traveled between a patient and a prescriber
  and a patient and a pharmacy is a red flag of diversion.
           Kroger: “Patient has driven a long distance to see a doctor,” 52 “Patient that isn’t a usual
           customer or doesn’t live in the community around the pharmacy or prescriber (patient
           travels over > 100 miles to see the physician)” 53

           Publix: “The prescriber’s practice is not near where the patient resides.” 54



  49
     CDC, Get to Know Your Pharmacist, https://www.cdc.gov/heartdisease/pharmacist.htm.
  50
      Dima Qato, Shannon Zenk, Jocelyn Wilder, Rachel Harrington, Darrell Gaskin, & G. Caleb Alexander, The
  availability    of   pharmacies      in    the     United      States:    2007–2015,        PLoS      One     2017;12(8),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5559230/#pone.0183172.ref002.
  51
     In the Holiday CVS administrative action, a patient travelling a long distance to fill prescriptions was noted as a red
  flag and “indicator of possible diversion”). In Pharmacy Doctors Enterprises, Inc., v. Drug Enf't Admin., 789 Fed.
  Appx. 724, 730 (11th Cir. 2019), customers traveling “hundreds of miles roundtrip” was again noted as a red flag.
  Finally, in East Main Street Pharmacy, patients “driving long distances to have their prescriptions filled” was
  demarcated as a red flag and particularly, the “pattern of patients traveling long distances from the location of their
  home and physician is extremely unusual and very suspicious.” East Main Street Pharmacy, Affirmance of
  Suspension Order, 75 F.R. 66149-01 (October 27, 2010) (“East Main Street Pharmacy”).
  52
     KrogerSmithNMAG000348.
  53
     KrogerMDL00002122 at 2144/ P-KRO-0471.
  54
     PUBLIX-MDLT8-00002439 at 00002475.
                                                             28




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                  Walmart: Prescriber or individual is “outside of the pharmacy’s trade area.” 55
          CVS: “[E]ither or both the patient and prescriber not being located within the store’s
          geographic areas (in most cases).”56 CVS Prescriber Algorithm Metrics and Definitions:
          Relative Distance is defined as: "Patients who travel more than 20 miles to the pharmacy
          based on the centroid of the respective zip codes."57
          Walgreens: “Unusual geographical distances between patient, pharmacist, and
          prescriber”58). “Individual resides outside of the trade area of your pharmacy, prescription
          is written by a prescriber located outside of the pharmacy’s trade area.” 59 In 2021,
          Walgreens piloted a notification function that alerts pharmacists when the distance
          threshold is exceeded.60 This threshold is calculated using triangular data points that
          include the zip codes of the pharmacist, patient, and prescriber. 61 In urban areas, the
          triangular perimeter is set to 30 miles.62
          Rite Aid: “The patient or the prescriber is located outside the pharmacy’s typical
          geographic area (e.g., patient’s address is OH, prescriber’s address is FL, and your
          pharmacy is located in KY).”63

  Further, in 2015, a coalition of stakeholder organizations and the trade organization for the chain
  drug stores, of which Kroger and Publix were members, the National Association of Chain Drug
  Stores (“NACDS”)64among others, along with the NABP released a consensus document (“NABP
  Stakeholder Report”) on the challenges and “red flag” warning signs related to prescribing and
  dispensing controlled substance prescriptions.” 65 The NABP Stakeholder Report also recognized
  as a red flag patients “traveling unexplainable and/or unreasonably long distance to a physician
  office and/or the pharmacy” (long distance). 66



  55
     WMT_MDL_000042957 at 42958. (POM 1311 (2015)); see also WMT_MDL_000069117 (POM 1311 (2011))
  (“the prescription was written by an out-of-state prescriber”).
  56
     CVS-DR22-000001039.
  57
     CVS-MDLT3-000034325.0011
  58
     WAGMDL00093367 Good Faith Practices (Revised 08/01/98).
  59
     WAGMDL00256710, April 2013 Presentation, Pharmacist GFD Review Coaching Opportunities.
  60
     Feb. 11, 2021, Jon Arends Deposition, 132-134.
  61
     Id.
  62
     Id.
  63
     Rite_Aid_OMDL_0044309, #RXO00037-2012 – Procedures for Validation and Dispensing of High Alert
  Controlled Substances.
  64
     Kroger, Publix, Walmart, Meijer, Walgreens and, until July of 2022, CVS were members of NACDS, among
  others.
  65
     WAGMDL00502238, Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and Dispensing
  Controlled Substances.
  66
     Id.; see also NABP_00022121, Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and
  Dispensing Controlled Substances.
                                                       29




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  In 2013, NACDS included as a red flag instances where “[p]atient travels long distance to
  physician and/or pharmacy.”67 Kroger and Publix were both members of NACDS at the time that
  guidance was issued.68
       Doctor Shopping:

  Doctor shopping, as a red flag, includes when a patient presents a prescription for a controlled
  substance and may be obtaining the same or similar controlled substance from a different
  prescriber(s) and the patient does not make the prescriber aware of the other prescriber. 69 The red
  flag assists with the identification of individuals who are searching for a cooperative prescriber
  who will willingly prescribe the desired controlled substances. 70 The doctor shopping flag are
  calculated as follows:

          3. A patient was dispensed opioid prescriptions with overlapping days of supply that were
          written by two or more prescribers.

  It is worth noting that certain red flags which implicate multiple prescriptions, such as doctor
  shopping, may not be readily apparent to the pharmacist when the first prescription is presented.
  Nevertheless, once the second prescription is presented, the pharmacy must review and investigate
  both prescriptions because they are red flagged prescriptions. 71

          Pharmacy Shopping:

  Pharmacy shopping occurs as a red flag when a patient travels to multiple pharmacies to fill
  controlled substances prescriptions with the intent moving from pharmacy to pharmacy in the
  hopes of getting multiple controlled substances without being detected. In the usual and customary
  practice of pharmacy, the overwhelming percentage of patients (>60%) use one pharmacy as their
  primary source of medications. Clinically, the overall health status appeared to be the worst for
  patients filling at multiple pharmacies concurrently and similarly, non-adherence higher. 72 The
  pharmacy shopping flag is:

          4.     Patient was dispensed opioid prescriptions with overlapping days of supply at two
          or more pharmacies.




  67
     WMT_MDL_000891159.
  68
     FM 00028867 at 00028880; PUBLIX-MDLT8-00066956.
  69
      Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and Dispensing Controlled
  Substances, WAGMDL00502238; WMT_MDL_000891159.
  70
     Id.
  71
     This same rationale applies to various flags including 4, 5, 7, 11 and 13.
  72
     Zachary Marcum, Julia Driessen, Carolyn Thorpe, Walid Gellad, & Julie Donohue, Impact of Multiple Pharmacy
  Use on Medication Adherence and Drug-drug Interactions in Older Adults with Medicare Part D., J Am Geriatr Soc.
  2014 Feb; 62(2): 244–252.
                                                        30




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  Chain Pharmacies’ policies and documents recognized, again long after the epidemic was in full
  swing, that doctor shopping and pharmacy shopping were red flags:

          Kroger: Patient red flag includes “doctor shopping.” 73

                  Publix: “The patient changes prescribers frequently (‘doctor shopping’).” 74

          Walmart: Patient red flags include: “evidence of “doctor shopping” and “pharmacy
          shopping” (often tied with traveling long distances). 75

          CVS: “Doctor Shopping—Evidence of multiple doctors prescribing controlled
          prescriptions for customer….” 76 “Doctor shopping refers to the practice of an individual
          patient (who may or may not have legitimate medical issues) visiting multiple doctors in
          order to obtain multiple prescriptions for a controlled substance. The individual will
          typically have the multiple prescriptions filled at different pharmacies.” 77

          Walgreens: “evidence” of “doctor shopping” and “pharmacy shopping” are red flags of
          diversion.78

          Rite Aid: “multiple prescribers” and “multiple pharmacy locations” as a flag for all
          prescriptions.”79

          NABP Stakeholder Document: The NABP Stakeholder Report: “Patient presents a
          prescription for controlled substance that the pharmacist knows, or reasonably believes,
          that another pharmacy refused to fill.”80

          The NACDS DEA Subcommittee Draft: “Prescription drug abusers will often attempt to
          obtain controlled substances from multiple pharmacies during adjacent or overlapping
          periods of time.”81

  Drug cocktails (an opioid, a benzodiazepine, and a muscle relaxer dispensed concurrently,
  i.e., the “Holy Trinity”):



  73
     Kroger-MDL00018716 at 00018730.
  74
     PUBLIX-MDLT8-00002439 at 00002475.
  75
      POM 1311, Practice Compliance, Proper Prescriber-Patient Relationship/Corresponding Responsibility,
  WMT_MDL_000042957.
  76
     CVS-MDLT3-000006234.
  77
     CVS-NYAG-000030739.
  78
     WAGMDL00021306.
  79
     Rite_Aid_OMDL_0044327; Rite_Aid_OMDL_0058008; Rite_Aid_OMDL_0060444.
  80
      Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and Dispensing Controlled
  Substances, WAGMDL00502238.
  81
     CVS-MDLT3-00008617;
                                                    31




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  Combining drugs to achieve a desired clinical outcome, a cocktail, is an accepted means of therapy
  employed to treat patients diagnosed with complex conditions such as cancer or infection with the
  HIV virus. In these examples, the medical literature documents the effectiveness of the
  combinations and rationale for their use. Cocktails composed of drugs of abuse, such as opioids,
  lack any documented medical efficacy and, conversely, are well-documented in the literature
  because of the dangers posed to patients, propensity for addiction, the diversion of such drugs often
  because of the mimicking effects of illegal drugs such as heroin.

  Combinations of certain drugs are called “Trinities.” A Trinity is a broad term and can include
  different combinations of opioid/non-opioid prescriptions intended for abuse and to create a
  euphoric feeling similar to heroin and other illicit drugs. 82 The classic Trinity or “Holy Trinity”
  consists of an opioid, a benzodiazepine, and a muscle-relaxer such as carisoprodol. 83 These are
  also drugs that are frequently diverted. 84

  When combined, the three drugs produce enhanced euphoric effects beyond the effect of the
  individual drugs. Alarmingly, the combination of opioids and benzodiazepine in this Trinity
  combination also intensifies the risk of overdose and death. There is no legitimate medical purpose
  in prescribing or dispensing these medications together. The Holy Trinity flags are calculated as
  follows:

          5.     Patient was dispensed an opioid, a benzodiazepine, and a muscle relaxer for
          overlapping days of supply.

  These concerns are heightened when the cocktail prescriptions were written by the same prescriber
  and filled by the pharmacy on the same day.

          6.     Patient was dispensed an opioid, a benzodiazepine and a muscle relaxer on the same
          day and all the prescriptions were written by the same prescriber.

       Drug Cocktail (An opioid and benzodiazepine):



  82
      Complaint, U.S. v. Walmart Inc., No. 11:20-cv-01744-CFC, p. 102 (D. Del. Dec. 22, 2020).
  83
      The Holy Trinity drug cocktail has been described in DEA administrative decisions as early as 2008. See Your
  Druggist Pharmacy, 73 Fed. Reg. 75,774, 75,775 n.1 (DEA Dec. 2008) - “[w]hile carisoprodol [was] not controlled
  under Federal law, it is controlled under various state laws and is highly popular with drug abusers, especially when
  taken as part of a drug cocktail that includes an opiate and a benzodiazepine.” In U.S. v. Evans, 892 F.3d 692, 706
  (5th Cir. 2018), which arose out of charges based on conduct occurring between 2010 and 2012, it was noted that the
  combination of opioids, benzodiazepines, and a muscle relaxer such as carisoprodol is “a well-known and highly
  abused drug cocktail.” This finding was also made in other actions including, but not limited to, East Main Street
  Pharmacy - “the combination of a benzodiazepine, a narcotic and carisoprodol is well known in the pharmacy
  profession as being used ‘by patients abusing prescription drugs.”; Holiday CVS, - citing drug cocktails issued by
  physician for oxycodone, benzodiazepines and carisoprodol and their abuse potential.
  84
     Publix Pharmacy Operations Manager for the Atlanta Division (2004-2017), Rodney King testified that the
  Trinity (combination of opioids, benzodiazepines, and a muscle relaxer) would be looked at as “an example of
  suspicious activity". See generally Nov. 30, 2022, Rodney King Deposition (hereafter “King Dep.”), 153:13-155:11.
                                                          32




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  The medical literature has shown increased risk of respiratory depression when taking an opioid
  with a benzodiazepine since at least 2002.85 Medical literature has also detailed that
  “benzodiazepines… are used to enhance the euphoriant effects of opioids (such as to boost
  methadone doses) to alleviate withdrawal or abstinence syndromes…” 86 Pharmacy practice has
  recognized drug combinations which include opioids and benzodiazepines as being generally
  known as being diverted and popular with drug abusers by at least 2005. 87 In 2015, 23 percent of
  people who died of an opioid overdose also tested positive for benzodiazepines. 88 A study of over
  300,000 continuously insured patients receiving opioid prescriptions between 2001 and 2013,
  found that people concurrently using both drugs were at higher risk of visiting the emergency
  department or being admitted to a hospital for a drug-related emergency. More than 30 percent of
  overdoses involving opioids also involve benzodiazepines. 89 Other studies highlighted the
  dangers of co-prescribing opioids and benzodiazepines. A cohort study in North Carolina found
  that the overdose death rate among patients receiving both types of medications was 10 times
  higher than among those only receiving opioids.90


  In the usual and customary practice of pharmacy, the combination of an opioid and
  benzodiazepine, both CNS depressants, is dangerous and contraindicated because of the
  extenuated adverse effects of the drugs particularly sedation and suppression of breathing. 91 The




  85
      John Caplehorn & Olaf Drummer, Fatal methadone toxicity: signs and circumstances, and the role of
  benzodiazepines, Aust N Z Public Health, 2002 Aug: 26(4): 358-362.
  86
     Lance Longo, Addiction: Part I. Benzodiazepines – side effects, abuse risk and alternatives Am Fam Physician,
  2000; 61 (7) 2121-2128.
  87
     East Main Street Pharmacy, 75 FR 66149, 66163 (October 27, 2010) (drug cocktails which include benzodiazepine,
  opioids, and muscle relaxers are widely known in pharmacy practice as being popular with drug abusers).
  88
     Centers for Disease Control and Prevention (CDC, Multiple Cause of Death, 1999-2015, CDC WONDER Online
  (Apr. 4, 2017).
  89
     Eric Sun, Anjali Dixit, Keith Humphreys, Beth Darnall, Laurence Baker & Sean Mackey, Association between
  concurrent use of prescription opioids and benzodiazepines and overdose: retrospective analysis, BMJ 2017;356:
  j760 (Jan. 30, 2017).
  90
     Tae Woo Park, Richard Saitz, Dara Ganoczy, Mark Ilgen & Amy Bohnert, Benzodiazepine prescribing patterns
  and deaths from drug overdose among US veterans receiving opioid analgesics: case-cohort study, BMJ.
  2015;350:h2698 (Apr. 15, 2015).
  91
      John Caplehorn & Olaf Drummer, Fatal methadone toxicity: signs and circumstances, and the role of
  benzodiazepines, Aust N Z Public Health, 2002 Aug: 26(4): 358-362; Susanne Nielsen, Paul Dietze, Nicole Lee,
  Adrian Dunlop, & David Taylor, Concurrent buprenorphine and benzodiazepines use and self-reported opioids
  toxicity in opioid substitution treatment, Addiction 2007 Apr;102(4):616-22; Jermaine Jones, Shanthi Mogali, Sandra
  Comer, Polydrug abuse: a review of opioid and benzodiazepine combination use, Drug Alcohol Depend. 2012; 125(1-
  2):8-18.
                                                          33




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  suppression of breathing is the primary the cause of overdose fatality. 92,93 The DEA has also
  warned about the dangers of overdose, abuse and diversion. 94

  In a 2018 discussion on opioids, Dr. Patrice Harris, the former President of the American Medical
  Association, made clear that organization’s position on patients who present with a prescription
  for both an opioid and a benzodiazepine stating, “that is a deadly, potentially, deadly combination.”
  She went on to state that, at least in Georgia, “a lot of our overdose deaths were due to that
  combination.”95 The opioid and benzodiazepine flags are calculated as follows:

           7.     An opioid and a benzodiazepine were dispensed to a patient within 30 days of one
           another. These dangers and risks are highlighted when the opioid and benzo were
           dispensing together.

           8.      Patient was dispensed an opioid and a benzodiazepine on the same day and all the
           prescriptions were written by the same prescriber.

           Drug Cocktail (Two short-acting opioids):

  Immediate-release opioids (in contrast to extended-release or long-acting opioids) release the
  drugs more quickly into the bloodstream and generally have a shorter analgesic effect than
  extended-release drugs. Studies in the clinical literature report that immediate-release or short
  acting opioids are more likely to lead to more abuse and aberrant behavior then long-acting opioids
  because of the pharmacokinetic and pharmacodynamic features of the immediate release
  products.96 Pharmacists would recognize an obvious red flag when multiple prescriptions for
  immediate release opioids were presented at the same time or sufficiently close in time that the
  drugs would have overlapped.




  92
     Debra Dowell, Tamara Haegerich, Roger Chou, CDC Guideline for Prescribing Opioids for Chronic Pain — United
  States, 2016, Morbidity and Mortality Weekly Reports (Mar. 18, 2016).
  93
      Food and Drug Administration, Safety Announcement, “FDA Warns about Serious Risks and Death When
  Combining Opioid Pain or Cough Medicines with Benzodiazepines; Requires Its Strongest Warning” (August 31,
  2016).
  94
     In Pharmacy Doctors Enterprises d/b/a Zion Clinic Pharmacy, the show cause order issued on February 23, 2015
  listed red flags of diversion that Zion Clinic allegedly did not resolve prior to filling prescriptions. One of the red
  flags noted was the dispensing of an “opiate (hydromorphone) and benzodiazepine (alprazolam, clonazepam,
  diazepam, or lorazepam).” 83 Fed. Reg. 10,876 at 10,877. The decision noted further that this drug cocktail was
  popular with drug abusers. Id. Similarly, in Jones Total Health Care Pharmacy, LLC v. DEA, 881 F.3d 823 (11th Cir.
  2018), red flags were defined and included drug cocktails “known for their abuse potential, such as oxycodone and a
  benzodiazepine.” Accordingly, comparable determinations were made in Holiday CVS - the combination of an opioid
  and benzodiazepine like alprazolam “are commonly diverted to nonmedical use”; East Main Street Pharmacy.
  95
        The Augusta Chronicle, “Dr. Patrice Harris Talks About Opioids,” Aug. 12, 2018
  https://www.youtube.com/watch?v=kbToYDmh16M.
  96
     Laxmaiah Manchikanti, Rajeev Manchukonda, Vidyasagar Pampati, & Kim S Damron, Evaluation of abuse of
  prescription and illicit drugs in chronic pain patients receiving short-acting (hydrocodone) or long-acting
  (methadone) opioids, Pain Physician 2005;8(3):257-261.
                                                           34




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  There has been some debate among professionals concerning whether methadone should be treated
  as a short acting or long acting opioid. Methadone is inherently dangerous given the length of
  time the substance remains in the human body. As a result, methadone—while a short acting
  opioid—also has propensity to act similar to a long acting opioid. For this reason I have, to be
  conservative, left it out of the analysis of two short acting opioids. The two short opioid flag is
  calculated as follows:

          9.      Patient was dispensed two short acting opioid drugs on the same day.

  Chain Pharmacies’ policies, the Stakeholders report, and NACDS recognize dangerous drug
  combinations as red flags:

          Kroger: “The prescriber writes prescriptions for antagonistic drugs, such as depressants
          and stimulants, at the same time. Drug abusers often request prescriptions for “uppers and
          downers” at the same time.”97 Kroger identified the “Trinity cocktail: opioid, carisoprodol,
          benzo” as a red flag.98

          Publix: A 2021 policy required that patients are offered Narcan when dispensing a
          prescription for “opioids AND benzodiazepine[s] (regardless of MME)).” 99

          Walmart: POM 1311 (2015): “Prescriptions presented represent a ‘cocktail’ of commonly
          abused drugs or are presented in a combination that can cause medical complications.”100
          Walmart only specified in 2017 that “cocktail” included “an opioid, a benzodiazepine, and
          a muscle relaxant . . . often referred to as the ‘Trinity’ or ‘holy Trinity’” and added
          “[p]rescriptions for drugs with opposite effects (e.g., stimulants and depressants)” and
          “prescription for drugs with similar effects (e.g., multiple long acting or multiple short
          acting opioids)” as additional red flags.

          CVS: “Prescribes combinations the DEA has identified as having a high potential for abuse
          (e.g., oxycodone, alprazolam and carisoprodol).” 101

          Walgreens: “Prescriptions presented represent a cocktail of commonly abused drugs.” 102
          In addition, on June 7, 2012, Walgreen’s “Controlled Substance Action Plan” created an
          “Enhanced Drug Utilization Review” which provides:

          “A DUR enhancement has been made to alert pharmacists to review a patient’s profile and
          utilize Good Faith Dispensing procedures when dispensing select controlled substances.



  97
     KrogerSmithNMAG000348.
  98
     KrogerMDL00002122 at 00002146.
  99
     PUBLIX-MDLT8-00149649 at 00149653(P-PUB-0728) (Leonard Ex. 10).
  100
      WMT_MDL_000042957.
  101
      ROPP 047561 – Federal Guidelines for Controlled Substances, CVS-DR22-000001011.
  102
      April 2013 training guide WAGMDL00054501.
                                                     35




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                 -   A Major DUR will flag when a patient has been prescribed medications, that in
                     combination, have a high potential for abuse.”
                 -   The following message will appear to the pharmacist: “A strong association appears
                     to exist between illicit use of Carisoprodol in combination with narcotic analgesics
                     such as oxycodone and benzodiazepines such as alprazolam. . ..” 103

             Rite Aid: Rite Aid did not list dangerous drug combinations—including the “Trinity”—as
             a red flag at all. These combinations were simply one type of “high alert controlled
             substance medications” that were then subject to the procedures for validation and
             dispensing of high alert controlled substances (the same as a prescription for oxycodone
             alone).104 The only red flags which specifically mention dangerous drug combinations are
             (1) where “the prescriber routinely prescribes the same ‘cocktail’ or combination of drugs
             for pain treatment to most or all of his/her patients, particularly where DEA and other
             authorities have identified the combination as potentially abused (e.g. oxycodone,
             alprazolam and carisoprodol or any combination of drugs from these three drug classes”
             and (2) review of patient’s profiles shows “only prescriptions for controlled substances in
             profile, or only fills for a combination of products commonly known as the ’Trinity’
             (oxycodone, alprazolam and carisoprodol or any combination of drugs from these three
             drug classes).”105 Only in June 2017 did Rite Aid instruct pharmacists “when performing
             the NexGen red flag process for High-Risk Medications, be vigilant for prescriptions for
             ‘The Trinity.’”106

             NABP Stakeholders Document: (1) “therapeutic duplication of two or more long-acting
             and/or two or more short-acting opiates (cocktails); and (2) patient presents prescriptions
             for highly abused “cocktails” (combination of opiate, benzodiazepine, and muscle relaxant)
             of controlled substance medications (cocktails).107

             NACDS: includes “prescribing questionable ‘cocktails’ of commonly diverted drugs” and
             “prescribing combinations of drugs that can cause medical complications” as red flags. 108

             Excessive Dispensing

  Pharmacies and pharmacists engaged in the usual and customary practice of pharmacy, at the time
  in question, were aware of, or should have known, that opioids prescribed at any dosage presented
  a risk to the patient. The risk to the patient should be evaluated in order to consider the individual
  patient benefits and risks. A retroactive 2017 study by the Centers for Disease Control (CDC



  103
        June 7, 2012 “Controlled Substance Action Plan”, WAGMDL00742642.
  104
        Rite_Aid_OMDL_0059009.
  105 Id.
  106
      Rite_Aid_OMDL_0044309.
  107
      Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and Dispensing Controlled
  Substances, NABP_00022121.
  108
      NABP_00019878.
                                                       36




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  analyzed opioid prescribing at the national level from 2006-2015 and defined high dose prescribing
  rates to include prescriptions with daily dosage equal to or greater than 90 MME. Other studies
  examining the use of opioids and associated patient risks published in 2010 and 2011 demonstrated
  that the risk of overdose progressively increased at prescribed opioid dosages exceeding 20, 50,
  and 100 MME per day109,110,111 and detected causal associations of prescribed opioids with
  overdose deaths.112,113

  Additionally, a manuscript published in the Journal of the American Medical Association (JAMA)
  in 2016 discussing the CDC Guideline for Prescribing Opioids for Chronic Pain—United States,
  reported that “opioid-related overdose risk was dose-dependent, with higher opioid dosages
  associated with increased overdose risk. Compared with dosages of 1 to less than 20 MME per
  day, dosages of 50 to less than 100 MME per day were found to increase risks for opioid overdose
  by factors of 1.9 to 4.6, with absolute risk difference approximation of 0.15% for fatal overdose
  and 1.40% for any overdose.114 Dosages of 100 MME or more per day were found to increase
  risks for opioid overdose by factors of 2.0 to 8.9 relative to dosages of 1 to less than 20 MME per
  day, with absolute risk difference approximation 0.25% for fatal overdose and 4.04% for any
  overdose. Veteran Administration’s patients with chronic pain who died of overdoses related to
  opioids were found to have been prescribed higher mean opioid dosages (98 MME/d) than controls
  (48 MME/d) and that above 200 MME per day, there was a continued increase in mortality
  rates.”115

  The presentation of a prescription for an excessive quantity of an opioid, or multiple opioids on
  the same day or within a period of time to cause overlap, was known or should have been known
  as a red flag requiring investigation by the pharmacist before dispensing the drug. That
  investigation would need to determine whether a legitimate patient-prescriber relationship existed
  validating the issuance of the prescription, the safety of the prescribed drug(s) and dose(s) for the
  patient (particularly any dose exceeding recommended and safe dosages and MME values of
  greater than 90MME per day), and the possible existence of fraud or diversion.

  The excessive dispensing flag is calculated as follows:




  109
      Kim Dunn, Kathleen Saunders, Carolyn Rutter, et al., Opioid prescriptions for chronic pain and overdose: a cohort
  study, Ann Intern Med 2010; 152:85–92.
  110
      Amy Bohnert, Marcia Valenstein, Matthew Bair, et al., Association between opioid prescribing patterns and opioid
  overdose-related deaths, JAMA 2011;305:1315–21.
  111
      Tara Gomes; Muhammad M. Mamdani; Irfan A. Dhalla; et al., Opioid dose and drug-related mortality in patients
  with nonmalignant pain, Arch Intern Med 2011; 171:686–91.
  112
      Leonard J. Paulozzi, Christopher M. Jones, Karin A. Mack, Rose A. Rudd, Vital signs: overdoses of prescription
  opioid pain relievers—United States, 1999–2008, MMWR Morb Mortal Wkly Rep 2011; 60:1487–92.
  113
      Susan Okie, A flood of opioids, a rising tide of deaths, N Engl J Med 2010; 363:1981–5.
  114
      PUBLIX-MDLT8-00149649 at 00149655 (P-PUB-0728) (Leonard Ex. 10) (Publix recognized the increased risk
  of overdose in patients taking over 50 MME per day).
  115
      Deborah Dowell, Tamara M. Haegerich, & Roger Chou, CDC Guideline for Prescribing Opioids for Chronic
  Pain—United States, 2016JAMA. 2016 April 19; 315(15): 1624–1645. doi:10.1001/jama.2016.1464.
                                                           37




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  10.     Patient was dispensed an opioid prescription of over 200 MME per day before December
          31, 2018 or over 90 MME per day after January 1, 2018.

  Chain Pharmacies’ policies and the NABP Stakeholders report recognize excessive dispensing as
  a red flag:
          Kroger: “The patient presents w/ a higher than usual quantity” 116 and/or “The prescriber
          writes significantly more prescriptions (or in larger quantities) compared to other
          practitioners in your area.”117 “Certain dosing of opioids should raise certain red flags to
          the dispensing pharmacist -Doses: Morphine Equivalent Dose >200 mg/day, oxycodone
          >80 mg/day; methadone >40 mg/day, hydromorphone >30 mg/day.” 118
          Publix: “The prescriber writes significantly more prescriptions (or in larger quantities)
          compared to other practitioners in your area” or “a new patient presents a prescription for
          a large quantity of a controlled substance.” 119
          Walmart: “prescription is for a large quantity (especially controlled substances)”/
          “prescription is for a large number of a particular strength” (POM 1311 2009) 120,
          “prescription presented is for an unusually large quantity or high starting dose” (POM 1311
          2015).121
          CVS: “Appropriateness of Therapy: Overprescribing large doses of controlled substances
          to patients.” (Note in 2012 they told pharmacists to contact prescriber if “concerns” about
          type and quantity “e.g., oxycodone 30 mg prescriptions for more than 180 dosage unit”). 122
          Walgreens: “Prescriptions presented is for an unusually large quantity or high starting
          dose.”123 The Good Faith Dispensing program notes: “Increased frequency of prescriptions
          for same controlled drug: for quantities beyond those normally prescribed.” 124 It also asks
          whether there is a trend, “unusual dosages, directions, or quantities beyond those normally
          prescribed.”125
          Rite Aid: “Prescription is for an excessive quantity” and “Question high doses of controlled
          substances with excessive quantities for patients new to Rite Aid.” 126



  116
      Kroger-MDL00009357, at 9383.
  117
      Id. at 9378.
  118
      Kroger-MDL000018716, at 18727.
  119
      PUBLIX-MDLT8-00002439 at 00002475.
  120
      WMT_MDL_000069077.
  121
      WMT_MDL_000042957.
  122
      2012, ROPP-0061 – Protocol for Dispensing Narcotic Drugs for Pain Treatment, CVS-MDLT1-000081566.
  123
      WAGMDL00054510 (Note this is not in GFD, this is in training “Pharmacist GFD Review”).
  124
      WAGMDL00008106.
  125
      Id.
  126
      Rite_Aid_OMDL_0044309.
                                                     38




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  Interestingly, when applying Kroger’s own excessive dispensing criteria (Morphine Equivalent
  Dose >200 mg/day, oxycodone >80 mg/day; methadone >40 mg/day, hydromorphone >30
  mg/day127), there is an increase in the number of prescriptions that would have flagged for
  excessive dispensing compared to those flagged by Red Flag 10.
           Pattern Prescribing

  Pattern prescribing presents as a red flag when prescriptions are presented by multiple patients for
  the same medications, same strengths, approximately same quantities, and directions for use. 128
  Prescribing the same medications to multiple patients erroneously supposes that the patients
  suffered from the same disease, exhibited the same symptoms, possessed identical patient factors
  (height, weight, metabolism rate, and allergies for example), took other medications that were
  identical, and suffered from the same adverse effects or contraindications. Clinically and in the
  usual and customary practice of pharmacy, this is not the case and would have served as a red flag
  regarding the prescribing of the practitioner and validity of the prescriptions. Pattern prescribing
  flag is as follows:

           11.     An opioid was dispensed to at least 4 different patients on the same day and the
           opioid prescriptions were for the same base drug, strength and dosage form and were
           written by the same prescriber.

  Chain Pharmacies’ policies recognize pattern prescribing as a red flag:
           Kroger: “A number of people appear simultaneously, or within a short time, all bearing
           similar prescriptions (same drug, strength, quantity) from the same prescriber.” 129 ”Does
           this prescriber consistently order the same drugs, strengths, quantity or directions?” And
           “[a]re prescriptions very similar to others from this prescriber?” 130
           Publix: “A number of patients appear simultaneously, or within a short time, all bearing
           similar prescriptions from the same physician.” 131




  127
      Kroger-MDL0001871
  128
      Pharmacy Doctors Enterprises, Inc., 789 Fed. Appx. at 730 (“prescriptions written by the same doctor on the same
  day for the same strength of the same drug” is a red flag); East Main Street Pharmacy, supra, at 66157 (“[a]dditional
  red flags include ‘[m]aximum doses being seen for every single patient, lack of individuation of therapy, certain
  patterns from physicians of potential abuse of seeing the same types of controlled substances over, and over, and over,
  again.’”); Holiday CVS, supra, at 62318 (“prescriptions for the same drugs, the same quantities from the same doctor
  without any kind of variability or change considering the different patients that come into the pharmacy” is a red flag);
  Id. at 62333 (identifying “pattern prescribing” by a physician as an “unresolvable” red flag).
  129
      Kroger-MDL00009357 at 00009378.
  130
      Kroger-MDL00018716 at 00018729.
  131
      PUBLIX-MDLT8-00002439 at 00002475.
                                                            39




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          Walmart POM 1311 (2015): “Prescriber prescribes the same medication, with the same
          directions, for the same quantity for a large number of individuals.” 132
          CVS: Prescribe the same medication in the same dosage amount to most or all of their
          patients”133 and “Routinely prescribes the same combination of pain drugs for most or all
          of their patients.”134
          Walgreens: “Prescriber prescribes the same medication, with the same directions, for the
          same quantity for a large number of individuals.” 135
          Rite Aid: “The prescriber writes for the same or similar medications in the same dosage
          quantities to most or all of his/her patients” (e.g., oxycodone 30mg, 180 dosage units)” and
          “[t]he prescriber routinely prescribes the same “cocktail” or combination of drugs for pain
          treatment to most or all of his/her patients.” 136


          Early fills/refills:

  As trained pharmacists and licensed pharmacies were aware, when an individual requests that a
  controlled-substance prescription be filled significantly early, it raises a red flag regarding abuse
  or other diversion because it suggests that the individual is either taking a higher quantity than
  prescribed or diverting at least some of the medications to other individuals. The early refill flag
  is calculated as follows:

  12.     An opioid prescription was refilled more than 5 days before the patient’s previous
          prescription should have run out.


  In calculating this flag, I used a strict definition of a refill to mean a prescription was written on
  the same day for the same drug, same dose, day’s supply by the same prescriber. However, any
  prescription for an opioid which is filled five days before a prior prescription for the same drug,
  dose, and day’s supply written by the same doctor poses a risk to the patient and is indicative of
  diversion or abuse.

  Chain Pharmacies’ policies and the Stakeholders report recognize early fills/refills as a red flag:

          Kroger: “Patient is repeatedly requesting early refills of CS or opioids, benzos or
          Carisoprodol”137 The patient appears to be returning too frequently. A prescription which


  132
      WMT_MDL_000042957.
  133
      2012, ROPP-0061 – Protocol for Dispensing Narcotic Drugs for Pain Treatment, CVS-DR22-000001062.
  134
      Id.
  135
      WAGCASF00077753 at 00077760.
  136
      Rite_Aid_OMDL_0044309 at 0044311.
  137
      KrogerMDL00009357 at 9383.
                                                      40




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         should have lasted for a month in legitimate use is being refilled on a biweekly, weekly or
         even a daily basis.”138

         Publix: “The patient requests early refills or states that the previous fill was lost or
         stolen.”139

         Walmart: Walmart had a policy, POM 1318 (2011),140 that directly addressed filling
         controlled substances early. Walmart’s pharmacy management software, Connexus,
         alerted pharmacists when requests were made to fill prescriptions more than 72 hours ahead
         of the next permitted fill date of a controlled-substance prescription. In 2015, Walmart
         added “individual routinely attempts to obtain an early refill on controlled substances.”
         POM 1311 (2015).141 In 2019 Walmart added “An unjustified early refill request” as a red
         flag in POM 1311 (emphasis added).142

         CVS: “Early fill – Customer attempting refill early or consistently showing up at the first
         available moment when refill can be obtained under standard practices.” (2014). 143

         Walgreens: “Consistent requests for early refills” or “Individual routinely attempts to
         obtain an early refill on controlled substances” 144 (As of 2013, used 8 days early for a 30-
         day supply, 90-days supply should be X days/percent (WAGMDL00437788)).

         Rite Aid: “Early refills on controlled substances, where they paid cash stating lost
         prescription, going away on vacation, etc.” 145 Rite Aid explains that “[e]arly refills for
         controlled substances should not occur more than 48 hours in advance (if allowed by State
         law) of the scheduled exhaustion of their current prescription supply based on the directions
         provided by the prescriber.”146

         NABP Stakeholders: “Pattern” of “frequently running out of medication for controlled
         substances early” and “controlled substance refill patterns being inconsistent with regular
         refill patterns for non-controlled chronic prescription medications.” 147

         Opioids Days’ Supply:




  138
      KrogerMDL00009357 at 9377.
  139
      PUBLIX-MDLT8-00002439 at 00002475.
  140
      WMT_IN_AG_00000153.
  141
      WMT_MDL_000042957.
  142
      WMT_MDL_000067636.
  143
      See March 2011, Course #800131, Biannual Compliance Training, CVS-NYAG-000030693.
  144
      6/2011 Controlled Substance Prescriptions and GFD, WAGMDL00054509.
  145
      Rite_Aid_OMDL_0044309 at 0044312.
  146
      Id.
  147
      NABP_00022121 at 00022136.
                                                    41




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  Opioids are inherently dangerous drugs that require strict adherence to the recommended doses
  and duration in order to avoid patient harm and reduce the risk of addiction, abuse, and diversion.
  Prescription opioids and heroin are chemically similar and can produce a similar euphoric feeling
  or high. As a result, opioids present a great risk of diversion. Prescription opioids used for pain
  relief should be prescribed and taken for a short time given their addictive properties and binding
  to and activation of opioid receptors on cells located in many areas of the brain, spinal cord, and
  other organs in the body, especially those involved in feelings of pain and pleasure. 148 When
  opioids attach to these receptors, they block pain signals sent from the brain to the body and release
  large amounts of dopamine throughout the body. This release can strongly reinforce the act of
  taking the drug, making the user want to repeat the experience. A patient prescribed opioids for
  longer than six months increases the risk of abuse, addiction, and diversion and is a red flag. A
  pharmacist before dispensing the medication would need to determine whether a legitimate
  patient-prescriber relationship existed validating the issuance of the prescription, the safety of the
  prescribed drug and dose(s) for the patient given the length of treatment, and overlapping supply
  of medications and potential fraud and diversion. The opioid day’s supply flag is:

  13.      A patient was dispensed more than 210 “days of supply” of all opioids combined in a 6-
           month period:

           Payment for an opioid by cash:149,150,151

  Paying cash for a prescription is a red flag of diversion. Oftentimes people who are paying cash
  for opioids are engaged in diversion and seek to obfuscate the purchase of controlled substances
  from review by payors and insurance companies. The likelihood of diversion increases in
  circumstances in which the patient pays for an opioid prescription with cash when they otherwise
  have insurance. The various programs that cover the cost of prescription medications afford little
  need to pay cash for prescriptions that would likely be covered by insurance thus avoiding out-of-
  pocket expenses for the individual.152, 153 The paid in cash flag is simply:




  148
      National Institute of Drug Abuse. Prescription Opioid Drug Facts, May 2020.
  149
      Federal Register / Vol. 83, No. 49 / Tuesday, March 13, 2018 / Notices.
  150
      Federal Register / Vol. 81, No. 218 / Thursday, November 10, 2016 / Notices.
  151
      Federal Register / Vol. 75, No. 207 / Wednesday, October 27, 2010 / Notices.
  152
      Federal Register / Vol. 81, No. 218 / Thursday, November 10, 2016 / Notices.
  153
      Jones Total Health Care Pharmacy, LLC, 881 F.3d at 828 (“cash purchases” of prescriptions is a red flag);
  Pharmacy Doctors Enterprises, Inc., 789 Fed. Appx. at 730 (cash payments for prescriptions is a red flag); Holiday
  CVS, supra, at 62318, fn. 9 (cash payments for prescriptions is a red flag); 62326 (“large quantities of people paying
  cash” is a red flag), 62331 (“patients between the ages of 25 and 40 with cash” is a red flag), 62332 (“According to
  [Dr.] Doering [DEA expert], ‘typically, people who may be diverting or otherwise misusing their drugs will pay
  cash.’”); East Main Street Pharmacy, supra, at 66150 (high percentage of cash payments compared to national average
  is a red flag); id. at 66158 (according to Dr. Sullivan, the DEA’s testifying expert, this “is an obvious example of a
  pharmacy profiting from drugs that are most likely being abused or diverted for sale on the street’ and that ‘[a]ny
  reasonable pharmacist knows that a patient that wants to pay cash for a large quantity of controlled substances is
  immediately suspect’”).
                                                           42




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  14.      A patient was dispensed an opioid and paid cash:

  Chain Pharmacies’ policies and the Stakeholders report recognizes cash payments as a red flag:

           Kroger: “Patient pays cash for prescriptions.” 154

           Publix: “The patient only pays cash for controlled substance prescriptions.” 155

           Walmart POM 1311 (2015): “Individual insists on paying cash or insists on paying cash
           for controlled substances even though insurance is on file.” 156

           CVS: “Cash – Cash payment for prescriptions, particularly if RxConnect indicates the
           patient has insurance.” In 2011, 6.2.11 Identifying Forged or Altered Prescriptions.
           “Patient asks to pay cash for prescription.” 157

           Walgreens: “Individual pays cash, or insists paying cash for controlled substances even
           though insurance is on file.” “Does the patient request to pay by cash or by using a cash
           discount card (in a possible attempt to circumvent third party billing restrictions)” 158

           Rite Aid: “Payment trends (e.g., always pays cash for controlled substances, but has
           insurance).” Later, Rite Aid added flags for prescriptions “paid for by Cash and/or
           Discount Cards.159

           NABP Stakeholders Document: “Requesting to pay cash for a controlled substance
           prescription, when it has been documented that he/she has insurance that would normally
           cover the prescription (cash).”

           NACDS: “Patient pays with cash,” citing Holiday and East Main, in which nearly 87% of
           a physician’s patients “paid case for their prescriptions,” a “red flag as ‘[a]ny reasonable
           pharmacist knows that a patient that wants to pay cash for a large quantity of controlled
           substances is immediately suspect.’ East Main, 75 FR at 66164.”160

        1. Summary of Red Flags

  The number of red flags identified in Defendant’s dispensing data is indicative of a pattern of
  diversion in Georgia. Roughly 194,566, or 46.9%, of all opioid prescriptions dispensed by Kroger



  154
      KrogerSmithNMAG000348.
  155
      PUBLIX-MDLT8-00002439 at 00002475.
  156
      WMT_MDL_000042957.
  157
      ROPP-00059, CVS-MDLT1-000081559.
  158
      GFD, WAGMDL00742666 at 742668.
  159
      Rite_Aid_OMDL_0044327.
  160
      WMT_MDL_000891159.
                                                    43




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  pharmacies in Cobb County contained red flags.161 Approximately 305,069, or 45.5%, of all opioid
  prescriptions dispensed by Publix pharmacies in Cobb County contained red flags. 162 Every red
  flag must be resolved before each prescription for a controlled substance is dispensed. Opioids are
  extremely addictive and highly subject to abuse as a result, all red flags are concerning. One would
  expect given the dangerous nature of these drugs and the presentation of well-known red flags that
  only a small percentage of prescriptions would be dispensed with unresolved or unresolvable red
  flags.

  Red flags need not always be specific to the prescription being presented. A pharmacy should also
  be reviewing its dispensing data to take into consideration the totality of the circumstances,
  including the practitioner’s prescribing patterns across different patients, e.g., large quantities,
  high-risk combinations, and similar diagnosis codes. That “totality of responsibility” requires the
  pharmacy or DEA registrant corporation to monitor the overall controlled substance volume and
  pertinent dispensing data. See e.g., U.S. v. Lawson, 682 F.2d at 483 (“Lawson willingly ignored
  every signal that he should question the volume of controlled drugs being dispensed from his
  pharmacies.”). When a prescription for a controlled substance contains a red flag that is not
  resolved, each subsequent controlled substance prescription for that patient or prescriber is subject
  to flagging until all prior flags have been investigated and resolved.

  In situations where diversion is suspected, the pharmacist and the pharmacy have a responsibility
  to report this suspicion to the appropriate regulatory and law enforcement authorities and document
  the facts of the situation and actions taken and refuse to fill the prescription.

  Chain Pharmacies have also identified and memorialized the following additional red flags of
  diversion:

                     Physician writes large number or percentage of prescriptions for controlled
                      substances.
                     Physician prescribes controlled substances outside of his ordinary practice.
                     Recurring pattern of prescribing the same controlled substances to multiple patients
                      which suggests the physician is operating a pill mill.
                     Physician engages in the unauthorized practice of medicine.
                     Physician no longer holds a DEA license.
                     Pharmacy and/or pharmacist has excessive volume and rate of growth of dispensing
                      controlled substances.
                     Pharmacy and/or pharmacist dispensing data shows early fills “weeks early” on
                      several occasions.

         2. Additional Red Flags of Diversion




  161
        Expert Report of Craig McCann, January 24, 2024, page 110.
  162
        Expert Report of Craig McCann, January 24, 2024, page 111.
                                                          44




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  There are red flags of diversion that a dispensing operating system could not detect. Thus, it is
  critical that all pharmacy personnel be trained to identify and address these indicators of potential
  diversion. One category of these flags is suspicious behavior of the patient. Pharmacies should
  have appropriate training materials and controls to assist pharmacists and technicians in the
  identification of such behaviors. When the customer drops off a prescription at the pharmacy,
  observations of the patients’ behavior should be made as part of the required validation of the
  prescription. Indicators of possible signs of diversion, or suspicious behavior include stumbling
  while walking, slurred speech, appearance of intoxication, or customers “appearing like they may
  not need the medication” or “appearing like they may be high.” Holiday CVS, L.L.C., d/b/a CVS/
  Pharmacy Nos. 219 and 5195; Decision and Order, 77 Fed. Reg., No. 198 (2012), at
  62326. Suspicious behavior that may indicate signs of diversion also include customers arriving
  in groups to get narcotic prescriptions filled. Multiple out-of-area patients from the same town or
  area is also a sign of diversion. Id. at 62319, 62331. Customers requesting their prescriptions by
  the brand name, by descriptions, or by street slang can also be a sign of diversion. For example,
  the terms “the M’s”, “the Blues,” or “Mallinckrodt Blues” are common terms which are red flags
  and may be a sign of diversion. Id. at 62321, 62344. When such behavior is observed it must be
  documented in the patient profile.

  In addition to the foregoing red flags, Defendants have also identified and memorialized the
  following in its policies:

                   Pharmacists have a corresponding responsibility to dispense legitimate controlled
                    substance prescriptions.163
                   Pharmacists must use of state PDMP.164
                   Pharmacists must follow documentation requirements. 165
                   Pharmacists must follow DEA guidance.166

        3. Multiple Red Flags

  As each red flag is a potential indication of diversion, it is axiomatic that when a prescription is
  presented with multiple red flags the likelihood of diversion increases greatly. There are countless
  combinations of red flags that could exist with a single prescription. In each instance, every red
  flag must be resolved before the prescription is filled. Many DEA cases describe various



  163
      KrogerSmithNMAG000348; PUBLIX-MDLT8-00149649 at 00149651.
  164
      KrogerSmithNMAG000348. Despite acknowledging the importance of PDMP usage as a means to prevent the
  diversion of controlled substances, Publix does not require its pharmacies to check the state PDMP prior to
  dispensing opioids unless the state where they practice mandates it. Nov. 15, 2022, Jillanne Smith Deposition
  (hereafter “Smith Dep.”), 369. In fact, Publix was and is aware that it is “not the norm” for its Georgia pharmacists
  to check the GA PDMP when filling a controlled substance prescription. PUBLIX-MDLT8-00074321
  165
      KrogerMDL00002122 at 00002150; KrogerMDL00009357 at 00009385; PUBLIX-MDLT8-00149649 at
  00149658.
  166
      KrogerMDL00009357 at 00009385. (Kroger providing current trends and reminders); PUBLIX-MDLT8-
  00058608 at 00058609.
                                                            45




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  combinations of red flags. For example, the confluence of out of state patients on a single day
  receiving the same medications, in the same quantities, from the same prescriber, would be
  considered a combination of red flags that would each need to be resolved before filling a
  prescription. Holiday CVS, L.L.C., d/b/a CVS/ Pharmacy Nos. 219 and 5195; Decision and Order,
  77 Fed. Reg., No. 198 (2012), at 62333. Similarly, the combination of flags of cash‐discount
  method of payments, out of state or out of area patients, and the distance between the patients’
  home addresses and the prescriber would also demonstrate a combination of red flags that must all
  be resolved. Id. at 92333.

  Chain Pharmacies should have had systems and programs in place to detect, report and store red
  flag information in a format that could be easily retrieved and reviewed by corporate headquarters,
  its pharmacists, and regulators. If the information were stored in this format, it could have been
  used to identify patients and potentially their prescribers engaged in diversion.

  Kroger’s dispensing data revealed multiple red flags. There were 194,566 opioid prescriptions
  dispensed in Cobb County which triggered at least one red flag. From that number of red flagged
  prescriptions, 101,558 opioid prescriptions triggered two or more red flags and 43,655 of the
  opioid prescriptions triggered 3 or more flags. 167
                                       Summary of Opioid Prescriptions - Flagged Multiple Times
                                                         Cobb County, GA
                                                           Nonrecurrent



                                 Defendant                                                Kroger
                                 T otal# of Opioid Prescrip tions                         414,636

                                 Opioid Prescriptions Flagged - 2+ Methods              101,558      24.49%
                                 Opioid Prescriptions Flagged - 3+ l\forhods             43,655      10.53%
                                 Opioid Prescriptions Flagged - 4+ Methods               18,816       4.54%
                                 Opioid Prescriptions Flagged - 5+ J'Vlethods             6,7 18      1.62%
                                 Opioid Prescriptions Flagged - 6+ Methods                2,414       0.58%
                                 Opioid Prescriptions Flagged - 7+ Methods                  678       0.16%
                                 Opioid Prescriptions Flagged - 8+ Methods                  142       0.03%
                                 Opioid Prescriptions Flagged - 9+ Methods                   25       0.01 %
                                 Opioid Prescriptions Flagged - 10+ Methods                    2      0.00%
                                 Opioid Prescriptions Flagged - 11 + M.ethods                  0      0.()()%




                                 Notes
                                1 Defendant                                     Dare Range
                                 Kroger                                         12/ 2008 - 6/ 2018




  Publix’s dispensing data also revealed multiple red flags. There were 305,069 opioid prescriptions
  dispensed in Cobb County which triggered at least one red flag. From that number of red flagged



  167
        Expert Report of Craig McCann, January 24, 2024, page 110 and Appendix 7 at page 1611.
                                                                          46




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  prescriptions, 131,055 opioid prescriptions triggered 2 or more red flags and 53,306 of the opioid
  prescriptions triggered 3 or more flags. 168

                                   Summary of Opioid Prescriptions - Flagged Multiple Times
                                                         Cobb County, GA
                                                           Nonrecurrent



                          Defendant                                                  Publix
                          Total# of Opioid Prescriptions                             669,828

                          Opi<>id Prescriptions Flagged - 2+ Methods               13 1,055    19.57%
                          Opioid Prescriptions Flagged - 3+ Methods                 53,306      7.96%
                          Opioid Prescriptions Flagged - 4+ ]Methods                21,255      3. 17%
                          Opioid Prescriptions Flagged - 5+ Methods                  7,936      1.18%
                          Opioid Prescriptions Flagged - 6+ Methods                  2,802      0.42%
                          O pioid Prescriptions Flagged - 7+ Methods                    76 1    0.11 %
                          Opioid Prescriptions Flagged - 8+ Methods                     166     0.02%
                          Opioid Prescriptions Fla~,ed - 9+ Methods                      41     0.01 %
                          Opioid Prescriptions Flagged - 10+ Methods                     10     0.00%
                          Opioid Prescriptions Flagged - 11+ Methods                      0     0.00%




                          N otes
                         1 D efendant                                      Date Range
                          Publix                                           5/ 2006 - 5/ 2019




        F. Notice to Chain Pharmacy Defendants from DEA Investigations and Suspensions

  From their own past experience, and publicity surrounding other enforcement actions, the large
  chain pharmacy companies knew that if they, and their pharmacists, failed to comply with their
  legal obligations when dispensing controlled substances, they could face an enforcement action.
  Through these actions, Defendants were given specific and detailed warnings from the DEA of the
  red flags and risks of diversion.169

  In 2005, the DEA investigated Kroger’s pharmacies for systemic violations of the Controlled
  Substances Act by the company’s pharmacies in the Denver area. Kroger entered a settlement




  168
      Expert Report of Craig McCann, January 24, 2024, page 111 and Appendix 8 at page 2051.
  169
      See e.g., KrogerMDL00009357, at 9364 (Kroger’s training materials on DEA Trends reference DEA
  investigations and enforcement actions against CVS and Walgreens); Kroger MDL00002421 at 00002423 (listing
  recent fines and actions against CVS and Walgreens); PUBLIX-MDLT8-00119094 at 95 (P-PUB-0309-A) (Publix
  listing DEA settlements in compliance update); PUBLIX-MDLT8-00066086 at 00066087 (Publix highlighting CVS
  action and additional red flag signs of diversion); WMT_MDL_00675777;
                                                                  47




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  agreement with the DEA pursuant to which it agreed to pay $7,000,000 170 and to “implement a
  Comprehensive Regulatory Compliance Program,”171 and to train all of its employees pursuant to
  the Compliance Program in all of its 1,900 pharmacies nationwide. 172

  The DEA issued Orders to Show Cause against both Walgreens and Walmart in 2009. Both were
  initiated in relation to specific stores but resulted in Walgreens and Walmart each entering into
  separate Memoranda of Agreement (“MOAs”) in 2011 that required nationwide reforms to their
  pharmacy policies, procedures, and programs.173 Walgreens agreed in its April 2011 MOA to
  “maintain[ing] a compliance program to detect and prevent diversion of controlled substances” as
  required under federal law.” In that MOA, Walgreens expressly agreed that the program would
  include training and “procedures to identify the common signs associated with the diversion of
  controlled substances.”

  Walmart similarly agreed in 2011 to adopt a national compliance program intended to ensure that
  it fulfilled its legal obligations when filling controlled-substance prescriptions. In the MOA,
  Walmart committed to, among other things, “maintain a compliance program, updated as
  necessary, designed to detect and prevent diversion of controlled substances as required by the
  Controlled Substances Act”; create a process that would ensure that its pharmacists were
  identifying common signs of diversion. Specifically, the MOA required that Walmart’s
  compliance program would include procedures to ensure that pharmacists identified red flags to
  include procedures to identify the common signs associated with the diversion of controlled
  substances, including but not limited to, doctor-shopping, requests for early refills, altered or
  forged prescriptions, prescriptions written by doctors not licensed to practice medicine in the
  jurisdiction where the patient is located, and prescriptions written for other than a legitimate
  medical purpose by an individual acting outside the usual course of his professional practice. It
  also agreed that if one of its pharmacists did conclude that a prescription was not issued for a
  legitimate medical purpose by a practitioner acting in the usual course of professional practice,
  was forged, or had been altered, and refused to fill that prescription, Walmart would notify the
  local DEA field office within seven business days of the refusal to fill. Walmart also specifically
  agreed to collect reports from its pharmacists when those pharmacists determined that controlled
  substance prescriptions were invalid and refused to fill them. The MOA was in effect from March
  2011 through March 2015.

  Both Walmart and Walgreens would face further enforcement action. This included a 2012 Order
  to Show Cause against Walgreens involving its Florida pharmacies, which again uncovered
  conduct implicating more widespread failures at a corporate level, not limited to stores in Florida.



  170
      Kroger-MDL00031079 at ¶ 5.
  171
      Id. at ¶ 7.
  172
      Id. at Exhibit A. See also Press Release, Drug Enforcement Administration, Record 7 Million Dollar Settlement,
  Kroger Corporation establishes corporate wide compliance program (Oct. 24, 2005), https://www.dea.gov/press-
  releases/2005/10/24/record-7-million-dollar-settlement; US-DEA-00012570 at _00017-00021 and Kroger
  PowerPoint Presentation attachment (P-32287).
  173
      WMT_MDL_000043490, WAGMDL00757802
                                                         48




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  The 2012 Show Cause Order specifically addressed the 2-Drug Combination red flag discussed
  above, noting that Walgreens pharmacy filled prescriptions for individuals presenting
  prescriptions for combinations of controlled substances known to be highly abused, such as
  oxycodone and benzodiazepines.174 In 2015, Walmart settled claims that its pharmacists at a store
  in Rhode Island filled obviously forged controlled substance prescriptions. 175 In December of
  2020, the U.S. Department of Justice (“DOJ”) filed a lawsuit against Walmart alleging nationwide
  dispensing failures.

  CVS has faced repeated enforcement actions, ranging from an action concerning conduct dating
  back to 2006 to the present. Before taking action against CVS in 2012, DEA hosted a December
  8, 2010, meeting attended by CVS’ Head of Pharmacy Professional Services, Papatya Tankut and the
  CVS district supervisor.176 At that time, CVS’s counsel acknowledged “that CVS was aware of the
  pill mill and/or pain clinic situation and the diversion of controlled substances, primarily oxycodone,
  in Florida.”177 CVS also acknowledge receipt of an October 2010 plea from a local sheriff “to work
  with law enforcement and closely scrutinize the prescriptions they receive.” 178

  CVS was advised by the DEA:

          that the diversion of oxycodone, primarily originating from purported pain clinics,
          involves fraudulent prescriptions, doctor shoppers, and unethical doctors. CVS was
          further advised of the typical “red flags” associated with the diversion of controlled
          substances that a pharmacy should be familiar with in order to carry out its
          corresponding responsibility to ensure that the controlled substances are dispensed
          for a legitimate medical purpose. Some of the “red flags” discussed included: (a)
          many customers receiving the same combination of prescriptions (i.e., oxycodone
          and alprazolam); (b) many customers receiving the same strength of controlled
          substances (i.e., 30 milligrams of oxycodone with 15 milligrams of oxycodone and
          2 milligrams of alprazolam); (c) many customers paying cash for their
          prescriptions; (d) many customers with the same diagnosis codes written on their
          prescriptions (i.e., back pain, lower lumbar, neck pain, or knee pain); and (e)
          individuals driving long distances to visit physicians and/or to fill prescriptions. 179




  174
      2012 Orders to Show Cause issued to Walgreens (WAGMDL00387708).
  175
      WMT_MDL_000043497.
  176
      Declaration submitted by then Deputy Assistant Administrator for DEA’s Office of Diversion Control Joseph
  Rannazzisi, in Holiday CVS, L.L.C., v. Holder, Civ. No. 1:12-cv-191 (D. D.C Feb. 24, 2012).
  177
      Id. at ¶ 27.
  178
      Id. at ¶ 29.
  179
      Id. at ¶ 28.
                                                       49




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  During the December 2010 meeting, CVS also acknowledged awareness of an increase in
  oxycodone prescriptions at Florida CVS stores. 180 DEA discussed “a summary from DEA’s
  Automation of Reports and Consolidated Orders System (ARCOS) records” showing that the
  increase at one store, which was already ordering “more than four times the amount of oxycodone a
  typical pharmacy orders in one year” in 2006, was “huge,” with a more recent 10-month history
  showing the store ordered “more than thirty times what a typical pharmacy ordered in one year.”181
  During the same meeting, DEA also made clear that CVS’s instruction to its pharmacists to call
  the prescriber “representatives that verifying that the prescription was written by a physician was not
  the same as making an independent determination that the prescription was written for a legitimate
  medical purpose in the usual course of professional practice.”182

  “On August 12, 2011, DEA hosted a second meeting with CVS at the DEA Weston Resident Office,”
  attended by “24 supervisors/managers from various South Florida CVS pharmacies.”183 “The
  presentation included,” among other information, “statistical information” that “showed drastic
  increases in prescription drug overdose deaths.”184 At that meeting, the DEA again reminded CVS
  of corresponding responsibility under the CSA and:

            the typical “red flags” associated with the diversion of controlled substances that a
            pharmacy should be familiar with in order to carry out its corresponding responsibility
            to ensure that the controlled substances are dispensed for a legitimate medical purpose.
            Some of the “red flags” discussed included: (a) many customers receiving the same
            combination of prescriptions; (b) many customers receiving the same strength of
            controlled substances; (c) many customers paying cash for their prescriptions; (d)
            many customers with the same diagnosis codes written on their prescriptions; (e)
            individuals driving long distances to visit physicians and/or to fill prescriptions; (f)
            customers coming into the pharmacy in groups, each with the same prescriptions
            issued by the same physician; and (g) customers with prescriptions for controlled
            substances written by physicians not associated with pain management (i.e.,
            pediatricians, gynecologists, ophthalmologists, etc.).185

  After the DEA executed Administrative Inspection Warrants at two Florida CVS stores discussed
  in the meetings, interviews with CVS pharmacists revealed that no one spoke with the pharmacist
  in charge of one store about the staggering amounts of oxycodone discussed in CVS’s December
  2010 meeting with the DEA and the pharmacist was unfamiliar with multiple red flags. 186 Other
  employees believed it was not their job to “police the patients” and described measures the stores




  180
      Id. at ¶ 29.
  181
      Id. at ¶ 31.
  182
      Id. at ¶ 30.
  183
      Id. at ¶ 33.
  184
      Id. at ¶ 34.
  185
      Id. at ¶ ¶ 35-36.
  186
      Id. at ¶ 41.a.
                                                      50




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  had implemented as they filled prescriptions that were “probably were not legitimate.”187 These
  included daily limits designed to “ensure that the pharmacy had enough oxycodone 30mg to fill the
  prescriptions for ‘real pain patients’” and the job duty of one employee who acted as the "bouncer"
  for a CVS store.188 The CVS employees “consistently ignored the red flags of controlled substance
  diversion,” and until CVS faced heightened DEA scrutiny, filled prescriptions for more than twenty
  prescribers who later faced enforcement action themselves—none of whom were located in the same
  city as the stores and most of whom were some distance away.189

  The record of these actions highlights not only admonitions about the pharmacies’ obligations, but
  the importance of these requirements. As Deputy Assistant Administrator Rannazzisi, in Holiday
  CVS, L.L.C., v. Holder, Civ. No. 1:12-cv-191 (D. D.C Feb. 24, 2012), explained: “When registrants at
  every level—practitioners, pharmacies and distributors—fail to fulfill their obligations,” the CSA’s
  “necessary checks and balances collapse.”190 And “[b]ecause pharmacies are the entity providing the
  controlled substances to the end user, they are often the last major line of defense in the movement of
  legal pharmaceutical controlled substances from legitimate channels into the illicit market.”191
  Florida’s State Health Officer and Surgeon General in July 2010 issued a “statewide public health
  emergency declaration in response to the ongoing problem of prescription drug abuse and
  diversion in Florida”—a problem whose impact was felt well outside the state, as oxycodone and
  other controlled substances such as alprazolam from Florida was being “illegally redistributed in
  states along the entire east coast and Midwest.”192

  Following the DEA actions and injunctive orders, other chain pharmacies implemented
  companywide policies to combat diversion of controlled substances. The 2011 MOU between
  Walgreens and the DEA memorialized basic pharmacy standards to be implemented and enforced.
  These obligations include the continued maintenance of a compliance program and routine training
  to reorient employees of their responsibilities under the CSA and DEA regulations. 193 This
  program was put in place to “detect and prevent diversion of controlled substances as required
  under the CSA and applicable DEA regulations.”194 In spite of these prior DEA enforcement
  actions and the anti-diversion efforts that these pharmacies undertook in response to the
  enforcement actions, ineffective due diligence remained, contributing to large numbers of red flag
  prescriptions dispensed by these companies into the communities they served without adequately
  reviewing and resolving those red flag prescriptions.



  187
      Id. at ¶ 41.
  188
      Id.
  189
      Id. at ¶¶ 43 & 54-55.
  190
      Id. at ¶ 10.
  191
      Id. (explaining that “[i]t is, therefore, incumbent on pharmacies to ensure that controlled substances are only
  dispensed pursuant to valid prescriptions issued for legitimate medical purposes in the usual course of professional
  practice”).
  192
      Id. at ¶¶ 15, 20.
  193
      DEA, Administrative Memorandum of Agreement, at 2,
  https://www.dea.gov/sites/default/files/divisions/mia/2013/mia061113_appendixa.pdf.
  194
      DEA, Administrative Memorandum of Agreement, at 2,
  https://www.dea.gov/sites/default/files/divisions/mia/2013/mia061113_appendixa.pdf.
                                                             51




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  As a result, the Florida Attorney General brought civil actions against CVS and Walgreens, and
  Trumbull and Lake counties filed separate public nuisance lawsuits against Walmart, CVS, and
  Walgreens as part of the federal opioid MDL. Subsequently, CVS and Walgreens entered
  settlement agreements with the Florida Attorney General that contained several proactive diversion
  prevention policies 195 In the MDL, the Court entered a judgment and injunctive order against
  Walmart, CVS, and Walgreens, directing each defendant to implement diversion policies and
  programs similar to those set forth in the Florida settlements. 196 Both the Florida settlements and
  the MDL’s injunctive order sought to remedy the oversupply of prescription opioids through
  enhanced due diligence measures and recordkeeping that include, among others, requirements for

             The creation of a Controlled Substance Compliance Committee;
             Mandatory training of employees;
             Identification, resolution, and documentation of red flags for dispensed prescriptions and
              for those that pharmacists refused to fill--“The documentation should provide sufficient
              details in order that any subsequent reviewer will have a clear understanding of how each
              Flag was resolved for any review or inquiry for auditing or regulatory purposes. The
              documentation must be available and easily accessible to all pharmacists employed by the
              Defendant at all of its retail pharmacies.”197;
             A process to check the licensure status of prescribers of controlled substances;
             A process to review prescribing patterns and practices utilizing algorithms to analyze the
              pharmacies dispensing data and other data and information to investigate prescribers; and
             Proactive due diligence and site visits of their pharmacy stores.

  Defendants were well aware of DEA enforcement actions and should have taken steps in the face
  of such knowledge to enhance their controlled substance policies and procedures. Many chain
  pharmacies had some versions of these programs in place, albeit not as robust and as effective as
  needed. Kroger and Publix should have implemented these basic diversion programs and practices
  years ago. If they had done so, they would have prevented significant diversion of controlled
  substances in the communities they served.


  Kroger




  195
      CVS Settlement Agreement and Release (Mar. 29, 2022),
  https://www.myfloridalegal.com/files/pdf/page/1DE4F463296C85C18525874F004AF94D/CVSSettlementAgreeme
  ntwithExhibits.pdf
  196
      CVS, Walgreens, Walmart Injunction Order, (Feb. 10, 2023),
  https://storage.courtlistener.com/recap/gov.uscourts.ohnd.238494/gov.uscourts.ohnd.238494.4893.0.pdf
  197
        Id.at VIII. F. p. 8
                                                      52




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  In 2012, Kroger’s Pharmacy Compliance Committee (“PCC”) began discussions regarding the
  implementation of a pilot pharmacy employee training program to address compliance. 198 This
  effort was made years after it should have begun. Further, despite this effort, training remained the
  “weakest area of compliance for the company” for several years and the initiative remained on
  hold until at least 2016.199 This delay left many pharmacists inadequately prepared to safely
  dispense controlled substances. Moreover, deficiencies with Kroger’s pharmacy associate training
  continued thereafter for years, as evidenced by the results from Kroger’s 2018 and 2021 pharmacy
  surveys. “[I]n some cases pharmacists do not understand due diligence efforts that need to be
  undertaken and continue to fill prescriptions.”200
  One of Kroger’s “highest risk” within DEA compliance is the “pharmacists’ inconsistent and often
  absent understanding of the DEA’s expectations for executing proper corresponding responsibility
  related to the dispensing of controlled substances.”201 It was also brought to Kroger’s attention
  that pharmacists did not “remember receiving any information from Kroger’s corporate offices
  regarding prescription ‘red flags.’”202 Additionally, “pharmacists appeared to know in general
  about their practice responsibilities but were not fully familiar with the term and meaning of
  ‘corresponding responsibility.’”203 Kroger failed to adequately train its pharmacists.
  Publix

  Internal documents show that Publix was cognizant of DEA enforcement actions and fines,
  including the CVS Holiday case.204 In response to these events, Publix anticipated the increase of
  DEA inspections, OCR audits, and litigation and the likelihood that Publix “will be in the hot
  seat.”205 Additionally, it was not until the CVS actions in 2012 that Publix finally created a written
  controlled substance dispensing policy that included red flags. 206 However, testimony from a
  Publix pharmacist in Cobb County shows that Publix did not adequately distribute and make their
  pharmacists aware of the controlled substance and red flag policy at that time. Shannon Brice, a
  pharmacist at Publix for over 25 years, testified that she had never seen the 2012 policy until the
  time of her deposition.207
  Publix should have updated its pharmacy procedures after it received notice of other chain
  pharmacies’ settlements and injunctive relief requirements. Publix could have consulted publicly
  available and periodically updated as diversion trends and regulations change. The role of



  198
      See February 2012 PCC Minutes at bates KrogerSmithNMAG00013072 at 00013073.
  199
      See June 2015 PCC Minutes at bates KrogerSmithNMAG00010239_0005.
  200
      Id. at 0003.
  201
      Kroger-MDL00034861 at 00034865.
  202
      KrogerSmithNMAG00013077 at 00013079.
  203
      Id.
  204
      PUBLIX-MDLT8-00073501 at 00073502 (P-PUB-0186); PUBLIX-MDLT8-00119094 at slide 2 (P-PUB-0309);
  PUBLIX-MDLT9-00066086 at 00066087 (P-PUB-0248); PUBLIX-MDLT8-00071835 at 00071852 (P-PUB-0322).
  205
      PUBLIX-MDLT8-00119094 at slide 3 (P-PUB-0309).
  206
      PUBLIX-MDLT8-00027405
  207
      Brice Dep. at 44:5-45:8. See also PUBLIX-MDLT8-00071345
                                                   53




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  pharmacists in dispensing controlled substances “is critical to the health of patients and helps
  protect society against drug misuse and diversion.”208 Publix also noted that it “play[s] a major
  role in the public’s health” and that it is imperative that good judgment is used especially when
  dispensing controlled substances. 209 Registrants must stay abreast of the changes in industry
  standards as the signs of diversion evolve. 210

  Publix

  In 2012, Publix established a guide referencing the identification of red flags in Ch. 8 of the
  Pharmacy Reference Procedure Guide titled “Regulations and Associated Publix Policies.” 211
  However, interns, pharmacists, and managers received no formal training on this guidance,
  including no training on red flags.212 Corporate reference guides for controlled substances were
  incomplete and did not contain laws related to these highly diverted drugs. 213 Publix reasoned that
  “pharmacy associates should know the requirements for a controlled substance prescription.” 214
  Controlled substance training on red flags and patient care was a “high effort” and “low priority”
  for Publix.215 However, the lack of corporate guidance on controlled substances was one of the
  most common complaints Publix received from pharmacists.216 Publix did not develop a controlled
  substance compliance department or hire diversion analysts until 2018.217 In November of 2018,
  Publix approved a controlled substance training course for the first time. 218 Though, the controlled
  substance training was still deemed a “low priority.”219

  Publix could have consulted publicly available material, Publix also noted that it “play[s] a major
  role in the public’s health” and that it is imperative that good judgment is used especially when
  dispensing controlled substances. 220 Registrants must stay abreast of the changes in industry
  standards as the signs of diversion evolve. 221




  211
      PUBLIX-MDLT8-00002439 at 00002475.
  212
      King Dep. at 133:2-22-135:17.
  213
      PUBLIX-MDLT8-000071345 (P-PUB-0586).
  214
      Id.
  215
      PUBLIX-MDLT8-00119095 (P-PUB-0349).
  216
      PUBLIX-MDLT8-00115817 at 00115820 (P-PUB-0719) (Leonard Exhibit 5).
  217
      Nov. 4, 2022, Chris Hewell Deposition (hereafter “Hewell III Dep.”), 149:24-150:2.
  218
      PUBLIX-MDLT8-00072578 (P-PUB-0319); PUBLIX-MDLT8-00079714; Smith Dep., 403:18-25 (Ms. Smith
  confirming that controlled substance training initiatives were put in place for the first time in 2018).
  219
      PUBLIX-MDLT8-00119095; PUBLIX-MDLT8-00079714; PUBLIX-MDLT8-00088571; PUBLIX-MDLT8-
  00134424; PUBLIX-MDLT8-00134424
  220
      PUBLIX-MDLT8-00118914
  221
      Respondent suggests that its owner and pharmacists were entitled to a similar briefing, and should be excused
  from liability because they did not receive such a briefing, it is mistaken. DEA does not have the resources to




                                                          54




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  Mechanisms such as prescriber blocks are useful tools to prevent diversion. Even today, Publix
  fails to implement this effective control. 222 There are no “extremes of not filling globally for a Dr.”
  even though this function is easily available on Publix’s EnterpriseRx system. 223 The EnterpriseRx
  system at Publix will not notify pharmacists if a prescriber is banned from writing a controlled
  substance prescription or generate an automatic block.224 If an illegal prescription is identified,
  the pharmacist is supposed to notify corporate by filing out a loss prevention incident report. 225
  Publix does not, however, initiate a block of further prescriptions from the provider. 226 Publix has
  no centralized system to notify or inform its pharmacists about suspicious prescribers nor does it
  have a standard process for when they are alerted to problematic prescribers by either their own
  pharmacists or law enforcement. Rather, notification to other pharmacists are limited to notes on
  the prescription or long chain emails.227 Yet, this documentation is not an enforced pharmacy
  policy.228 Likewise, Publix does not have a store monitoring program to monitor the controlled
  substance trends of their own stores. They also do not have a centralized tracking for refusals to
  fill, and they do not allow for blanket refusals to fill for suspicious patients or prescribers known
  to be or suspected of diverting drugs.229

  When Publix became aware of modified policies at other chain pharmacies over the years, Publix
  did not take the opportunity to evaluate its own policies and procedures. In 2019, Publix became
  aware of a CVS corporate policy refusing to fill drug cocktails that contained opioids,
  benzodiazepines, and muscle relaxers. 230 Instead of reviewing its own policy regarding drug
  cocktails, Publix was concerned with keeping up with demand from the influx of patients they
  would receive as a result of CVS refusals to fill.231 The lack of initiative to execute controls to
  prevent diversion demonstrates the failure of Publix to comply with state and federal mandates to
  maintain effective controls that ensure the legitimacy of opioid prescriptions.




  personally brief every registrant following its discovery of new patterns of diversion.\32\ Rather, as a participant in a
  highly regulated profession, Respondent's owner had an obligation to keep herself informed regarding regulatory
  developments which affected her profession. Cf. Holiday CVS, 77 FR at 62317 (citing United States v. Southern
  Union Co., 630 F.3d 17, 31 (1st Cir. 2010)
  222
      Aug. 11, 2023, Lindsay Burckhalter, 30(b)(6), Deposition (hereafter “Burckhalter Dep.”), 175; see also Brice
  Dep. at 334, 335.
  223
      PUBLIX-MDLT8-00080521.
  224
      Oct. 7, 2022, Chris Hewell, 30(b)(6), Deposition (hereafter “Hewell II Dep.”), 313:16-314:25.
  225
      Jacobson Dep., 312:23-313:8.
  226
      Jacobson Dep., 314:3-14; Hewell II Dep., 314:13-25.
  227
      Jacobson Dep., 314:3-14; PUBLIX-MDLT8-00082267-00082334 (P-PUB-0507) (Long chain email used to
  notify pharmacies of various suspicious providers).
  228
      Jacobson Dep. 313:9-314:2
  229
      Burckhalter Dep., 171-172.
  230
      PUBLIX-MDLT8-00076600.
  231
      Id.
                                                             55




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        G. Investigate, Resolve and Document Resolution of Red Flags

  Consistent with best pharmacy practice and the warnings and agreements entered into with the
  DEA, the Chain Pharmacies’ own policies recognize and require that when a controlled substance
  prescription has red flags, each flag must be resolved before that prescription is dispensed, and the
  pharmacist must document how that red flag was resolved.
  The guiding elements establishing adequate due diligence are known to the Chain Pharmacies and
  generally are included in the Chain Pharmacies’ policies and CSA recordkeeping requirements. 232
  These common elements for adequate due diligence include:
        1) The pharmacy must accurately identify and document all red flags raised by the
           prescription, patient, and prescriber;
        2) The pharmacy must reasonably collect complete, relevant, and accurate information
           concerning each red flag;
        3) The pharmacy must independently evaluate the collected information to determine whether
           the evidence is reliable and whether, as a whole, the evidence adequately resolves each red
           flag; and
        4) Lastly, the pharmacy must clearly and explicitly document their evaluation of the evidence
           and their reasoning supporting their judgment to dispense or refuse to fill the prescription.
  All four elements of due diligence are required: identification of all red flags, collection of all
  relevant information, evaluation of the information, and documentation of the reasons supporting
  the decision. Adequate due diligence will clearly explain to other pharmacy employees or
  regulators the concerns identified, the information evaluated, and the reasons for the decision.
  Pharmacy practice standards of care, state board of pharmacy requirements, and the DEA
  guidelines provide that each prescription triggering a red flag must be resolved before the
  prescription is dispensed. Further, the resolution of that flag must be documented in order that, in
  the future, any person examining the prescription will know how the pharmacist resolved that red
  flag and why the medication was dispensed.
  Documentation is critical for several reasons. It offers an explanation as to how the pharmacist
  resolved any red flags to allow for the dispensing of the prescription or why the pharmacist refused
  to fill the prescription and the steps taken afterwards. Documentation also affords the pharmacy
  the opportunity to review, audit, and investigate whether red flags are being identified and
  appropriately resolved, and it assists the DEA and state officials in the event there is a need to
  conduct an investigation related to diversion. 233




  232
      KrogerMDL00002122 at 2150 (“If Red Flags are present the pharmacist must be able to resolve them and must
  document why they did.”).
  233
      May 13, 2021, John Aivazis Deposition (hereafter “Aivazis”), 316:12 – 317:1.
                                                        56




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  Joe Rannazzisi, former head of diversion control at the DEA, testified that:

          There has to be some documentation that you -- if you call the doctor, there’s got
          to be documentation somewhere, either in a patient profile or on the prescription,
          that you called the doctor and why you resolved those red flags. That’s -- during
          my time at DEA, we expected that. When we pulled prescriptions, that’s what we
          were looking for….That doc doesn’t necessarily have to be on the prescription. It
          could be in a patient profile. It could be in some type of medium within a computer,
          but there’s got to be something there. It’s a professional practice standard 234


  Recordkeeping is one of the CSA’s primary means for preventing the diversion of controlled
  substances. Grider Drug 1 & Grider Drug 2, 77 FR 44,070, 44,100 (citing Paul H. Volkman, 73
  FR 30,630, 30,644 (2008)). Under the Act, “every registrant . . . dispensing a controlled substance
  or substances shall maintain, on a current basis, a complete and accurate record of each such
  substance . . . received, sold, delivered, or otherwise disposed of by him.” 21 USC 827(a). DEA
  enforcement decisions have explained that “a registrant’s accurate and diligent adherence to [its
  recordkeeping] obligations is absolutely essential to protect against the diversion of controlled
  substances.” Volkman, 73 F.R. at 30,644. The DEA pharmacy handbook further emphasizes that
  complete and accurate recordkeeping “provide[s] accountability of all controlled substances from
  the manufacturing process through the dispensing pharmacy and to the ultimate user.” 235

  DEA numbers are required to fill prescriptions for controlled substances, and accurate DEA
  numbers are necessary to ensure the prescriber maintains a license to prescribe substances. Such
  data deficiencies underscore Defendants’ inadequate recordkeeping and failure to maintain
  effective abuse and diversion monitoring programs.

  Publix failed to identify “dummy…” DEA numbers on several occasions prior to a prescription
  being filled.236 DEA training guidance on whether a controlled substance prescription is legitimate
  or fraudulent was received by Publix.237 In this training course, one method of checking for fraud
  is to check the physician’s DEA number. 238 Despite having access to this course, prescriptions
  were issued with invalid DEA numbers. Additionally, Publix does not maintain a list of doctors
  whose DEA numbers have been revoked.239 Pursuant to Publix’s practice, a pharmacist is supposed
  to notify a supervisor if the pharmacist becomes aware that a physician’s DEA number is invalid. 240
  The supervisor is then supposed to investigate and communicate their findings to neighboring




  234
      CT3 Trial Testimony, Tr. 1590: 1-14, 10-14 (Oct. 12, 2021).
  235
      DEA Pharmacy Handbook, 2020 Edition, p. 35.
  236
      Smith Dep., 280:21-281-4.
  237
      PUBLIX-MDLT8-00058475.
  238
      Id. at 00058499.
  239
      Nov. 16, 2022, Toan Do Deposition (hereafter “Do Dep.”), 288:15-24.
  240
      Do Dep., 270:8-23.
                                                        57




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  stores by email. This method is ineffective because it assumes that every recipient will read the
  email.

  The need to monitor and document steps taken with respect to accessing of the PDMP is also
  important. The Defendants did not develop systems and programs to audit and monitor when the
  PDMP was being checked by their pharmacists and whether the pharmacy was in compliance with
  specific state mandatory PDMP checks.
  While the Defendants’ written policies eventually incorporated some of these important practices,
  the Defendants were slow to implement such requirements – most after 2012 and 2013.

  Kroger

  As a result of the 2005 DEA investigation, Kroger volunteered to implement a pharmacy
  compliance program.241 This program included a pharmacy-wide controlled substance Standard
  Operating Procedure (“SOP”) and training.242 The purpose of the SOP was to “make CSA
  compliance as easy and efficient as possible” in light of Kroger’s concern of recordkeeping
  violations.243 This procedure covered several pharmacy obligations, such as general requirements
  for controlled substance prescriptions, corresponding liability and professional practice. 244 Yet,
  Kroger provided a list of only six criteria that may indicate that a prescription was not issued for a
  legitimate medical purpose.245
  Beginning in 2012, Kroger emphasized the importance of “educating all pharmacy staff on known
  red flags of diversion” after recent DEA actions against other Chain Pharmacies. 246 Pharmacists
  were reminded of their “corresponding responsibility to dispense controlled substances only
  pursuant to a prescription issued in the usual course of the prescriber’s practice for a legitimate
  medical purpose.”247 This guidance further instructed pharmacists to use “the state’s prescription
  drug monitoring program and database.” 248 Yet, Kroger’s policy left pharmacists ill-equipped to
  adequately document the identification and resolution of red flags.
  In November 2012, Kroger learned of DEA license revocation actions against a Cardinal Health
  distribution center, a Walgreens distribution center, and seven retail pharmacies, two of which




  241
       Press Release, Drug Enforcement Administration, Record 7 Million Dollar Settlement, Kroger Corporation
  establishes corporate      wide    compliance program (Oct.        24, 2005),      https://www.dea.gov/press-
  releases/2005/10/24/record-7-million-dollar-settlement.
  242
      KrogerSmithNMAG00003033.
  243
      Id.
  244
      Id. at 00003036.
  245
      Id. at 00003091.
  246
      FM 00028343.1.
  247
      Id.
  248
      Id.
                                                       58




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  were CVS stores and three of which were Walgreens stores. 249 In response, Kroger retained Buzzeo
  PDMA Consultants (“Buzzeo”)250 to perform a Suspicious Order Monitoring compliance audit. 251
  As part of that audit, Buzzeo visited two Kroger pharmacies and interviewed pharmacists. 252 In his
  report dated March 12, 2013, Buzzeo found that
          Kroger line Pharmacists were not familiar with the term “suspicious order monitoring” and
          did not remember receiving any information from Kroger’s corporate offices regarding
          prescription “red flags.” Pharmacists appeared to know in general about their practice
          responsibilities but were not fully familiar with the term and meaning of “corresponding
          responsibility.”253
  Kroger did not begin documenting refusals to fill until very late. When it did so, it did not create
  a uniform system across all pharmacies. In furtherance of taking “proactive steps” to prevent
  diversion after DEA enforcement activity, Kroger required pharmacists to complete Controlled
  Substance Document (“CSD”) forms for opioids in 2013. 254 However, this documentation was
  initially limited to prescriptions of Oxycodone, Methadone, and Hydromorphone. 255 Kroger did
  not include hydrocodone to this form until 2015 after hydrocodone was rescheduled as a Schedule
  II drug.256 Pharmacists were also limited in their ability to view the CSD forms because they were
  hard copies.257 Further, these forms were not utilized at all Kroger pharmacies, but only in
  approximately 100 of Kroger’s 2,000 plus pharmacies. 258 The lack of consistency made Kroger’s
  CSD form impractical to guard against diversion. In 2016, Kroger’s policy required pharmacists
  to “DOCUMENT, DOCUMENT, DOCUMENT!” This included all refusals to fill a
  prescription.259
  Today, Kroger’s system permits pharmacists to document notes regarding red flags in the EasyFill
  Pharmacy Retail Network (“EPRN”) system when filling a prescription received electronically. 260




  249
      KrogerSmithNMAG00010074; KrogerSmithNMAG00010231.
  250
      Ronald Buzzeo, R.Ph., is a former Deputy Director of the Office of Diversion of the DEA.
  KrogerSmithNMAG00003033 at 3035. He practiced as a pharmacist prior to beginning his law enforcement career
  as a Narcotic Investigator with the New York State Department of Health, Bureau of Narcotic Control. Id. After
  several years, he entered federal service with the Bureau of Narcotics and Dangerous Drugs, the predecessor agency
  to the DEA, where he served for 22 years until his retirement from federal service in 1990. Id.
  251
      KrogerSmithNMAG00013075.
  252
      Id. at 13079.
  253
      Id.
  254
      KrogerSmithNMAG00003336 (P-380858_00001).
  255
      Id.
  256
      KrogerSmithNMAG00004673
  257
      Feb. 10, 2022, Blair Woolf Deposition (hereafter “Woolf Dep.”), 85:13-86:21.
  258
      KrogerSmithNMAG00005630 (P-30913_00001); McDermott I Dep. 355:1-357:7.
  259
      FM 00028878.
  260
      Jun. 10, 2022, Ryan Davis Deposition (hereafter “Davis Dep.”) 57:15-59:16.
                                                         59




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  However, there is a lack of uniformity of the company’s process to document red flags. 261 A
  pharmacist can provide comments in the patient, prescription or counseling notes. 262 Notes are
  also written “on the face of the prescription.” 263 Nevertheless, Kroger’s efforts to require
  documentation remain futile. Record retention policies at Kroger limit pharmacists access to notes.
  Pharmacy controlled substance records should be used by pharmacists to prevent diversion.
  Documentation of prior prescriptions provides an overview of patient controlled substance use.
  Information related to the duration and strength of controlled substance prescriptions can assist
  pharmacists in resolving red flags. Retention of these records also permits a pharmacist to view
  previous CSD forms and notes regarding red flags and refusals to fill. Kroger failed to maintain
  these critical documents.
  Beginning in 2007, Kroger issued a data retention policy that is reviewed on an annual basis. 264
  For physical records, such as hard copy prescriptions, Kroger’s 2019 policy instructs pharmacies
  to “securely maintain 2 years of records onsite.”265 After two years, the records are shipped to a
  storage vendor who will store the records for an additional nine years. 266 Essentially, pharmacists
  have access to these hard copy notes for a two year period of time. Notes retained at a storage
  facility are not readily available. Access to electronic prescription files at Kroger pharmacies are
  equally limited. Kroger maintains electronic prescriptions for only three years at the store. 267 This
  policy interfered with pharmacy staff’s ability to effectively perform their duties. It also impeded
  continuity of pharmacy practice by limiting historical information as to the methods and practices
  utilized in Kroger pharmacies.
  Kroger employees, including those charged with compliance responsibilities, pharmacy managers,
  and pharmacists, use email to communicate a wide variety of important business and patient safety
  matters. Some examples include corporate guidance on due diligence investigations, identifying
  suspicious prescriber or patient behavior, or providing critical information concerning fraud or
  diversion. Access to historical email records is very limited, however, and largely dependent upon
  subjective judgments made by individual Kroger employees with effectively no guidance from
  Kroger’s corporate-level leadership. Prior to 2012, Kroger’s document retention policy maintained
  emails for 60 days.268 After 2012, this time period was reduced to only 30 days. 269 The emails are




  261
      Id. at 59:5-7 (“My partner that was working next to me may have a different process of documenting than I would
  as well.”).
  262
      Id. at 60:2-61:11.
  263
      Id. at 57:15-58:14.
  264
      Jul. 15, 2022, Rachel Divincenzo Deposition (hereafter “Divincenzo Dep.”), 15:2-6; KROGERWVAG00000827
  (P-KRO-0615).
  265
      KROGERWVAG00000827 at 0000030 (P-KRO-0615) at pg. 4.
  266
      Id.; Divincenzo Dep. 32:5-17.
  267
      KROGERWVAG00000827 at 0000034
  268
      Divincenzo Dep. 67:7-3
  269
      Id. at 31:14-22.
                                                          60




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  then automatically soft deleted and recoverable for 28 days after that. 270 Once the total of 58 days
  are up, the emails are permanently deleted. Emails may be stored for longer than 30 days only if
  the custodian determines that there “is a business need” to maintain the email and takes the
  affirmative step to save the e-mail by placing the email in a “KeepIt” folder. 271 Kroger’s email
  retention policies do not delete emails in an employee’s “KeepIt” folder, but also provide no
  guidance as to what should be placed in the folder other than instructing the employee to preserve
  emails constituting a “business need” or otherwise required to be kept under a separate Kroger
  policies (none of which address email concerning suspicious prescriber or patient behavior). 272
  This policy provides for arbitrary decision making on behalf of the custodian and can lead to
  confusion. Many employees were not even made aware of the Keepit folder, and Kroger provided
  no guidance as to what constitutes a “business need.” 273 This retention policy which has the
  potential to impede compliance investigations and safe patient care because it results in so much
  information being lost. I am not aware of another chain pharmacy in the country whose which
  provides such a limited document retention policy.
  A pharmacist may only dispense a controlled substance that is issued for a legitimate medical
  purpose.274 Indeed, a pharmacist must dispense the prescription in the usual “course of
  professional practice.”275 The obligation to dispense legitimate controlled substance prescriptions
  extends to Kroger.276 Red flags are widely recognized as customary practice in pharmacies. As
  previously discussed, Chain Pharmacies, acknowledged the importance of the recognition and
  resolution of red flags. In particular, Kroger identified signs of diversion in its 2005 SOP that was
  created in response to recordkeeping violations.277 This list expanded in 2012 following DEA
  investigations and actions against other Chain Pharmacies. 278
  Kroger is aware of its duty to guard against diversion. Nevertheless, Kroger’s record retention
  policies make documentation of the identification and resolution of red flags inaccessible.
  Detection of diversion is an obligation that all Chain Pharmacies have. Kroger disregarded this
  duty by implementing a document retention policy that destroyed records relevant to whether its
  pharmacists performed adequate due diligence.
  Publix




  270
      Id. at 78:22-79:17.
  271
      KrogerWVAG00000695 at 00000696.
  272
      Divincenzo Dep. at 31:14-32:1; see, e.g., Kroger-MDL00034579 at 80.
  273
      Jan. 23, 2023, Betsy Wright Deposition (hereafter “Wright Dep.”), 41-42; see generally Divincenzo Dep. at 70-
  73.
  274
      21 C.F.R. 1306.04(a)
  275
      21 U.S.C. § 829; 21 U.S.C. § 1306.06.
  276
      21 C.F.R. 1306.04(a).
  277
      KrogerSmithNMAG00003033; Kroger-MDL00031079.
  278
      KrogerSmithNMAG000348.
                                                          61




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  Publix did not issue guidance to its pharmacists regarding the identification of red flags until
  2012.279 Even then, the policy did not require documentation of red flags or other forms of due
  diligence unless the pharmacist specifically consulted Georgia’s PDMP. 280 Even after that
  guidance was issued, however, Publix failed to adequately communicate it to its pharmacists.
  Jillanne Smith testified that new hires were provided with the written guidance, but there was no
  specific training on identifying and resolving red flags until 2018. 281 Publix did not monitor
  whether pharmacists or technicians received or reviewed this guidance. Shannon Brice, a
  pharmacist with a 25 year career at Publix, had never seen the guidance on red flags until preparing
  for her deposition.282

  Until at least 2019, Publix did not require documentation of red flags but rather “recommended”
  it.283 Controlled substance guidance also suggested that a note should only be left for an existing
  customer in limited circumstances where a pharmacist determines that the prescription is
  suspicious after checking PDMP.284 Later guidance required that all red flags be resolved prior to
  filling a controlled substance prescription and “to document” what red flags were cleared. 285
  Particularly, “if a pharmacist agrees to fill at-risk medication combinations, high MME, and/or RX
  with Red Flags” it is recommended that the pharmacists document how the red flags were
  cleared.286 Publix reasoned that “[i]f you don’t document, then there is no proof the conversation,
  the consultation, or the clearing of red flags took place.” 287 However, Assistant Pharmacy
  Manager, Joseph Wells described this process as a “little bit difficult” or “self-explanatory” 288
  Publix recognized DEA guidance stating that “the presence of ONE red flag that cannot be cleared
  is enough to refuse to fill a prescription.” 289 Therefore, if a pharmacist is unable to clear a red flag
  and refuses to fill a prescription, “documentation needs to be done stating what red flags existed
  and that they could not be cleared.”290 In addition to the nonconformity of Publix’s documentation
  policy, some employees are unclear or simply don’t recall whether there even is a policy in
  place.291




  279
      Smith Dep., 386:9-390:16; compare PUBLIX-MDLT8-00023196 (Smith Ex. 15) (Red flag guidance not
  included in Publix pharmacy guide dated April 27, 2012), with PUBLIX-MDLT8-00027405 at 00027438 (Smith Ex.
  16) (July 25, 2012 guidance was the first that included red flags—though without calling them “red flags”
  280
      PUBLIX-MDLT8-00027405
  282
      Brice Dep., 44:5-45:20.
  283
      PUBLIX-MDLT8-00077099; Smith Dep., 375:7-25.
  284
      PUBLIX-MDLT8-00067275 at 00067294
  285
      PUBLIX-MDLT8-00149649 at slide 4 (P-PUB-0728) (Wells Ex. 9).
  286
      PUBLIX-MDLT8-00149649 at 00149658 (P-PUB-0728) (Leonard Ex. 10).
  287
      PUBLIX-MDLT8-00149649 at 00149667 (P-PUB-0728) (Wells Ex. 9)
  288
      Jun. 25, 2023, Joseph Wells Deposition (hereafter “Wells Dep.”), 241-243.
  289
      PUBLIX-MDLT8-00149649 at 00149658 (P-PUB-0728) (Leonard Ex. 10).
  290
      Id.
  291
      Smith Dep., 374:12-375:25; Brice Dep., 335:6-13 (Pharmacy Manager “not aware” if there is a requirement that
  pharmacists document due diligence done in resolution of a red flag).
                                                         62




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  In 2021, Publix’s opioid task force team, comprised of three pharmacists, gave a presentation that
  stressed the importance of documentation: “Document, Document, Document. If you don’t
  document, then there is no proof the conversation, the consultation, or the clearing of red flags
  took place.”292 Notes regarding red flags can be placed in the field for transaction notes, counseling
  notes, prescriber notes, and patient notes in EnterpriseRx. 293 However, there is no uniform policy
  regarding where to document, making it difficult to know where a note may be located. 294
  Pharmacists must click on multiple individual note fields to check for prior documentation. 295

  In 2013, Paul Hines, “the main communication agent for Publix with the DEA in the pharmacy
  department” met with the DEA Diversion Program Manager and discussed the corresponding
  responsibility to dispense only prescriptions that are issued for a legitimate medical purpose. 296
  This obligation includes the investigation of red flags that “should not be ignored.” 297 Publix was
  aware of the significance of red flags and its duty to prevent diversion. Yet, practical guidance in
  the pharmacy remained inadequate.

  Access to and review of dispensing data is imperative to ensuring compliance with federal and
  state regulations. Prior to 2011, Publix did not implement a document retention policy for
  corporate records.298 Employees determined whether to keep documents based on what was
  “relevant for business and legal purposes.”299 In approximately 2011, record retention policy for
  dispensing data at Publix was set at ten years. 300 Until 2019, Publix purged dispensing data every
  day.301 Once the dispensing record was purged, it was deleted permanently. 302 Since Publix does
  not block the prescriptions of a suspicious provider, the pharmacy relies heavily on email
  notifications and notes written on a prescription by a pharmacists. 303 Publix’s policies and
  procedures are inadequate to guard against diversion.

        H. Corporate Oversight Failures

  Every pharmacy maintains dispensing data which could and should have been utilized by the
  Defendant pharmacies to prevent diversion. Dispensing data should have been reviewed by each
  corporate defendant to identify patterns of diversion and to create policies and procedures and



  292
      PUBLIX-MDLT8-00149649
  293
      Hewell II Dep, 302:18-304:7.
  294
      Id. 315:16-316:16.
  295
      Id. at 304:8-308:8.
  296
      Dec. 6, 2022, Fred Ottolino Deposition (hereafter “Ottolino Dep.”), 41:20-41:22; PUBLIX-MDLT9-00066086
  (P-PUB-0248).
  297
      Id. at 00066087.
  298
      Sept. 30, 2022, Chris Hewell Deposition (hereafter “Hewell I Dep.”), 137:17-138:21.
  299
      Hewell I Dep., 138:9-21.
  300
      Hewell II Dep., 316:18-317:5, (hard copy prescriptions are also limited to a 10 year retention period unless there
  is a litigation hold); P-PUB-0138 (Hewell 30(b)(6) Ex. 4).
  301
      P-PUB-0138 (Hewell 30(b)(6) Ex. 4).
  302
      Hewell I Dep., 68:10-16.
  303
      Ottolino Dep., 1159-13; See e.g., PUBLIX-MDLT8-00086381.
                                                            63




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  training materials which proactively identified patterns of diversion. Defendants should have used
  the information gleaned from that proactive analysis to inform their pharmacy staff of these
  patterns and to develop policies, procedures, and training materials for its pharmacies.

  Based on my review of documents and testimony, Defendants possessed dispensing data and other
  information collected at a corporate level. Defendants had access to extensive and detailed
  prescription data and other information. For example, Kroger and Publix each collect dispensing
  data and store it in centralized data warehouses. Responses and documents from Defendants
  indicate that Kroger and Publix also had access to third party data.

  As former DEA Diversion Investigator, Demetra Ashley testified, dispensing data for most large
  chain pharmacy companies is kept in central locations and retrievable through dispensing data
  databases.304 These databases, if accessed properly, could do many of the same things as a PDMP,
  such as identify red flags associated with the data. 305 Ashley testified that it “would be reasonable
  to expect the pharmacies to access their own databases to look for red flags.” 306 She further
  testified that “if a pharmacy company is being vigilant in the face of a raging prescription opioid
  pill epidemic, access to that database of information would be important.” 307 This testimony is
  consistent with what should have been the pharmacy industry practice throughout the period of the
  epidemic. In fact, most of the chain pharmacy defendants developed a number of programs at the
  corporate level to analyze their dispensing data for prescribers, patients, and pharmacies
  potentially engaged in diversion, but they did not do so in a timely manner and did not share that
  information with their pharmacists. Publix did not even attempt to develop such programs until
  after 2018.

  Many of the red flags described in this report are easier to identify through the use of computer-
  generated calculations. For instance, it would be far easier and more accurate for information from
  the corporate dispensing program to alert a pharmacist if multiple patients present prescriptions
  for the same combination of drugs at different pharmacies within the corporation. Likewise, a
  program could have been written to calculate the distance between the patient and the prescriber
  or the patient and the pharmacy. If the distance exceeds 25 miles, the pharmacy dispensing
  program could issue a warning or alert to resolve the distance flag before the prescription is filled.
  Similarly, the software could have alerted pharmacists to known red flag combinations of drugs
  such as an opioid and a benzodiazepine. This is particularly useful when the prescriptions have
  been filled on different days, for different days’ supply and at different pharmacies in the same
  chain. As another example, Chain Pharmacies could implement policies and procedures to alert
  refusals to fill for certain prescribers or prohibit filling for those prescribers altogether. Defendants
  should have used the information available to them at the corporate level to guard against
  diversion. The evidence I have seen indicates that they did not.



  304
      Mar. 11, 2021, Demetra Ashley Deposition (hereafter “Ashley Dep.”), 115:9-14.
  305
      Id. at 115:16-116:4.
  306
      Id. at 132-34.
  307
      Id. at 10:42.
                                                         64




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  Kroger

  Examining dispensing data can identify patterns of diversion. Kroger could obtain data related to
  the filled prescriptions on a corporate level and on a store level basis. 308 Further, Kroger has the
  ability to view prescriber activity at a corporate level. 309 This data is limited due to the lack of
  access each individual stores access to all prescriber activity. 310 Individual pharmacies are unable
  to view dispensing data outside of their store. 311 However, Kroger had access to IMS/IQVIA and
  failed to utilize this data adequately. 312
  In 2000, Kroger began selling its prescription data to IMS/IQVIA. 313 In exchange, IMS data was
  accessible to Kroger. Applications, such as the Controlled Substance (CS) Rating tool provided
  Kroger with the ability to monitor controlled substance use. This feature “leverages outlet
  purchasing and outlet dispensing information along with geographical comparative data to provide
  visibility to prescription activity for certain controlled substances.” 314 As a result, prescribing
  habits of doctors became readily available to Kroger’s compliance department. The available data
  related to the identification of stores which filled prescriptions for a specific prescriber and the
  number of prescriptions filled appeared in the reports. 315 The CS Ratings tool generates reports
  that alert to red flags, such as distance, drug combinations, days’ supply, and patient cash
  payment.316 Patient drug analysis provided in the reports can identify suspicious prescribing
  behavior. Yet, when filling a prescription, a Publix pharmacist does not have access to these
  reports.317 Pharmacists are limited to the data of a doctor’s prescribing habits at their individual
  pharmacy.318
  After the DEA investigations in 2012, Kroger issued a communication regarding a new EPRN edit
  that would “prevent filling controlled substance prescriptions written by prescribers that have been
  identified as having prescribing practices that raise concerns.” 319 Kroger provided that it “may
  review prescriptions and quantities of controlled substances purchased and dispensed at particular
  pharmacies as well as the prescribing practices of certain prescribers.” 320 This data was reviewed



  308
      McDermott II Dep., 63:12-65:19.
  309
      Id. At 65:3-66:4.
  310
      Id. At 66:5-67:23.
  311
      Id. At 67:11-23.
  312
      KrogerSmithNMAG00011364; Kroger-MDL00034096. See also, Sept. 9, 2022, Mercury Williams Deposition
  (hereafter “Williams Dep.”) and exhibits.
  313
      Id. at Williams Exhibit 9, Kroger_MDL00034103; See also¸ Williams Exhibit 13, Kroger-MDL00034078
  314
      Kroger-MDL00034096 at 00034100.
  315
      KROGERMDL00000994 at pg. 2 (P-KRO-0523); Davis Dep. at 338:1-6.
  316
      KROGERMDL00000994 at pgs.2-5 (P-KRO-0523).
  317
      Davis Dep. at 331:8-13; 339:20-340:14.
  318
      Id. at 340:15-18.
  319
      KrogerSmithNMAG00008329.
  320
      Id.
                                                   65




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  by corporate after receiving a concern at the division level or by using Nine Box reports for certain
  stores.321
  Kroger relied heavily on its wholesaler, Cardinal Health, in identifying stores to investigate. A 9-
  box report is a monthly report sent by Cardinal that identifies “outlier pharmacies for oxy, hydro,
  and methadone based on dosage units shipped to total prescription count.” 322 “When a store is
  identified on a 9-box report it indicates that their dispensing pattern of the drug family in question
  falls significantly above the majority of stores with similar total prescription counts.” 323 Upon
  receiving such a report, Kroger was supposed to conduct its own due diligence activities through
  a professional audit to “assess controlled substance dispensing trends and potential Red Flag
  dispensing concerns.”324 No similar investigation was performed on stores which were not
  identified by Cardinal. Out of all the stores Kroger operates in the state of Georgia, only one
  pharmacy triggered a nine-box report from Cardinal. 325 The other pharmacies in Georgia were not
  investigated by Kroger pursuant to this program. Given the staggering volume of opioids dispensed
  by Kroger in Georgia, the overwhelming numbers of people suffering from opioid use disorder
  and the heightened risk of diversion in the state, the failure of Kroger to investigate its pharmacies
  demonstrates the failure in Kroger’s systems to identify and prevent diversion.
  Kroger’s corporate analyst ran reports based on the Cardinal’s 9-box report. The reports provided
  information such as top prescribers, prescriber patterns, cash pay, and drug cocktails and were
  forwarded to the appropriate division.326 However, there was no standard set of analysis, rules, or
  a checklist to go by.327 The data collected in the audit enabled the “division team to work with
  their stores to do a deeper dive into that store’s data to understand if there were any potential
  concerns in the dispensing patterns for that store.”328 Even though Kroger had tools at the
  Corporate office to guard against diversion and investigate stores of concern, Kroger failed to
  utilize these tools in all pharmacies. Today, Kroger does not even have a report that it runs to flag
  pharmacies of concern.329
  Kroger failed to address diversion on a store level basis as well. Information related to refusals to
  fill and CSD forms are not readily available to other pharmacies. The refusals were simply placed
  in a “filing cabinet for up to two years.”330 Further, there was no data analysis of the refusals.331




  321
      McDermott I Dep., 175-178:17.
  322
      KrogerMDL00002558 at 00002563.
  323
      Id. at 00002564.
  324
      Id. at 00002567.
  325
      See e.g., Kroger-MDL00028231.
  326
      McDermott II at 227:5-229:2.
  327
      Id. at 232:13-233:5.
  328
      Id. at 225:2-226:2.
  329
      Id. at 237:7-12.
  330
      Feb. 16, 2022, Jeanie Goodrich Deposition (hereafter “Goodrich Dep.”), 76:13-23.
  331
      Id. at 78:14-18.
                                                         66




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  CSD forms are attached to the prescription with only a vague description within EPRN.332
  Kroger’s controlled substances policies are insufficient to prevent diversion.
  In June 2015, DEA Deputy Assistant Administrator, Joe Rannazzisi, attended Kroger’s Pharmacy
  Merchandiser meeting and explained what the DEA looks at. 333 The committee also discussed the
  NABP’s document regarding “Red Flag Warning Signs Related to Prescribing and Dispensing
  Controlled Substances.”334 By December 2015, the PCC was notified of the “increase in the
  number of overdoses in Kroger stores.” 335 Kroger passed up opportunities to refine procedures.
  As part of its compliance program efforts, Kroger implemented a pharmacy audit program. Kroger
  conducted internal studies beginning in 2006 and implemented an external study by LPI, a third-
  party vendor, in 2009.336 Internal audits focus on compliance with Kroger’s controlled substance
  SOP that was initiated following DEA investigations. At least four times a year, the Pharmacy
  Manager and Store Manager conduct an audit that is “designed to be a quick 15 minute review.” 337
  Audit findings are documented on a twenty-seven question form were the auditor can indicate
  either “YES” or “NO” and a comments section.338 None of the questions listed on the audit form
  inquire about a review of controlled substance prescriptions.
  The second internal audit is completed by the Pharmacy Coordinator who conducts a “detailed”
  audit once a year.339 During the annual review, the auditor reviewed controlled substance
  prescriptions to review whether it contained the patient’s name and address; the prescriber’s name,
  address, and DEA number; the named and strength of the drug, the quantity ordered; the name of
  the prescriber’s agent for phone-in prescriptions; directions of use; physicians signature for CII
  scripts; date of issuance; and the initials of the dispensing pharmacist. Despite accessing this data
  on an annual basis, the auditor does not check to determine whether the pharmacists exercised due
  diligence in filling the controlled substance prescriptions or otherwise appropriately exercised
  corresponding responsibility. Kroger’s internal audits do not include a review of pharmacist’s
  controlled substance dispensing.
  External audits performed by LPI were similarly deficient in reviewing pharmacists’ due diligence.
  In 2009, Kroger outsourced pharmacy compliance audits to LPI to perform audits on “10% of
  Kroger’s retail locations.”340 This audit includes a review of compliance with Kroger’s controlled
  substance SOP, “on-hand inventory counts of specific SKU’s identified by Kroger Management



  332
      McDermott I at 210:20-211:14.
  333
      KrogerSmithNMAG00010239 at _0004.
  334
      Id.
  335
      See December 2015 PCC Minutes at bates KrogerSmithNMAG00012983 at 00012988.
  336
      McDermott I, 230-233; 235.
  337
      KrogerSmithNMAG00007196 at 00007197.
  338
      Id. at 00007201-02.
  339
      Id. at 00007197.
  340
      KrogerSmithNMAG00008281 at 00008307; McDermott I, 250:10-13, (The percentage of stores audited
  increased to 15 percent at one point in time).
                                                      67




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  and a review/training of the results with in-store pharmacy mgmt.” 341 Audits performed by LPI
  were similar in format to the audits performed by the Pharmacy Coordinator. 342 LPI also reviewed
  prescriptions to determine whether it contained data, such as patient name and address. 343 Yet,
  this audit did not review whether a pharmacist properly resolved red flags prior to dispensing a
  controlled substance. In fact, Kroger the LPI auditors are not licensed pharmacists or pharmacy
  technicians, and the LPI audits did not in any way address whether or not a pharmacist was
  correctly exercising corresponding responsibility for reviewing red flags. 344
  Kroger’s audit initiatives do not ensure its pharmacists are complying with its obligations under
  the CSA or state law concerning the appropriate dispensing of controlled substances. Internal and
  external audits fail to assess whether a pharmacist properly exercise their corresponding
  responsibility and whether they appropriately identified and resolved a red flag prior to
  dispensing.345
  Publix

  As previously mentioned, diversion analysts at Publix were only hired beginning in 2018. 346
  During this time, Publix began a centralized effort to run dispensing data analytics at a corporate
  level.347 Publix had access to IQVIA data beginning in 2010.348 “On a daily basis, IQVIA is
  provided a data extract from Publix’s EnterpriseRx pharmacy dispensing data by the” Pharmacy
  Analytics and Compliance Team (“PACT”). 349 Publix recognized that it was their “responsibility
  to monitor the dispensing patterns associated with controlled substances.” 350 Prior to
  approximately April 2018 and March of 2019, Publix did not utilize their data to identify signs of
  diversion, such as dispensing patterns.351 Its efforts at centralization of controlled substance
  compliance initiatives such as diversion analytics red flag training was in its infancy stage in
  November of 2018.352
  Discussions about acquiring the IQVIA CS Ratings tool began in 2018. This application would
  allow Publix to leverage “outlet dispensing information along with geographical comparative data




  341
      KrogerSmithNMAG00008281 at 00008307.
  342
      McDermott I, 248:15-22.
  343
      Id. at 252:11-253:3.
  344
      Feb. 2, 2023, Jeff Loesch Deposition (hereafter “Loesch II Dep.”), 110:4-23.
  345
      Id. at 262:2-19.
  346
      Hewell III Dep., 149:24-150:2.
  347
      Smith Dep., 250:6-23.
  348
      PUBLIX-MDLT-00098380 at 00098383.
  349
      P-PUB-0140 at p. 11.
  350
      PUBLIX-MDLT8-00079714 at 00079715 (P-PUB-0371).
  351
      Smith Dep., 98:3-18.
  352
      PUBLIX-MDLT8-00079714-16 (P-PUB-0371).
                                                           68




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  to provide visibility to prescription activity for certain controlled substances.” 353 However, the
  IQVIA CS Ratings tool was not acquired until 2021. 354
  The EnterpriseRx system was put into place before 2010, as the dispensing system for all Publix
  pharmacies.355 An electronic record is created at Publix once the prescription is scanned. 356 This
  electronic data is housed in Publix’s On-line Transaction Processing (OLTP) database and made
  available to every Publix pharmacist in each store.357 Pharmacy support associates, technicians,
  and supervisors also had access to the information stored in OLTP through the EnterpriseRX user
  interface.358 Despite the accumulation of this data, pharmacists are unable to retrieve data related
  to the highest prescriber in their zip code and are limited to viewing a prescriber that is already
  recorded in the system.359 Only two years’ worth of transactional data is available for pharmacists
  to view.360 Consequently, pharmacists are limited to only two years of notes related to refusals to
  fill that are documented on a prescription.361




        I. Corporate Policies Failed to Make PDMP Checks Mandatory.

  As described above, PDMPS provide valuable information to aid dispensing decisions.

  Information from the National Association of Boards of Pharmacy (“NABP”) also describes more
  than 40 states as having signed “a memorandum of understanding with NABP to participate in
  NABP PMP InterConnect®” as of May 18, 2016.362 Presently, all states, with the exception of
  Missouri, which enacted county-wide agreements with NABP, have operational and
  interconnected PDMPs. As described below, however, pharmacists faced time-pressure from
  metrics Defendants imposed. Meanwhile, Defendants’ policies for years failed to require that
  pharmacists check PDMPs before dispensing opioid prescriptions, despite clear recognition of the
  critical role that such PDMPs play in fighting diversion.




  353
      PUBLIX-MDLT-00098380 at 00098383.
  354
      P-PUB-0182; Hewell II Dep., 359:22-360:5; PUBLIX-MDLT-00098380 at 00098383.
  355
      Hewell II Dep. at 205:19-206:18.
  356
      Id. at 204:1-22.
  357
      Id. at 208:19-212:15.
  358
      Id. at 219:25-221:18.
  359
      Id. at 216:1-218:10.
  360
      Id. at 292:4-293:18.
  361
      Id.
  362
      https://nabp.pharmacy/members/pmp-
  interconnect/#:~:text=NABP%20PMP%20InterConnect%C2%AE%20facilitates,diversion%20and%20drug%20abu
  se%20nationwide.
                                                  69




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  In 2012, the Ohio Board of Pharmacy approached Kroger with an opportunity to participate in a
  pilot program integrating PDMP into Kroger’s dispensing system. 363 In exchange for this effort,
  Kroger received a grant in the amount for fifty-thousand dollars. 364 Kroger did not launch the
  PDMP integration in its Ohio pharmacies until July 29, 2015.365 The contract process for PDMP
  integration in Georgia Kroger pharmacies did not begin until 2017. 366
  The PDMP integration greatly assisted pharmacists with workflow and decreased the amount of
  time it would take pharmacists to review the PDMP. Pharmacists can access “information about
  the patient” and know where else the patient is “getting prescriptions and what other prescribers
  or pharmacies” the patient is visiting.367 Nevertheless, Kroger did not monitor whether PDMP was
  being used.
  After several DEA actions, Kroger issued guidance on red flags and PDMP checks. However,
  Dallas Division Leader, Jeffrey Loesch, testified that in his view not every red flag needs to be
  resolved before a controlled substance is dispensed.368 Kroger did not require pharmacists to check
  PDMP databases prior to 2013. At that time, Kroger instructed its pharmacists to “check, review
  and print a report from the state Controlled Substance database (PDMP)” and “attach a hard
  copy.”369 Utilizing PDMP would allow a pharmacist to access “information about the patient” and
  know where else the patient is “getting prescriptions and what other prescribers or pharmacies”
  the patient is visiting.370
  In 2013, Publix issued a PDMP policy requiring that “all Publix Pharmacists should at a minimum
  create a personal account and use the website database to identify whether or not dispensing certain
  controlled substance prescriptions is appropriate.” 371 Publix does not maintain an electronic record
  of whether pharmacists are referencing PDMP when filling a prescription. 372 Further, it is “not
  the norm” for Publix pharmacists in Georgia to check PDMP for each controlled substance
  prescription.373 Checking PDMP can provide critical information that can assist a pharmacist in
  preventing diversion. Yet, Publix pharmacists must manually enter their email and password to
  access PDMP due to the lack of PDMPs integration into Publix’s dispensing system. 374




  363
      BOP_MDL1993662 (Griffin Exhibit 17).
  364
      Kroger-MDL00171823 at 00171824.
  365
      BOP_MDL1993662 at 1993663 (Griffin Exhibit 17); Kroger-MDL00163667.
  366
      Kroger-MDL00163664 at 00163666.
  367
      Jun. 23, 2022, Laura Raney Deposition (hereafter “Raney I Dep.”), 145:25-146:16.
  368
      Jul. 7, 2022, Jeffrey Loesch Deposition (hereafter “Loesch I Dep.”), 81:1-24.
  369
      KrogerSmithNMAG00009652-54.
  370
      Raney I Dep. at 145:25-146:16.
  371
      PUBLIX-MDLT8-00006178 at 00006218.
  372
      Hewell II Dep. at 340:22-341:3.
  373
      PUBLIX-MDLT8-00074321 (P-PUB-0599) (Plaintiff’s Ex. 14).
  374
      PUBLIX-MDLT8-00115817 at 00115818 (P-PUB-0719) (2021 pharmacist request to integrate PDMP into
  EnterpriseRx or save time “without manually entering email and pw about 30 times per day.”).
                                                    70




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        J. Corporate Performance Metrics Undermined Compliance.

  Prime metrics that are collected, analyzed, and enforced as evidence of the overall corporate
  control of the individual pharmacies and pharmacists are performance measures relating to the
  dispensing of prescriptions, customer wait times, and sales. The information I reviewed clearly
  demonstrated that the Defendants collected data from the individual pharmacies and analyzed the
  data to determine and monitor those performance metrics.

  Publix uses a strategic dashboard to measure performance objectives. Each objective is measured
  by using a Green, Yellow, and Red rating during the annual retail bonus plan review. 375 Since at
  least 2011, Publix’s quarterly retail bonus plan is based on 15% of the store’s total performance,
  approximately 40% of the store’s script count, and about 45% on department profitability. 376

  Other performance evaluation factors include the 10-foot, 10-second rule, minimal customer wait
  times, and increased vaccinations.377 These performance goals leave pharmacists overworked. It
  was previously noted that “many feel as though they are completely unattainable or out of their
  control.”378 The metrics that are evaluated at Publix are based on profitability with key
  performance indicators that are focused on net profits and sales goals. 379 Metrics such as “shrink”
  that measures “idle” inventory includes opioids. 380 Meanwhile, concerns of inadequate staffing at
  Publix have been raised by pharmacists and customers alike.381 Pharmacists perform many
  important tasks that impact patient safety. One customer in Cobb County expressed concern about
  the ability of a pharmacist “to fill prescriptions, run a register, answer the phone, leave from behind
  the counter to show a customer where a product is located, and explain how the prescription is to
  be taken or used” without the assistance of additional staff. 382

  If a customer chooses to wait for a prescription, Kroger prioritizes the customer in EPRN. 383
  Kroger also utilizes Reportal, an interactive dashboard, that enables a pharmacist to view customer
  wait time.384 As an incentive to keep customer wait times low, Kroger pharmacies have based up
  to 25% of the pharmacy bonus on a customer wait time of less than 20 minutes. 385 The clock begins
  during pre-verification when the product is counted and ends at the final verification or when the



  375
      PUBLIX-MDLT8-00060490.
  376
      PUBLIX-MDLT8-00060787; PUBLIX-MDLT8-00059249.
  377
      PUBLIX-MDLT8-00115010 at 115040.
  378
      PUBLIX-MDLT8-00115837.
  379
      P-PUB-0462 (King Ex. 19).
  380
      King Dep., 314:6-13; P-PUB-0464 (King Ex. 20).
  381
      PUBLIX-MDLT8-00092608-09 (P-PUB-0711) (King Ex. 38); PUBLIX-MDLT8-00092606 at 00092607 (P-
  PUB-0546) (King Ex. 39) (customer reporting that there is “[n]ot enough staff in the pharmacy.”); Brice Dep.,
  156:10-157:16.
  382
      PUBLIX-MDLT8-00092608-09 (P-PUB-0711) (King Ex. 38).
  383
      Kroger-MDL00027117 at 00027125.
  384
      Davis Dep. at 141:1-7; 142:1-10.
  385
      FM00028774; KrogerMDL00000083 at 00000099.
                                                         71




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  script is good to go out the door.386 Notably, a pharmacist’s assessment of red flags also occurs
  during this timed period. This practice creates unsafe distribution of controlled substances where
  pharmacists are required to weigh in customer satisfaction over consumer wellbeing.
  Other time-based metrics, in addition to customer wait time, were used at Kroger to evaluate its
  pharmacies and pharmacists. A Kroger supervisor may view timing metrics for the prior week
  down to a tenth of a second.387 These metrics can include pharmacists’ due diligence
  responsibilities such as pre-verification, drug utilization review, and verification. 388 This process
  included the verification of prescriptions that included controlled substances.
  Kroger prioritized customer loyalty and profitability. Data collected by Kroger showed that
  customers who purchased narcotics had a much higher rate of loyalty and spending. 389 Kroger tied
  pharmacist bonuses and other financial incentives to the number of prescriptions filled, including
  prescriptions for controlled substances. The DEA expressed concerns that bonus incentives for
  dispensing controlled substances could “lead to bad pharmacist decisions because they know they
  get will something out of filling scripts.”390 The added direct impact on salary and bonus if metrics
  were not met further overrode pharmacists’ professional judgment and legal responsibilities.
  Near the end of 2012, Kroger instructed pharmacies to remove incentives in the bonus program
  for controlled substance prescriptions. 391 This policy change came after DEA activity regarding
  disciplinary action against other chain pharmacies due to excessive controlled substance
  prescriptions.392 Unlike CVS, Walgreens, Wal Mart, and Kroger, Publix continues to include
  controlled substances in script count, volume, and store profitability measures for the purpose of
  pharmacist and pharmacy leader bonus calculations.393 Publix’s own pharmacist, Shannon Brice,
  testified that including controlled substances in prescription counts for the purpose of pharmacist
  or pharmacy leader bonus calculations was “inappropriate” 394 yet at Publix, the more controlled
  substances that a Publix pharmacy fills, the more money Publix pharmacists make. 395

  As a result of the findings in Ohio Board of Pharmacy workload survey, Kroger decided to conduct
  a survey of their employees.396 The internal Kroger pharmacist survey reported that “88% of
  respondents disagreed that there is adequate staffing in the pharmacy.” 397 In addition, “88% of




  386
      Davis Dep., 142:14-143:14.
  387
      Id., 137:22-138:8.
  388
      Id. 137:5-12.
  389
      Kroger-MDL00147048 at 00147050 (P-KRO-1146).
  390
      WMT_MDL_000233226 (NACDS DEA Compliance Working Group Meeting Summary (Feb. 12, 2013).
  391
      KrogerSmithNMAG00010074 at 00010075.
  392
      Id. at 00010074.
  393
      PUBLIX-MDLT8-00059249
  394
      Brice Dep. 339:2-341:10.
  395
      Burckhalter Dep. at 176.
  396
      Aug. 29, 2023, Laura Raney Deposition (hereafter “Raney II Dep.”), 190:7-191:2.
  397
      KrogerWVAAG00024849.
                                                   72




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  pharmacy associates who responded to the survey agreed that their work causes them to be
  physically and emotionally exhausted.”398 As a result only “11% agreed to the question ‘I feel the
  workload allows me to get everything done in a safe, satisfactory manner.” 399 Kroger recognized
  the alarming results from its survey and launched a focus group in November 2021 of about sixty
  pharmacists to understand common themes. One theme Kroger sought to understand was the
  impact of pharmacy metrics on patient safety.400 “Pharmacists [at Kroger] feel caught in the middle
  of corporate expectations to meet metrics and customer demands for promised services.” 401 One
  pharmacist from the study group provided feedback that “they thrive on being busy and being
  useful, but when metrics are ’a sea of red,’ it feels like failure.” 402 The metrics utilized at Kroger
  fail to support patient safety. Findings from the focus group revealed that the pharmacists struggled
  to recall a Kroger metric that facilitated patient safety. 403 On the contrary, “chasing metrics [is]
  just another distraction from patient safety.” 404
  Kroger’s 30(b)(6) corporate witness, Laura Raney, stated that Kroger agrees that hearing from
  “pharmacy associates is important to providing the best patient and associate work experience.” 405
  Due to a quality improvement project initiated by a pharmacy resident, Kroger launched a patient
  safety survey in 2018.406 This survey yielded “very concerning” comments from respondents.407
  The top trend in the open comment section include concerns regarding hour cuts/staffing, increased
  workload, and training.408 Out of the 930 respondents, 228 provided written comments. 409 The
  responses ranged from concerns of feeling “pressure to keep wait times low and rush as much as
  possible” and demands to meet metrics at the risk of “patient safety for the sake of saving money
  on labor”.410 Many respondents indicated that Kroger focused on metrics at the expense of patient
  safety.411 Respondents communicated their concern of patient safety, making Kroger well aware
  of the risks created by metric demands. 412 Further, the workload and inadequate staffing place




  398
      Id.
  399
      Id.
  400
      Kroger-MDL00214492; Kroger-MDL00214490 at MDL00214490.
  401
      Kroger-MDL00214473 at 00214475.
  402
      Kroger-MDL00214473 at 00214477.
  403
      Kroger-MDL00214473 at 00214487.
  404
      Id.
  405
      Raney II Dep., 97:23-98:6.
  406
      Id. at 100:7-19.
  407
      Kroger-MDL00153713.
  408
      KrogerWVAG00024853 at 00024858 (Raney Ex. 4).
  409
      Kroger-MDL00153729; Kroger-MDL00153715.
  410
      Kroger-MDL00153715 at 00153718, 00153716
  411
      Kroger-MDL00153715 at 00153720 (Kroger is “constantly putting 100% of their focus on metrics.”); 00153724
  (one respondent requesting “less emphasis” on “profit metrics”); at 00153727 (Kroger places “too much emphasis
  on meeting metrics and not enough on patient safety”).
  412
      Kroger-MDL00153715 at 00153719 (“Increasing demands (metrics, script count, additional programs, etc.) with
  decreasing tech/pharmacist help can/will eventually lead to patient safety issues.”).
                                                        73




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  patient safety at risk.413 Several respondents indicated that inadequate staffing leads to pharmacists
  being overworked and unable to take the time to provide safe care to patients. 414 Pharmacist and
  technician training was also a point of concern for respondents. 415 Even with this insight into
  working conditions, Kroger failed to remediate. Former Kroger National Health and Wellness
  Director, Laura Raney had no knowledge of whether employee hours were increased or whether
  Kroger provided mandatory breaks as a result of the 2018 survey. 416 Additionally, Kroger did not
  eliminate or reduce pharmacy metrics.417 Comments from the 2021 Kroger pharmacy survey echo
  the responses from the 2018 survey.418 Kroger stores are still inadequately staffed; employees are
  still required to meet demanding pharmacy metrics and lack training resources; and patient safety
  remains an area of concern.
  A number of national and international professional pharmacy and public health organizations
  have called for restrictions or an end to performance metrics that focus on high volume and speed
  because they cause distractions, impair professional judgment, and jeopardize patient safety and
  public health. In June 2013, NABP passed Resolution No: 109-7-13 “Performance Metrics and
  Quotas in the Practice of Pharmacy” to help “regulate, restrict, or prohibit the use in pharmacies
  of performance metrics or quotas that are proven to cause distractions and unsafe environments
  for pharmacists and technicians.”419 The resolution resulted from concerns expressed to a number
  of state boards of pharmacy by pharmacists about the impact on patient care caused by
  performance metrics that focused on time guarantees and percentage of prescriptions filled within
  a specified time period, for example. The member jurisdictions of NABP unanimously adopted
  the recommendation for NABP to assist its member boards of pharmacy to regulate, restrict, or
  prohibit the use in pharmacies of performance metrics or quotas that are proven to cause
  distractions and unsafe pharmacy environments.
  In addition, a request was also made to the Institute for Safe Medication Practices (ISMP) to study
  the effect of performance metrics on patient care. ISMP is recognized for its medication safety
  information and worked with a number of boards of pharmacy to develop quality control standards
  and regulations. ISMP’s advocacy work has resulted in numerous necessary changes in clinical
  practice, public policy, and drug labeling and packaging.




  413
      Kroger-MDL00153715.
  414
      Kroger-MDL00153715 at 00153717-18; Kroger-MDL00153724; at 00153726.
  415
      Kroger-MDL00153715 at 00153721-22.
  416
      Raney II Dep., 177:11-178:13.
  417
      Id. at 178:14-179:9.
  418
      Kroger-MDL00129498; Raney II Dep., 350:23-351:20; KrogerWVAG00024849 (Raney Ex. 9) (88% of
  respondents disagreed that there is adequate staffing and 11% agreed that the workload allows them to get
  everything done in a safe and satisfactory manner).
  419
      NABP, Performance Metrics and Quotas in the Practice of Pharmacy (Resolution 109-7-13) (June 5, 2013),
  https://nabp.pharmacy/performance-metrics-and-quotas-in-the-practice-of-pharmacy-resolution109-7-13/.
                                                        74




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  ISMP responded to NABP’s request by collaborating with the American Pharmacist Association
  (“APhA”), the nation’s oldest and largest professional organizations of pharmacists, and surveying
  community pharmacists, “The Community Pharmacy Time Guarantee Survey.” Of the 673
  community pharmacists who responded to the survey, 83% stated that they believed that
  distractions due to performance metrics or measure wait time contributed to dispensing errors and
  49% felt specific time measurements were a significant contributing factor. Forty-five percent of
  the ISMP survey respondents worked in a chain pharmacy. Based on the survey results, ISMP
  stated that “the severity of the problem and the intensity of sentiments from pharmacists who work
  within such an environment call for a more in-depth exploration of the issue and discussion
  regarding how time guarantees impact patient safety and diminish the role of pharmacists in all
  practice settings.”420 In 2008, and again in 2011, ISMP warned that prescription guarantee times
  “jeopardize public health by discouraging pharmacists from spending time checking the patient’s
  history and drug profile; checking for drug interactions, duplications, or other drug use evaluation
  concerns; calling physicians’ offices for clarification; educating patients about the proper use of
  prescriptions; or any other critical function that promotes safety.” 421
  NABP’s 2013 Resolution also found that performance metrics, which measure the speed and
  efficiency of prescription workflow by such parameters as prescription wait times, percentage of
  prescriptions filled within a specified time period, number of prescriptions verified, and the
  number of immunizations given per pharmacist shift, “may distract pharmacists and impair
  professional judgment.” In addition, NABP found that the practice of applying performance
  metrics or quotas to pharmacists “may cause distractions that could potentially decrease
  pharmacists’ ability to perform drug utilization review, interact with patients, and maintain
  attention to detail, which could ultimately lead to unsafe conditions in the pharmacy.”
  In 2018, the House of Delegates of the APhA adopted the “Pharmacy Workplace Environment and
  Patient Safety” policy.422 The policy states that APhA “opposes the setting and use of operational
  quotas or time-oriented metrics that negatively impact patient care and safety.” Rather than impose
  performance metrics, APhA “supports staffing models that promote safe provision of patient care
  services and access to medications” and “encourages the adoption of patient-centered quality and
  performance measures that align with safe delivery of patient care services . . ..”
  The National Coordinating Council for Medication Error Reporting and Prevention
  (“NCCMERP”), also passed a statement advocating the “elimination of prescription time



  420
      Institute for Safe Medication Practices, Prescription Drug Time Guarantees and Their Impact on Patient Safety in
  Community Pharmacies. ISMP Medication Safety Alert! 2012 Sep; 18(17):1-4.
  421
      Institute for Safe Medication Practices, Speed trap. ISMP Medication Safety Alert! Community/Ambulatory Care
  Edition 2008 Oct; 7(10):2-3 Institute for Safe Medication Practices, Return of the speed trap. ISMP Medication Safety
  Alert! Community/Ambulatory Care Edition 2011 Mar; 10(3):1.
  422
        Actions of the 2018 American Pharmacists Association House of Delegates (March 2018),
  https://www.pharmacist.com/sites/default/files/files/2018%20Report%20of%20the%20APhA%20House
  %20of%20Delegates%20-%20FINAL.pdf.
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  guarantees and a strengthened focus on the clinical and safety activities of pharmacist within the
  community pharmacy setting.”423 “The Council believes prescription time guarantees and
  inducements . . . can be detrimental to patient safety. Forcing pharmacists to work quickly has the
  potential to lead to the development of at-risk behaviors that can rapidly become unsafe practice
  habits . . .. the added time pressures may discourage pharmacists from conducting critical clinical
  and safety checks which can result in medication errors.”
  The New Hampshire Board of Pharmacy sampled data from two retail chains in the state and found
  that pharmacists spend an average of 80 seconds on safety checks for each prescription filled. The
  president of the Board, Bob Stout, explained: “They’re cutting corners where they think they can
  cut.” “What happens, I found on the board, is people stop doing (safety) reviews.” “They’re not
  going in looking at patient records.”
  In response to the report, Thomas E. Menighan, the head of APhA, wrote “performance metrics
  that pressure pharmacists to work quickly” “contribute to a great deal of stress that can result in
  unintended patient harm.”424 A recent New York Times report discussed pharmacists who said,
  “the focus on metrics was a threat to patient safety” and “[m]etrics put unnecessary pressure on
  pharmacy staff to fill prescriptions as fast as possible, resulting in errors.” 425 Some pharmacy errors
  can lead to death of a patient. Publix was among the pharmacies listed in the New York Times
  report. In 2018, a patient received a prescription for an antidepressant that was filled at Publix by
  a relative.426 Instead of being dispensed the antidepressant that was prescribed, the patient received
  a strong chemotherapy drug.427 Despite this egregious error, the relative reported that Publix
  claimed that it “already ha[d] systems in place” to prevent this type of error. 428 The patient died
  about two weeks after being dispensed the incorrect medication. 429
  A pharmacist pressured to work too quickly who misses dangerous drug interactions and does not
  have sufficient time to perform safety reviews is likewise at risk of missing red flags of diversion,
  including, for example, drug “cocktails” or other combinations of highly abused drugs described
  above. The high stress and chaotic environment created by arbitrary performance metrics is
  exacerbated by inadequate staffing at the Chain Pharmacies. Unreasonable volume and speed




  423
      National Coordinating Council for Medication Error Reporting and Prevention. Statement Advocating for the
  Elimination of Prescription Time Guarantees in Community Pharmacy, http://www.nccmerp.org/statement-
  advocating-elimination-prescription-time-guarantees-community-pharmacy.
  424
          Pharmacists Provide Care, Fighting to let pharmacists keep patients safe, APhA,
  https://pharmacistsprovidecare.com/CEOBlog/fighting-let-pharmacists-keep-patients-safe.
  425
      Ellen Gabler, How Chaos at Chain Pharmacies is Putting Patients at Risk, New York Times, Jan. 31, 2020,
  https://www.nytimes.com/2020/01/31/health/pharmacists-medication-errors.html (P-02302_00001).
  426
      Id. at 8.
  427
      Id. at 1.
  428
      Id. at 8.
  429
      Id. at 1.
                                                       76




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  demands on pharmacists coupled with too little staff means pharmacists cannot properly review
  prescriptions to ensure their appropriateness and validity and resolve all red flags.
  In addition to state and national data related to pharmacy workloads, Kroger received articles as a
  member of the NACDS.430 These articles include information related to mistakes made by
  pharmacists and dangerous work conditions.431
  The New York Times report stated that “[i]n letters to state regulatory boards and in interviews
  with The New York Times, many pharmacists at companies like CVS, Rite Aid and Walgreens
  described understaffed and chaotic workplaces where they said it had become difficult to perform
  their jobs safely. . ..”432
  State boards of pharmacy also reported receiving complaints from pharmacists regarding
  workload, pharmacist and technician support, and performance metrics. The Oregon Board of
  Pharmacy surveyed pharmacists in 2012. The 1,300 responses identified workloads, distractions,
  and services designed to augment profits as major items of concern. Around the same time, the
  Iowa and North Carolina Boards of Pharmacy also examined the impact of the pharmacist
  workplace on patient care and medication errors. Most recently, the Ohio and California Boards
  of Pharmacy conducted and decided to conduct, respectively, surveys of pharmacists licensed by
  their boards. The Ohio Board of Pharmacy noted in its survey that, “[c]apturing this data is
  important as pharmacist working conditions have been identified as a concern among licensees,
  state regulators (several of which have issued similar surveys) and national organizations.” 433
  The West Virginia’s Board of Pharmacy conducted its own survey of pharmacists in West
  Virginia. Its results are similar to other pharmacists’ responses across the country. In response to
  the inquiry of whether the pharmacist agrees that “my employer provides a work environment that
  allows for safe patient care,” over 46% of respondents disagreed with that statement. 434 The
  comments expressed by survey respondents include chronic understaffing and “corporations are
  metric driven rather than patient safety or care driven.” In response, to whether there was adequate
  time to complete their job in a safe and effective manner, over 62% of respondents disagreed.
  Kroger’s internal survey results were worse than most pharmacists in the state of West Virginia
  that responded to the survey issued by the Board.




  430
      NACDS_FL_0024872; NACDS_FL_0024955.
  431
      NACDS_FL_0024878 (Chicago Tribune article titled “Pharmacies miss half of dangerous drug combinations”);
  NACDS_FL_0024875 (article titled “Are more mistakes happening at pharmacies?”); NACDS_FL_0024888 (article
  titled “Risks Inherent in Pharmacists’ Workloads Earn Attention of Legislators”).
  432
      Id.
  433
      State of Ohio, Board of Pharmacy, Pharmacist Workload Survey, April 2021. https://www.aacp.org/article/2019-
  national-pharmacist-workforce-study.
  434
      West Virginia Bd of Pharmacy Survey results, WVMLP-AG006116838.
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  In 2019, the Georgia Pharmacy Association, through Mercer University, initiated a pharmacist
  workload study.435 This survey was created to examine “[p]harmacist workload and its correlation
  to patient outcomes and adverse medication events.” 436 Some anonymous quotes from the survey
  indicate that performance goals directly influence pharmacy work environment and patient safety.
  One pharmacist stated that “[o]ur performance evaluations began to be tied to pharmacy metrics
  which set unattainable goals.”437 The pharmacist at this store were punished if they had multiple
  errors.438 “This led to many of us not reporting errors.” 439 Ultimately, “[t]his survey-formatted
  study concluded that there is a statistically significant risk of negative patient outcome when
  pharmacists are under high stress workloads.” 440
  Despite the increase in performance metrics, the number of prescriptions dispensed per hour
  increased and staffing was reduced. 441 Defendants prioritized increasing business over patient
  safety. “Many Chain pharmacist are working 12 hours per day without additional pharmacist help
  and no designated food or bathroom breaks.” 442 A comment received from the survey described
  that “the environment for the retail pharmacist consists of striving to meet unobtainable corporate
  metrics while also filling as many prescriptions as possible in the shortest amount of time and
  trying not to kill anyone.”443 Another pharmacist acknowledged that a fatigued pharmacist who is
  pulled in different directions will make mistakes. “We only pray that it is a ‘small’ mistake and
  not one that causes harm” or “takes a life.” The demanding metrics of Chain Pharmacies negatively
  impact the pharmacy work environment and jeopardizes patient safety. One comment described
  how pharmacists are pushed to do “biometric and cholesterol screenings which pull us from the
  pharmacy. When you add in counseling patients on prescription and OTC medications, answering
  the hundreds of phone calls we get daily, calling the insurance company,” “transferring
  prescriptions, calling the physicians,” and running the register there leaves very little time to
  actually fill prescriptions and taking the time to research problems and personally talk to the
  patients.”444 The various pharmacy workload surveys indicate that pharmacy metrics are harmful




  435
      SDCGA_1202357 at 1202358 (“GPhA member Jonathan Hamrick needs your help with a research study on
  pharmacist workload.”).
  436
      Mercer University, https://www.surveymonkey.com/r/6NNXM22 (last visited Nov. 8, 2022).
  437
      The Journal of the Georgia Pharmacy Association (“GPhA”), Georgia Pharmacy: The Future of Pharmacy -
  Pharmacy School Deans Weigh In, Feb./Mar. 2022, at 31 (hereafter “GPhA, The Future of Pharmacy”).
  438
      Id.
  439
      Id.
  440
      Id. (internal quotations omitted) (Pharmacists indicated that “they were concerned the increase in workload could
  result in a mistake that could harm their patients.”).
  441
       GPHA_Internal_00000004-1020 at 1051; GPHA, The Future of Pharmacy, at 31(“In 2017, our labor metric was
  reconfigured, and staffing was drastically cut; pharmacist hours reduced from 190 to 160 per week, eliminating any
  pharmacist overlap.”).
  442
      GPHA_Internal_00000004-1020 at 1052.
  443
      Id. at 1068.
  444
      Id. at 1069-1070.
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  to patient safety. Pharmacists are pressured to meet performance goals at the expense of dispensing
  medication in a safe and effective manner.
     K. Conclusion

  This opinion is based upon my review of information, data, documents referenced in this report,
  as well as my experience and expertise in the practice and regulation of pharmacy, and the usual
  and customary practice of pharmacy and pharmacy practices. It is my opinion that the Defendants
  and their pharmacists held, and continue to hold, a corresponding responsibility to only fill
  prescriptions for controlled substances that are issued for a legitimate medical purpose by an
  individual practitioner acting in the usual course of his/her professional practice. Based on my
  review of the policies and procedures instituted by the Defendants governing pharmacy operations,
  Defendants’ pharmacists’ abilities to carry out their corresponding responsibility obligations were
  significantly impacted. Further, Defendants failed to provide their pharmacists with the data and
  tools necessary to fulfill their corresponding responsibility duties, including but not limited to,
  providing their pharmacists with access to dispensing data as well as the analysis of that data as it
  relates to red flags of diversion. The failure to provide such data resulted in significant quantities
  of controlled substances, particularly opioids, being dispersed outside of the closed distribution
  and dispensing system.

  Corporate oversight includes established practices of pharmacies that should incorporate top-down
  compliance programs using data readily available to the corporation to guard against diversion.
  Corporate oversight should set patient care and integrity expectations and provide tools for
  pharmacists to exercise best practices to adhere to appropriate laws, regulations, and pharmacy
  standards of care in dispensing controlled substances. This report examined Defendants’ actions
  with respect to maintaining effective policies and practices to guard against the diversion of
  prescription opioids, provision of important information and data to pharmacists in their
  pharmacies, well-established pharmacy standards of care, and the dispensing of opioids despite
  obvious and significant red flags.

  Defendants were and remain aware of these requirements. Defendants delayed implementing
  controlled substance diversion policies and, when finally implemented, failed to monitor and
  enforce effective policies and procedures to guard against diversion. Instead, Defendants
  implemented and enforced employment evaluation policies and performance metrics that impeded
  their pharmacists’ efforts to comply with laws and regulations and meet standards of care.




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  Respectfully submitted,




  Carmen Catizone
  Executed on January 24, 2024




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